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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

    TIMOTHY KING, et al.,
    Plaintiffs,

    v.
                                               Case No. 20-cv-13134
    GRETCHEN WHITMER, in her                   Hon. Linda V. Parker
    official capacity as Governor of the
    State of Michigan,
    Defendants,

    and

    ROBERT DAVIS, et al.,
    Intervenor Defendant.



PLAINTIFFS’ OPPOSITION TO STATE DEFENDANTS’
MOTION TO DISMISS AND THE CITY OF DETROIT’S
MOTION TO DISMISS AND FOR AN AWARD OF SANCTIONS



Stefanie Lambert Junttila (P71303)
Attorney for Plaintiffs
500 Griswold Street, Suite 2340
Detroit, MI 48226
(313) 963-4740
attorneystefanielambert@gmail.com




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Heather S. Meingast (P55439)                   Mary Ellen Gurewitz (P25724)
Erik A. Grill (P64713)                         Attorney for Intervenor DNC/MDP
Assistant Attorneys General                    423 North Main Street, Suite 200
Attorneys for State Defendants                 Royal Oak, Michigan 48067
PO Box 30736                                   313.204.6979
Lansing, Michigan 48909                        maryellen@cummingslawpllc.com
517.335.7659
meingasth@michigan.gov                         Scott R. Eldridge
grille@michigan.gov                            Attorney for Intervenor DNC/MDP
                                               One Michigan Avenue, Suite 900
David Fink (P28235)                            Lansing, Michigan 48933
Nathan Fink (P75185)                           517.483.4918
Attorneys for Intervenor City of Detroit       eldridge@millercanfield.com
38500 Woodward Avenue, Suite 350
Bloomfield Hills, Michigan 48304               Andrew A. Paterson, Jr. (P18690)
248.971.2500                                   Attorney for Intervenor Davis
dfrink@finkbressack.com                        2893 East Eisenhower Parkway
                                               Ann Arbor, Michigan 48108
                                               248.568.9712
                                               Aap43@outlook.com




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        PLAINTIFFS’ OPPOSITION TO STATE DEFENDANTS’
        MOTION TO DISMISS AND THE CITY OF DETROIT’S
      MOTION TO DISMISS AND FOR AN AWARD OF SANCTIONS

      Plaintiffs Timothy King, Marian Sheridan, John Haggard, Charles Ritchard,
James Hooper, and Daren Rubingh (“Plaintiffs”) respectfully request that this
Court enter an order denying Defendants Governor Whitmer, Secretary Benson,
and the Board of State Canvassers’ (collectively “the State Defendants’”) Motion
to Dismiss, as well as Intervenor-Defendant the City of Detroit’s (“the City’s”)
Motion to Dismiss and for an Award of Sanctions—to the extent that they request
the imposition of sanctions. (ECF No. 70 at 62; ECF No. 73 at 33-35).
      By separate motion, to be filed later, Plaintiffs are voluntarily dismissing
their complaint as amended, rendering all defense motions to dismiss moot.
Accordingly, although Plaintiffs’ complaint is completely grounded in fact and
law, no substantive response to the arguments in favor of dismissal advanced by
the State Defendants or the City (collectively “Defendants”) is contained herein or
in the attached Brief in Support.
      The City’s request for sanctions under 28 U.S.C. § 1927 is barred as a matter
of law, and must be denied, for reasons more fully explained in the Brief in
Support below, filed pursuant to Local Rule 7.1(d)(1)(A). The State Defendants’
passing request for “sanctions and/or costs and fees” is even more deficient and
procedurally improper, as it was not made by motion and with a supporting brief as
required under Local Rule 7.1(b) and 7.1(d)(1)(A). It likewise must be denied.
      For these reasons and the reasons stated more fully in the Brief in Support
below, Defendants’ requests for sanctions must be denied.




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   BRIEF IN SUPPORT OF PLAINTIFFS’ RESPONSE TO THE CITY OF
        DETROIT’S MOTION FOR AN AWARD OF SANCTIONS
                                 Issues Presented

   I.    Whether Plaintiffs’ counsel may be sanctioned under 28 U.S.C. § 1927.
                              Controlling Authority
Cases
Beverly v. Sherman, No. 2:19-CV-11473, WL 2556674 (E.D. Mich. May 20, 2020)
DeBauche v. Trani, 191 F.3d 499 (4th Cir.1999)
FM Indus. v. Citicorp Credit Servs., 614 F.3d 335 (7th Cir. 2010)
In re Ruben, 825 F.2d 977 (6th Cir. 1987)
Jensen v. Phillips Screw Co., 546 F.3d 59 (1st Cir. 2008)
Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 45 (2011)
Matter of Yagman, 796 F.2d 1165 (9th Cir. 1986)
MEMC Elec. Mat'ls, Inc. v. Mitsubishi Mat'ls Silicone Corp., 420 F.3d 1369
(Fed.Cir. 2005)
Red Carpet Studios Div. of Source Advantage, Ltd. v. Sater, 465 F.3d 642 (6th Cir.
2006)
Ridder v. City of Springfield, 109 F.3d 298 (6th Cir. 1997)
Steinert v. Winn Group, Inc., 440 F.3d 1214 (10th Cir.2006)
Thurmond v. Wayne Cnty. Sheriff Dept., 564 F. App’x 823 (6th Cir. 2014)
United States v. Ross, 535 F.2d 346 (6th Cir. 1976)
Young v. Smith, 269 F. Supp. 3d 251 (3d Cir. 2017)
Zuk v. E. Pa. Psych. Inst., 103 F.3d 294 (3d Cir.1996)
Statutes & Court Rules
28 U.S.C. § 1927
Fed. R. Civ. P. 54(d)(2)
MCL § 168.726
                                          i
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                               BRIEF IN SUPPORT
                                    Introduction
      The City’s requests for sanctions under 28 U.S.C. § 1927 (“Section 1927”)

must be denied. This Court has held an attorney’s act in initiating an action,

regardless of merit, falls outside the ambit of Section 1927’s plain language. See

Beverly v. Sherman, No. 2:19-CV-11473, WL 2556674, at *1 (E.D. Mich. May 20,

2020) (applying the “plain language” of Section 1927 to hold that the

commencement of an action, or the filing of initial pleadings, cannot “multiply”

proceedings, an interpretation affirmed in “an unbroken band of cases across the

courts of appeals” (citing Jensen v. Phillips Screw Co., 546 F.3d 59, 65 (1st Cir.

2008)). Further, the City has not alleged any specific “unreasonabl[e] and

vexatious[]” or dilatory conduct by Plaintiffs’ counsel to prolong or “multiply”

proceedings, nor has it provided any evidence that could support a finding that

Plaintiffs’ counsel acted recklessly, in subjective bad faith, or with an improper

intent in commencing this proceeding.

      Instead, Plaintiffs have taken every reasonable measure to expedite this

proceeding and to terminate the proceeding once their claims became moot. In

their November 29, 2020 “Emergency Motion for Declaratory, Emergency, and

Permanent Injunctive Relief” (“TRO Motion”), ECF No. 7, Plaintiffs requested an

expedited briefing schedule, and agreed to forego an evidentiary hearing and

discovery. This Court granted the request for expedited briefing, ECF No. 24, and,
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based solely on the initial pleadings and responses, dismissed the TRO Motion a

mere eight days later on December 7, 2020. ECF No. 62. Further, Plaintiffs have

expeditiously, and concurrently with this response, moved for voluntary dismissal

of the November 29, 2020 Amended Complaint, ECF No. 6, because the relief

requested in the Amended Complaint appears to have become moot.

      While Plaintiffs have moved as expeditiously as possible from the outset

through the termination of this proceeding, it is the City that seeks to prolong this

proceeding with meritless claims for sanctions—supported solely by incendiary

accusations and ad hominem attacks on Plaintiffs’ counsel, willful distortion of

Plaintiffs’ claims and motives, and apparent ignorance of the black letter law

barring their claims for sanctions. On the contrary, it is precisely this type of

intentional misconduct and “abuse [of] the judicial process,” Red Carpet Studios

Div. of Source Advantage, Ltd. v. Sater, 465 F.3d 642, 646 (6th Cir. 2006)

(citations omitted), that the City has engaged in, for which Section 1927 and other

judicial sanctions are appropriate.

      The State Defendants, in the last sentence of a 79-page memorandum, for

the first and only time request an “award of sanctions and/or costs and fees.” ECF

No. 70 at 62. State Defendants’ request is procedurally improper insofar as it

violates Local Rule 7.1(b) and (d)(1)(a) for failure to make this request by separate

motion and with a supporting brief. Further, State Defendants provide no factual


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or legal basis for their request; their motion fails to provide Plaintiffs’ counsel

notice of the claims against them, and thus fails to meet the requirements for

constitutional due process, or to provide Plaintiffs’ counsel any basis on which to

form a substantive response.1 Accordingly, the State Defendants’ request must be

denied.

                         Legal Standard: 28 U.S.C. § 1927
      Section 1927 provides in pertinent part that:
      Any attorney ... who so multiplies the proceedings in any case
      unreasonably and vexatiously may be required by the court to satisfy
      personally the excess costs, expenses, and attorneys' fees reasonably
      incurred because of such conduct.

28 U.S.C. § 1927. Thus, for a court to sanction an attorney, the movant must, at a

minimum, show that the attorney has (1) “multiplie[d] the proceedings” (2) in an

“unreasonabl[e] and vexatious[]” manner, and (3) “as a result, causes additional

expenses to the opposing party.” In re Ruben, 825 F.2d 977, 984 (6th Cir. 1987).

The sanctions must be correlated to “discrete acts of claimed misconduct,” and the

amount of such sanctions must correspond to “the impact upon defendants” of

those discrete acts. Ruben, 825 F.2d at 990.



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  To the extent State Defendants are requesting sanctions under Fed. R. Civ. P.
Rule 11(c), their request must be denied for failure to comply with the
requirements in Fed. R. Civ. P. Rule 11(c)(2), namely, that the “motion for
sanctions must be made separately from any other motion and must describe the
specific conduct that allegedly violates Rule 11(b).” State Defendants also failed
to provide 21-days’ notice to Plaintiffs’ counsel before filing with this Court.
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      The City’s motion can be disposed of with the first element because it has

not shown that Plaintiffs’ counsel have “multiplie[d]” proceedings, nor could it. In

Beverly, this Court first noted that the “plain language of the statute only penalizes

attorneys who vexatiously and unreasonably ‘multiply’ proceedings,” and that

Section 1927 sanctions may not be imposed “based on the filing of an initial

complaint that turns out to be meritless.” Beverly, 2020 WL2556674 at *1.2.

      The Beverly court “join[ed] an unbroken band of cases across the courts of

appeals holding that a lawyer cannot violate section 1927 in the course of

commencing an action.” Jensen, 546 F.3d at 65 (emphasis added). See also id.

(“Congress’s use of the verb ‘multipl[y]’ in the text of the statute clearly

contemplates that, to be sanctionable thereunder, conduct must have an effect on

an already initiated proceeding.”); Matter of Yagman, 796 F.2d 1165, 1187 (9th

Cir. 1986) (“Section 1927 does not apply to initial pleadings, since it addresses

only the multiplication of proceedings. It is only possible to multiply or prolong

proceedings after the complaint is filed.”); Steinert v. Winn Group, Inc., 440 F.3d



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  The Beverly court also explained that this interpretation was consistent with the
Sixth Circuit’s decision in Ridder v. City of Springfield, 109 F.3d 298 (6th Cir.
1997). The Ridder court affirmed the imposition of Section 1927 sanctions against
an attorney “for excess costs resulting from his initial filing and persistent assertion
of meritless claims,” because the attorney pursued his case “long after it should
have become clear that his claims lacked any plausible basis,” and thereby “forced
the [defendant] to defend this action for a period in excess of five years.” Ridder,
109 F.3d at 288-89.
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1214, 1224-25 (10th Cir.2006) (“This unambiguous statutory language necessarily

excludes the complaint that gives birth to the proceedings, as it is not possible to

multiply proceedings until after those proceedings have begun.”) (emphasis in

original); DeBauche v. Trani, 191 F.3d 499, 511 (4th Cir.1999) (concluding “as a

matter of law” that Section 1927 sanctions could not be imposed where plaintiff

had filed only a complaint and amended complaint.).

      Further, because Section 1927 applies only to conduct after the

commencement of an action, it cannot be used as a basis to sanction for pre-filing

conduct or “for failure to make a reasonably adequate inquiry into the facts and

law before filing the lawsuit.” Zuk v. E. Pa. Psych. Inst., 103 F.3d 294, 297 (3d

Cir.1996). See also MEMC Elec. Mat'ls, Inc. v. Mitsubishi Mat'ls Silicone Corp.,

420 F.3d 1369, 1382 (Fed.Cir.2005) (“the adequacy of [plaintiff’s] prefiling

investigation is irrelevant to the Section 1927 inquiry.”).

      Even assuming arguendo that the City could satisfy the first element, which

it cannot as a matter of law, it would also have to prove that Plaintiffs’ counsel

acted “unreasonably and vexatiously,” 28 U.S.C. §1927, and that counsel’s

conduct has “cause[d] additional expense” to the City. In re Ruben, 825 F.2d 977,

984 (6th Cir. 1987). The Sixth Circuit has interpreted “unreasonably and

vexatiously,” as requiring a showing that the attorney has “intentionally abuse[d]

the judicial process or knowingly disregard[ed] the risk that his actions will


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 needlessly multiply proceedings.” Red Carpet Studios, 465 F.3d 642 at 646. See

 also United States v. Ross, 535 F.2d 346 (6th Cir. 1976) (Section 1927 sanctions

 require “an intentional departure from proper conduct, or, at a minimum, . . . a

 reckless disregard of the duty owed by counsel to the court.”). No such showing

 has been made here.

                                     ARGUMENT
    I.      The Requests for Sanctions Are Procedurally Improper.
         Both the City’s and the State Defendants’ request for sanctions are

 procedurally improper because they each fail to comply with the requirements

 Local Rules 7.1(b) and 7.1(d)(1)(A). The City’s request is included in a motion

 styled as both a “Motion to Dismiss and for an Award of Sanctions.” Normally,

 motions for sanctions are to be filed in a separate motion, with a separate brief,

 rather than being included in dispositive motions. Cf. Fed. R. Civ. P. Rule 11(c)(2).

 Nor does the City’s request include a brief identifying the “controlling authority,”

 which, as shown above bars its claim, or identify any “discrete acts of misconduct”

 by Plaintiffs. The State Defendants’ request fails for the same reasons, as well as

 the fact that State Defendants’ motion fails altogether to mention the request for

 sanctions in the “concise statement of issues presented,” ECF No. 70 at ix, to cite

 any authority whatsoever for its request, or to identify any factual or legal basis for

 its request. In fact, the word “sanctions” appears precisely once, in the very last


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 sentence of a 79-page pleading.

    II.      The Conduct of Plaintiffs’ Counsel Does Not Satisfy Any of the
             Requirements for Imposition of Section 1927 Sanctions.

             a. Plaintiffs’ Counsel Have Not “Multiplie[d] Proceedings.”
          The City’s request for Section 1927 sanctions is barred as a matter of law

 under the “plain language” of the statute, as interpreted by this Court’s holding in

 Beverly, 2020 WL2556674 at *1, and the “unbroken band of cases across the

 courts of appeals holding that a lawyer cannot violate section 1927 in the course of

 commencing an action.” Jensen, 546 F.3d at 65 (emphasis added).

          Here, as in Beverly, Plaintiffs’ counsel’s conduct consists only of filing

 initial pleadings, responses to defendant and intervenor motions, and non-

 substantive motions, in particular: (1) an initial complaint on November 25, 2020

 on the eve of the Thanksgiving holiday, ECF No. 1; (2) the November 29, 2020

 Amended Complaint, ECF No. 6, which made non-material changes to the initial

 complaint on the Sunday before the first working day after Thanksgiving and

 before the Court had taken any action; (3) the November 29, 2020 TRO Motion;

 (4) the December 3, 2020 response to Defendants’ motions, ECF No. 49, pursuant

 to this Court’s order for expedited briefing, ECF No. 24; and (5) related non-

 substantive motions and responses to defendant and intervenor filings, including

 the December 4, 2020 notice of supplemental authority. ECF No. 57. Plaintiffs’

 counsel has not injected new legal claims or evidence after this Court’s December

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 7, 2020, Order denying the TRO Motion. ECF No. 62.

       The filing of such initial pleadings, even if ultimately found to be without

 merit or even frivolous, cannot, without more, be the basis for Section 1927

 sanctions. The Sixth Circuit concluded as much in Ridder, where it affirmed the

 imposition of Section 1927 sanctions against an attorney “for excess costs resulting

 from his initial filing and persistent assertion of meritless claims,” because the

 attorney pursued his case “long after it should have become clear that his claims

 lacked any plausible basis,” and thereby “forced the [defendant] to defend this

 action for a period in excess of five years.” Ridder, 109 F.3d at 288-89. Here,

 Plaintiffs’ TRO motion was dismissed a mere eight days after filing, and Plaintiffs

 have also promptly moved to voluntarily dismiss the Amended Complaint within a

 week after the “certification” of Joseph Biden as President-Elect on January 7,

 2020 because Plaintiffs’ requested relief now appears moot. Thus, Plaintiffs’

 counsel has not “multiplie[d]” proceedings at all, much less done so “unreasonably

 and vexatiously” in a manner that has unreasonably delayed the proceeding or

 caused defendants to incur additional costs.

       While “the adequacy of [plaintiffs’] prefiling investigation is irrelevant to

 the Section 1927 inquiry,” MEMC Elec. Mat'ls, 420 F.3d at 1382, Plaintiffs’

 counsel respectfully submits that their prefiling investigation of the legal and

 factual matters raised in the Amended Complaint was more than adequate to


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 satisfy Plaintiffs’ counsel’s obligations to this Court and in light of the limited time

 available in a post-election challenge; if anything, Plaintiffs’ counsel apparently

 spent too much time on their pre-filing investigation, as this Court ultimately found

 that Plaintiffs waited too long to file and dismissed the TRO Motion based on the

 equitable doctrine of laches. ECF No. 62 at 19.

       With respect to legal matters, the arguments raised in commencing a

 proceeding cannot, as a matter of law, be the basis for Section 1927 sanctions.

 With respect to factual matters, the pleading standard to survive a motion to

 dismiss is that respondents need only allege “enough facts to state a claim to relief

 that is plausible on its face.” Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27,

 45 (2011) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

 Nevertheless, Defendant City begins its motion with language that claims Plaintiffs

 have “lied,”3 yet it submits no evidence of its allegations, and it should face

 consequences for using such specious language against opposing counsel or the


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   The City has repeatedly alleged that Plaintiffs’ counsel have “lied.” This
 conclusory and outrageous allegation is not supported by the record in this case, or
 by allegations and assertions made by other respectable parties, counsel and
 witnesses across the country, as explained further below. Additionally, in a filing
 in opposition to Plaintiffs’ motion for a one week extension to file the instant
 opposition, ECF No. 83, the City maliciously and falsely accused Plaintiffs’
 counsel of murder, inciting a riot, and sedition. Id. These outrageous, malicious
 allegations by a major American metropolitan city are unacceptable. Nothing in
 this opposition should be construed as a waiver of Plaintiffs’ or their counsels’
 rights in connection with seeking redress and monetary damages as a result of
 these false and defamatory statements.
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 parties.

        With respect to the evidence supporting Plaintiffs’ factual allegations, the

 lengthy Amended Complaint included hundreds of signed and sworn affidavits by

 fact witnesses, most of which were also included in similar state proceedings.4 The

 Amended Complaint also included sworn affidavits from several expert witnesses

 with substantive reports supporting their conclusions. See ECF No. 6, Ex. 1-20

 and 101-111.

        For example, the expert witness testimony of Russell James Ramsland, Jr.

 (“Ramsland Affidavit”), which is described in greater detail below, identifies an

 event that occurred in Michigan on November 4, 2020, that is “physically

 impossible” See ECF No. 6, Ex. 104 at ¶14. That “event” reflected in the data is “4

 spikes totaling 384,733 ballots allegedly processed in a combined interval of 2

 hour[s] and 38 minutes” for four precincts/townships in four Michigan counties

 (Wayne, Oakland, Macomb, and Kent). Id. Based on Mr. Ramsland’s analysis of

 the voting machines available at the referenced locations, he determined that the

 maximum processing capability during this period was only 94,867 ballots, so that

 “there were 289,866 more ballots processed in the time available for processing in


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   These sworn affidavits—given by citizens claiming personal knowledge, under
 penalty of perjury in most instances—contain deeply troubling allegations which,
 if proven, would reasonably call into question the ability of any Michigan voter to
 confidently rest on the promise that his or her vote shall not be diluted, and indeed
 that it shall be counted at all. (ECF Nos. 6-1 and 6-3).
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 the four precincts/townships, than there was processing capacity.” Id. This

 amount alone is nearly twice the number of ballots by which Biden was certified to

 have defeated President Trump (i.e., 154,188 at the time the Amended Complaint

 was filed). See id. at ¶¶ 144-145.

       The Amended Complaint also presented expert witness testimony

 demonstrating that several hundred thousand illegal, ineligible, duplicate or purely

 fictitious votes must be thrown out, in particular:

       A. A report from Russell Ramsland, Jr. showing the “physical impossibility”
           of nearly 385,000 votes injected by four precincts/township on November
           4, 2020, that resulted in the counting of nearly 290,000 more ballots
           processed than available capacity (which is based on statistical analysis
           that is independent of his analysis of Dominion’s flaws), a result which
           he determined to be “physically impossible.” Id., Ex. 104 ¶14;

       B. A report from Dr. Louis Bouchard finding to be “statistically impossible”
           the widely reported “jump” in Biden’s vote tally of 141,257 votes during
           a single time interval (11:31:48 on November 4). Id., Ex. 110 at 28;

       C. A report from Dr. William Briggs, showing that there were
           approximately 60,000 absentee ballots listed as “unreturned” by voters
           that either never requested them, or that requested and returned their
           ballots. See id., Ex. 101;

       D. A report from Dr. Eric Quinell analyzing the anomalous turnout figures
           in Wayne and Oakland Counties showing that Biden gained nearly 100%
           and frequently more than 100% of all “new” voters in certain
           townships/precincts over 2016, and thus indicated that nearly 87,000
           anomalous and likely fraudulent votes came from these precincts. See id.,
           Ex. 102);

       E. A report from Dr. Stanley Young that looked at the entire State of

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          Michigan and identified nine “outlier” counties that had both
          significantly increased turnout in 2020 vs. 2016 almost all of which went
          to Biden totaling over 190,000 suspect “excess” Biden votes (whereas
          turnout in Michigan’s 74 other counties was flat). See id., Ex. 110;

       F. A report from Robert Wilgus analyzing the absentee ballot data that
          identified a number of significant anomalies, in particular, 224,525
          absentee ballot applications that were both sent and returned on the same
          day, 288,783 absentee ballots that were sent and returned on the same
          day, and 78,312 that had the same date for all (i.e., the absentee
          application was sent/returned on same day as the absentee ballot itself
          was sent/returned), as well as an additional 217,271 ballots for which
          there was no return date. See id., Ex. 110;

       G. A report from Thomas Davis showing that in 2020 for larger Michigan
          counties like Monroe and Oakland Counties, that not only was there a
          higher percentage of Democrat than Republican absentee voters in every
          single one of hundreds of precinct, but that the Democrat advantage (i.e.,
          the difference in the percentage of Democrat vs. Republican absentee
          voter) was consistent (+25%-30%) and the differences were highly
          correlated, whereas in 2016 the differences were uncorrelated. See id.,
          Ex. 110; and

       H. A report by an affiant whose name must be redacted to protect his safety
          who concludes that “the results of the analysis and the pattern seen in the
          included graph strongly suggest a systemic, system-wide algorithm was
          enacted by an outside agent, causing the results of Michigan’s vote tallies
          to be inflated by somewhere between three and five point six percentage
          points. Statistical estimating yields that in Michigan, the best estimate of
          the number of impacted votes is 162,400. However, a 95% confidence
          interval calculation yields that as many as 276,080 votes may have been
          impacted.” See id., Ex. 111 ¶13.

       Further, Plaintiff’s December 4, 2020 response included signed and sworn

 rebuttal testimony, submitted in response to Defendant-Intervenor’s response, from

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 Plaintiffs’ expert witnesses, Russell Ramsland, William Briggs, Eric Quinell, and

 expert testimony submitted under seal. See ECF No. 49, Exs. 1-4. There was no

 discovery conducted in this case or in connection with these submissions. No

 documents were exchanged. No depositions were taken. No hearing was held.

 Plaintiffs were not allowed to inspect any of the voting machines. In short,

 Plaintiffs were never given an opportunity to develop their evidence further or to

 be heard on the evidence.

       Indeed, since the filing of the Complaint in this case, many others have

 stepped forwarding submitting persuasive evidence of fraud in connection with the

 2020 election in Michigan. To begin with, on December 7, 2020, the same day this

 court rendered its decision, the State of Texas, filed a complaint in the United

 States Supreme Court against the States of Georgia, Michigan, Pennsylvania, and

 Wisconsin. Ex. 1 (“Texas Complaint”).

       In the Texas Complaint, the State of Texas alleged that Michigan’s vote

 results were unreliable:

        96. These non-legislative modifications to Michigan’s election
        statutes resulted in a number of constitutionally tainted votes that
        far exceeds the margin of voters separating the candidates in
        Michigan.
        97. Additional public information confirms the material adverse
        impact on the integrity of the vote in Wayne County caused by
        these unconstitutional changes to Michigan’s election law. For
        example, the Wayne County Statement of Votes Report lists
        174,384 absentee ballots out of 566,694 absentee ballots tabulated

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        (about 30.8%) as counted without a registration number for
        precincts in the City of Detroit. The number of votes not tied to a
        registered voter by itself exceeds Vice President Biden’s margin of
        margin of 146,007 votes by more than 28,377 votes.
        98. The extra ballots cast most likely resulted from the phenomenon
        of Wayne County election workers running the same ballots
        through a tabulator multiple times, with Republican poll watchers
        obstructed or denied access, and election officials ignoring poll
        watchers’ challenges, as documented by numerous declarations.
        99. In addition, a member of the Wayne County Board of
        Canvassers (“Canvassers Board”), William Hartman, determined
        that 71% of Detroit’s Absent Voter Counting Boards (“AVCBs”)
        were unbalanced—i.e., the number of people who checked in did
        not match the number of ballots cast—without explanation.
        100. On November 17, 2020, the Canvassers Board deadlocked 2-2
        over whether to certify the results of the presidential election based
        on numerous reports of fraud and unanswered material
        discrepancies in the county-wide election results. A few hours later,
        the Republican Board members reversed their decision and voted to
        certify the results after severe harassment, including threats of
        violence.
        101. The following day, the two Republican members of the Board
        rescinded their votes to certify the vote and signed affidavits
        alleging they were bullied and misled into approving election
        results and do not believe the votes should be certified until serious
        irregularities in Detroit votes are resolved.
 Id. ¶¶ 96-101 (citations omitted).

       The Texas complaint sought similar relief to that which Plaintiffs sought

 here. Among other things, it demanded to nullify the vote certification issued by

 the State Defendants for Joe Biden:

        WHEREFORE, Plaintiff States respectfully request that this Court
        issue the following relief:

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        A. Declare that Defendant States Pennsylvania, Georgia, Michigan,
        and Wisconsin administered the 2020 presidential election in
        violation of the Electors Clause and the Fourteenth Amendment of
        the U.S. Constitution.
        B. Declare that any electoral college votes cast by such presidential
        electors appointed in Defendant States Pennsylvania, Georgia,
        Michigan, and Wisconsin are in violation of the Electors Clause
        and the Fourteenth Amendment of the U.S. Constitution and cannot
        be counted.
        C. Enjoin Defendant States’ use of the 2020 election results for the
        Office of President to appoint presidential electors to the Electoral
        College.
        D. Enjoin Defendant States’ use of the 2020 election results for the
        Office of President to appoint presidential electors to the Electoral
        College and authorize, pursuant to the Court’s remedial authority,
        the Defendant States to conduct a special election to appoint
        presidential electors.
        E. If any of Defendant States have already appointed presidential
        electors to the Electoral College using the 2020 election results,
        direct such States’ legislatures, pursuant to 3 U.S.C. § 2 and U.S.
        CONST. art. II, § 1, cl. 2, to appoint a new set of presidential
        electors in a manner that does not violate the Electors Clause and
        the Fourteenth Amendment, or to appoint no presidential electors at
        all.
        F. Enjoin the Defendant States from certifying presidential electors
        or otherwise meeting for purposes of the electoral college pursuant
        to 3 U.S.C. § 5, 3 U.S.C. § 7, or applicable law pending further
        order of this Court.
       Id. at 39-40.

       The Texas Complaint was joined by the Attorney Generals for eighteen

 other states including Alabama, Arizona, Arkansas, Florida, Indiana, Kansas,

 Louisiana, Mississippi, Missouri, Montana, Nebraska, North Dakota, Oklahoma,


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 South Carolina, South Dakota, Tennessee, Utah and West Virginia.5 Accordingly,

 nineteen states endorsed a complaint claiming that the State Defendants’

 certification of Joe Biden should be thrown out, and that Mr. Biden’s electors

 should not be sent to the Electoral college. This endorsement and complaint came

 after the State Defendants and the City had fully briefed the issues in this case and

 had presented all of their opposition evidence and all of their arguments. While

 this Court may disagree with the Plaintiffs and the Attorney Generals of nineteen

 states, the claims asserted are not sanctionable.

       Further, the Michigan State Senate Oversight Committee held a hearing in or

 about early December, which included testimony from a former senator with

 expertise on data and technology who explained that the voting machines were

 connected to the internet in Detroit. The witness also spoke to the committee under

 oath about voting by dead people, a truck full of ballots coming into the counting

 center long after the deadline, and vulnerable voting machines.6 Further testimony

 included evidence of voters who voted absentee but had fake addresses or were



 5
   18 States join Texas election fraud lawsuit seeking to undo Biden’s victory,
 BUSINESS STANDARD (Dec. 11, 2020), https://www.business-
 standard.com/article/news-ani/18-states-join-texas-election-fraud-lawsuit-seeking-
 to-overturn-biden-s-victory-120121100055_1.html.
 6 Fred Lucas, 4 Takeaways From the Michigan Senate’s Election Fraud Hearing,
 THE DAILY SIGNAL (Dec. 1, 2020), https://www.dailysignal.com/2020/12/01/4-
 takeaways-from-the-michigan-senates-election-fraud-hearing/.

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 deceased.

         “What I can say for sure, and swear to you here today, is that
         overall, 8.9% of the 30,000 absentee ballots that we’ve gone
         through and investigated, just in the city of Detroit, were
         unqualified, fraudulent ballots that should have been spoiled,”
         Schornak said. He extrapolated about how the 30,000 sample could
         reflect on all of the absentee votes cast. “At the lowest levels, if
         these percentages carry through, this means of the 172,000
         [absentee votes] in the city of Detroit, 1,300 of them could be
         deceased,” he told the senators. “We are investigating it. And
         another 15,000 could have fraudulent addresses, described as living
         on vacant lots or [in] burnt-down houses.”
       The Michigan Oversight Committee also heard from a witness who was an

 IT specialist for Dominion Voting Systems who described what she called

 “complete fraud” at Detroit’s TCF Center.7 She described the same ballots being

 repeatedly rescanned over and over. Id. While she is not an affiant in this case, this

 demonstrates that the Michigan Senate’s Oversight Committee found these

 allegations sufficiently credible to take statements from fact witnesses because the

 complaints on the lack of integrity and object fraud in this election reached far and

 wide within Michigan.

       John Lott, Ph.D. recently did a study, first published in late December 2020

 and updated January 6, 2021 called “A Simple Test for the Extent of Vote Fraud


 7
   Andrew Miller,'Sassy' Michigan Dominion worker and GOP witness goes viral
 after contentious exchange with lawmakers, WASH. EXAMINER (Dec. 3, 2020),
 https://www.msn.com/en-us/news/politics/sassy-michigan-dominion-worker-and-
 gop-witness-goes-viral-after-contentious-exchange-with-lawmakers/ar-
 BB1bBR9w.
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 with Absentee Ballots in the 2020 Presidential Election: Georgia and Pennsylvania

 Data.” See Ex. 2, copy of Dr. Lott’s Study. Dr. Lott’s conclusion addresses

 Michigan and other contested states:

       … The voter turnout rate data provides stronger evidence that there
       are significant excess votes in Arizona, Michigan, Nevada, and
       Wisconsin as well. While the problems shown here are large, there are
       two reasons to believe that they are underestimates: 1) the estimates
       using precinct level data assume that there is no fraud occurring with
       in-person voting and 2) the voter turnout estimates do not account for
       ballots for the opposing candidate that are lost, destroyed, or replaced
       with ballots filled out for the other candidate.

       Moreover, Plaintiffs’ Complaint plead facts that the State Defendants and

 the City did not dispute including:

 • The first red flag is the Antrim County, Michigan “glitch” that switched
   6,000 Trump ballots to Biden, and that was only discoverable through a
   manual hand recount. The “glitch” was later attributed to “clerical error”
   by Dominion and Antrim Country, presumably because if it were
   correctly identified as a “glitch,” “the system would be required to be
   ‘recertified’ according to Dominion officials. This was not done.” See
   ECF No. 6 ¶ 136. Mr. Ramsland points out that “the problem most likely
   did occur due to a glitch where an update file did not properly
   synchronize the ballot barcode generation and reading portions of the
   system.” Id. Further, such a glitch would not be an “isolated error,” as it
   “would cause entire ballot uploads to read as zero in the tabulation batch,
   which we also observed happening in the data (provisional ballots were
   accepted properly but in-person ballots were being rejected (zeroed out
   and/or changed (flipped)).” Id. Accordingly, Mr. Ramsland concludes
   that it is likely that other Michigan counties using Dominion may “have
   the same problem.” Id. See ECF No. 6 ¶ 136.

 • Tabulator issues and election violations occurred elsewhere in Michigan
   reflecting a pattern, where multiple incidents occurred. In Oakland
   County, votes flipped a seat to an incumbent Republican, Adam
   Kochenderfer, from the Democrat challenger when: “A computer issue in

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     Rochester Hills caused them to send us results for seven precincts as both
     precinct votes and absentee votes. They should only have been sent to us
     as absentee votes,” Joe Rozell, Oakland County Director of Elections for
     the City of Huntington Woods, said.8 See ECF No. 6 at ¶¶ 131-132).

 • The Oakland County flip of votes becomes significant because it reflects
   a second systems error, wherein both favored the Democrats, and
   precinct votes were sent out to be counted, and they were counted twice
   as a result until the error was caught on a recount. Precinct votes should
   never be counted outside of the precinct, and they are required to be
   sealed in the precinct. See generally, MCLS § 168.726.

        These are just a few of the specific facts cited by Plaintiffs, which are not

 genuinely disputed and reflect evidence of a pattern of defects or fraud in the

 voting system machines of tabulating ballots favoring one candidate not the other.

 Indeed, when a Michigan court finally ordered discovery of a voting machine in

 Antrim County the results shows that the machine was infiltrated by a malware

 algorithm which transferred votes from Trump to Biden.9

        The sheer gravity of those claims, and their implications on the integrity of

 our electoral system, justified counsel in pursuing every arguably permissible

 avenue to assist Plaintiffs in seeking redress. Even if those claims and counsels’

 legal theories are ultimately rejected by this Court, this does not render counsel’s


 8
   Bill Laitner, Fixed Computer Glitch Turns Losing Republican into a Winner in
 Oakland County, Detroit Free Press (Nov. 20, 2020),
 https://www.freep.com/story/news/local/michigan/oakland/2020/11/06/oakland-
 county-election-2020-race-results/6184186002/.
 9
   Russell James Ramsland, Jr., Allied Security Operations Groups Antrim
 Michigan Forensics Report Revised Preliminary Summary, DEFENDING THE
 REPUBLIC (Dec. 13, 2020), https://defendingtherepublic.org/?page_id=1081.
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 actions “unreasonable and vexatious.” See Ruben, 825 F.2d at 984 (warning that

 “judges faced with motions under section 1927 should be mindful that their

 individual perturbations will not alone justify a sanction”).

           b. Plaintiffs’ Counsel Have Not Acted “Unreasonably or
              Vexatiously,” or Engaged in Any Reckless or Intentional
              Misconduct to Delay or Increase Defendants’ Costs.

       Even assuming arguendo that this claim were not barred as a matter of law,

 the City has failed to allege that any specific conduct by Plaintiffs’ counsel, or

 factual allegation or legal claim in the pleadings, that could qualify as

 “unreasonabl[e] or vexatious[],” as required under Section 1927, or any specific

 reckless, bad faith or intentional misconduct required under controlling Sixth

 Circuit precedent.

       Instead, the City simply makes blanket assertions that Plaintiffs’ counsel has

 filed a “frivolous lawsuit” and “raised false allegations and pursued unsupportable

 legal theories.” ECF No. 73 at 25. The City also cites to tweets and other public

 statements by co-counsel Sidney Powell and Lin Wood without any context or

 relation to this specific proceeding and gratuitous personal attacks on Plaintiffs’

 counsel, citing unrelated proceedings regarding original local counsel Greg Rohl.

 ECF No. 73 at 23-24. Finally, the City engages in its own spurious speculation

 that Plaintiffs’ co-counsel filed this lawsuit “hoping not to prevail but to damage

 democracy,” ECF No. 23, a reckless and defamatory claim. This highlights the


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 lack of specificity in these allegations, with a blanket demand against all counsel

 whereas liability under § 1927 is direct, not vicarious. FM Indus. v. Citicorp

 Credit Servs., 614 F.3d 335, 340-341 (7th Cir. 2010) (citations omitted) (liability is

 restricted to the misbehaving lawyer and may not be transferred to his partners or

 law firm). Because a lawyer who assisted plaintiff’s lawyer did not himself engage

 in any vexatious or bad faith litigation tactics, and because Section 1927 did not

 impose on any lawyer a duty to supervise or correct another lawyer’s work,

 sanctioning an assisting lawyer for another lawyer’s misconduct was improper. Id.

       As explained above, Plaintiffs’ extensive and heavily documented claims

 regarding election fraud were not, and are not, objectively unreasonable, within the

 meaning of Section 1927 or otherwise. Counsels’ representation of Plaintiffs who

 disagree with the City does not constitute bad faith, even if the Court strongly

 agrees with the City. Rather, it reflects an incompatible view of mutually exclusive

 assertions. This is not sanctionable.

           c. The City Has Not Identified Any “Discrete Acts of Misconduct”
              That Could Have Caused the City to Incur Any Additional Costs.

       As shown above, the City has not identified any “discrete acts of claimed

 misconduct,” Ruben, 825 F.2d at 990, much less shown that such purported

 misconduct “cause[d] additional expenses to” the City.” Id. at 984. Blanket and

 defamatory assertions cannot meet this requirement.

       In any case, all of City’s expenses are due to the City’s voluntary and

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 unnecessary intervention in this proceeding. The City was not a party or a

 defendant to this action, but rather requested to intervene on their own motion

 following Plaintiffs’ filing of the initial complaint. ECF No. 5. Indeed, neither the

 City, nor the other intervenors were a party to this action until this Court granted

 their motion to intervene by order entered December 2, 2020, ECF No. 28, after

 Plaintiffs’ First Amended Complaint and TRO motion had already been filed. As a

 result, they do not have standing to make this claim. Even if the City could

 demonstrate that either the Complaint or the First Amended Complaint’s filing

 satisfied § 1927 (which it cannot), it cannot trace any expense to Plaintiffs’

 counsel’s filing of the complaint. Since the City entered this litigation on its own

 motion after the action was already instituted, any sanctions must arise out the

 City’s expense resulting from some unreasonable and prolonging conduct by

 Plaintiffs’ counsel occurring on or after the entry of Court’s order of December 2,

 2020.

         Further, Plaintiffs’ counsel has not only done nothing to delay this

 proceeding, they have in fact taken every reasonable measure to expedite, and then

 to terminate the proceeding once their claims became moot. As explained above, in

 their TRO Motion, ECF No. 7, Plaintiffs requested an expedited briefing schedule,

 and agreed to forego an evidentiary hearing and discovery. This Court granted the

 request for expedited briefing, ECF No. 24, and based solely on the initial


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 pleadings and responses, dismissed the TRO Motion a mere eight days later on

 December 7, 2020. ECF No. 62. Further, Plaintiffs have expeditiously, and

 concurrently with this response, moved for voluntary dismissal of the November

 29, 2020 Amended Complaint, ECF No. 6, because the relief requested in the

 Amended Complaint can no longer be granted by this Court after Congress

 certified Joseph R. Biden as President Elect on January 7, 2021.

    III.   The Authorities Relied on by the City Weigh Against Sanctions.

       None of the authorities cited by the City in favor of levying sanctions is

 persuasive in this case, because they are all sharply distinguishable on their facts.

 In Ruben (cited at ECF No. 73, at 33), the Sixth Circuit Court of Appeals reversed

 an award of sanctions due to the failure of the District Court to adequately

 correlate discrete acts by plaintiff’s counsel to corresponding increases in

 defendants’ costs, expenses, and fees. 825 F.2d at 990-91.

       The Court reached this conclusion even though the complaint stated on its

 face that it was filed one day after the statute of limitations ran, and despite the fact

 that substantive litigation in the case spanned nearly four years. Id. at 980-81, 987-

 88. While the movants in Ruben could at least credibly accuse Ruben of engaging

 in dilatory behavior by prolonging litigation over a facially time-barred action,

 Plaintiffs’ counsel has demonstrated a desire for a swift resolution on the merits

 and only asked for short extensions of time, requiring no additional litigation by


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 the City Counsel when rendered absolutely necessary by counsel’s workload.

       In Jones (cited at ECF No. 73 at 33), the Sixth Circuit reversed another

 award under § 1927. The award was imposed on attorneys for a “sloppy”

 (inadequately specific) complaint, subsequent failure to cure the complaint’s defect

 despite defense counsel’s request for greater specificity, and refusal to sign a

 pretrial order which would have simplified the issues for trial. 789 F.2d at 1229-30,

 1231-32.

       The Sixth Circuit reversed, finding first that the record did not support a

 conclusion that counsel knew or should have known that “failure to amend their

 pleadings would retain frivolous claims” or “needlessly obstruct the litigation of

 nonfrivolous claims.” Id. at 1230-31. The Court reasoned that “[i]n light of the

 clarity of the law” on the point that was left ambiguous by the complaint, “no

 significant attorney time could possibly have been spent preparing a defense” to

 potential frivolous claims encompassed therein. Id. at 1231. While criticizing

 counsel’s complaint, the Court nevertheless concluded that its deficiencies were

 “so easily resolved that failure to amend cannot be characterized as unreasonable

 and vexation multiplication of the litigation.” Id.

       In Thurmond v. Wayne Cnty. Sheriff Dept., 564 F. App’x 823 (6th Cir. 2014)

 (cited at ECF No. 73, at 33), the Court affirmed an award of sanctions, after “five

 years after the case was commenced,” counsel continued to obstinately repeat


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 repeatedly-rejected arguments and renew previously-denied motions. Id. at 826-30.

 The Court emphasized the extremely lengthy delay in finality occasioned by

 counsel’s conduct, as well as the district court and defense counsel’s attempts to

 induce counsel to cease his frivolous conduct in favor of either nonfrivolous

 arguments or a negotiated resolution. Id. at 833-34. In sum, none of the authorities

 cited by the City support imposing sanctions; indeed, two of them weigh heavily

 against the City’s requested relief, and the third ought to be distinguished.

                                   CONCLUSION
       For these reasons, the Plaintiffs and their counsel respectfully request that

 this Honorable Court deny the City’s motion for an award of sanctions and

 attorneys’ fees under §1927, as well as the State Defendants’ request for sanctions

 and attorneys’ fees.

                                          Respectfully submitted,

                                          /s/ Stefanie Lambert Junttila
                                          STEFANIE LAMBERT JUNTTILA
                                          (P71303)
                                          Attorney for the Plaintiffs
                                          500 Griswold Street, Ste. 2340
                                          Detroit, MI 48226
                                          (313) 963-4740
                                          attorneystefanielambert@gmail.com

 Date: January 14, 2020



                           CERTIFICATE OF SERVICE

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       I hereby certify that on January 14, 2021, I electronically filed the foregoing

 document with the Clerk of this Court using the ECF system, which will send

 notification of such filing to all attorneys of record registered for electronic filing.

                                            /s/ Stefanie Lambert Junttila
                                           STEFANIE LAMBERT JUNTTILA
                                           (P71303)
                                           Attorney for the Plaintiffs
                                           500 Griswold Street, Ste. 2340
                                           Detroit, MI 48226
                                           (313) 963-4740
                                           attorneystefanielambert@gmail.com




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                              No. ______, Original


                 In the Supreme Court of the United States

                                STATE OF TEXAS,
                                                        Plaintiff,
                                       v.
                  COMMONWEALTH OF PENNSYLVANIA, STATE OF
                  GEORGIA, STATE OF MICHIGAN, AND STATE OF
                                 WISCONSIN,
                                                     Defendants.

                   MOTION FOR LEAVE TO FILE BILL OF
                             COMPLAINT

                                      Ken Paxton*
                                      Attorney General of Texas

                                      Brent Webster
                                      First Assistant Attorney
                                      General of Texas

                                      Lawrence Joseph
                                      Special Counsel to the
                                      Attorney General of Texas

                                      Office of the Attorney General
                                      P.O. Box 12548 (MC 059)
                                      Austin, TX 78711-2548
                                      kenneth.paxton@oag.texas.gov
                                      (512) 936-1414
                                      *     Counsel of Record
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                               No. ______, Original


                 In the Supreme Court of the United States

                                 STATE OF TEXAS,
                                                             Plaintiff,
                                          v.
                  COMMONWEALTH OF PENNSYLVANIA, STATE OF
                  GEORGIA, STATE OF MICHIGAN, AND STATE OF
                                 WISCONSIN,
                                                          Defendants.

                         MOTION FOR LEAVE TO FILE
                               BILL OF COMPLAINT
                    Pursuant to 28 U.S.C. § 1251(a) and this Court’s
               Rule 17, the State of Texas respectfully seeks leave to
               file the accompanying Bill of Complaint against the
               States of Georgia, Michigan, and Wisconsin and the
               Commonwealth of Pennsylvania (collectively, the
               “Defendant States”) challenging their administration
               of the 2020 presidential election.
                    As set forth in the accompanying brief and
               complaint, the 2020 election suffered from significant
               and unconstitutional irregularities in the Defendant
               States:
               • Non-legislative actors’ purported amendments to
                    States’ duly enacted election laws, in violation of
                    the Electors Clause’s vesting State legislatures
                    with     plenary   authority     regarding     the
                    appointment of presidential electors.
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               •   Intrastate differences in the treatment of voters,
                   with more favorable allotted to voters – whether
                   lawful or unlawful – in areas administered by
                   local government under Democrat control and
                   with populations with higher ratios of Democrat
                   voters than other areas of Defendant States.
               • The appearance of voting irregularities in the
                   Defendant States that would be consistent with
                   the unconstitutional relaxation of ballot-integrity
                   protections in those States’ election laws.
               All these flaws – even the violations of state election
               law – violate one or more of the federal requirements
               for elections (i.e., equal protection, due process, and
               the Electors Clause) and thus arise under federal law.
               See Bush v Gore, 531 U.S. 98, 113 (2000) (“significant
               departure from the legislative scheme for appointing
               Presidential electors presents a federal constitutional
               question”) (Rehnquist, C.J., concurring). Plaintiff
               State respectfully submits that the foregoing types of
               electoral irregularities exceed the hanging-chad saga
               of the 2000 election in their degree of departure from
               both state and federal law. Moreover, these flaws
               cumulatively preclude knowing who legitimately won
               the 2020 election and threaten to cloud all future
               elections.
                   Taken together, these flaws affect an outcome-
               determinative numbers of popular votes in a group of
               States that cast outcome-determinative numbers of
               electoral votes. This Court should grant leave to file
               the complaint and, ultimately, enjoin the use of
               unlawful election results without review and
               ratification by the Defendant States’ legislatures and
               remand to the Defendant States’ respective
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               legislatures to appoint Presidential Electors in a
               manner consistent with the Electors Clause and
               pursuant to 3 U.S.C. § 2.
               December 7, 2020          Respectfully submitted,

                                      Ken Paxton*
                                      Attorney General of Texas

                                      Brent Webster
                                      First Assistant Attorney
                                      General of Texas

                                      Lawrence Joseph
                                      Special Counsel to the
                                      Attorney General of Texas

                                      Office of the Attorney General
                                      P.O. Box 12548 (MC 059)
                                      Austin, TX 78711-2548
                                      kenneth.paxton@oag.texas.gov
                                      (512) 936-1414

                                      *     Counsel of Record
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                              No. ______, Original


                 In the Supreme Court of the United States

                                STATE OF TEXAS,
                                                        Plaintiff,
                                       v.
                  COMMONWEALTH OF PENNSYLVANIA, STATE OF
                  STATE OF GEORGIA, STATE OF MICHIGAN, AND
                            STATE OF WISCONSIN,
                                                     Defendants.

                            BILL OF COMPLAINT

                                      Ken Paxton*
                                      Attorney General of Texas

                                      Brent Webster
                                      First Assistant Attorney
                                      General of Texas

                                      Lawrence Joseph
                                      Special Counsel to the
                                      Attorney General of Texas

                                      Office of the Attorney General
                                      P.O. Box 12548 (MC 059)
                                      Austin, TX 78711-2548
                                      kenneth.paxton@oag.texas.gov
                                      (512) 936-1414

                                      *     Counsel of Record
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               “[T]hat form of government which is best contrived to
               secure an impartial and exact execution of the law, is
               the best of republics.”

               —John Adams



                              BILL OF COMPLAINT
                    Our Country stands at an important crossroads.
               Either the Constitution matters and must be followed,
               even when some officials consider it inconvenient or
               out of date, or it is simply a piece of parchment on
               display at the National Archives. We ask the Court to
               choose the former.
                    Lawful elections are at the heart of our
               constitutional democracy. The public, and indeed the
               candidates themselves, have a compelling interest in
               ensuring that the selection of a President—any
               President—is legitimate. If that trust is lost, the
               American Experiment will founder. A dark cloud
               hangs over the 2020 Presidential election.
                    Here is what we know. Using the COVID-19
               pandemic as a justification, government officials in
               the defendant states of Georgia, Michigan, and
               Wisconsin, and the Commonwealth of Pennsylvania
               (collectively, “Defendant States”), usurped their
               legislatures’ authority and unconstitutionally revised
               their state’s election statutes. They accomplished
               these statutory revisions through executive fiat or
               friendly lawsuits, thereby weakening ballot integrity.
               Finally, these same government officials flooded the
               Defendant States with millions of ballots to be sent
               through the mails, or placed in drop boxes, with little
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                                              2
               or no chain of custody1 and, at the same time,
               weakened the strongest security measures protecting
               the integrity of the vote—signature verification and
               witness requirements.
                   Presently, evidence of material illegality in the
               2020 general elections held in Defendant States grows
               daily. And, to be sure, the two presidential candidates
               who have garnered the most votes have an interest in
               assuming the duties of the Office of President without
               a taint of impropriety threatening the perceived
               legitimacy of their election. However, 3 U.S.C. § 7
               requires that presidential electors be appointed on
               December 14, 2020. That deadline, however, should
               not cement a potentially illegitimate election result in
               the middle of this storm—a storm that is of the
               Defendant States’ own making by virtue of their own
               unconstitutional actions.
                   This Court is the only forum that can delay the
               deadline for the appointment of presidential electors
               under 3 U.S.C. §§ 5, 7. To safeguard public legitimacy
               at this unprecedented moment and restore public
               trust in the presidential election, this Court should
               extend the December 14, 2020 deadline for Defendant
               States’ certification of presidential electors to allow
               these investigations to be completed. Should one of
               the two leading candidates receive an absolute
               majority of the presidential electors’ votes to be cast
               on December 14, this would finalize the selection of
               our President. The only date that is mandated under

               1       See https://georgiastarnews.com/2020/12/05/dekalb-
               county-cannot-find-chain-of-custody-records-for-absentee-
               ballots-deposited-in-drop-boxes-it-has-not-been-determined-if-
               responsive-records-to-your-request-exist/
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                                            3
                the Constitution, however, is January 20, 2021. U.S.
                CONST. amend. XX.
                    Against that background, the State of Texas
                (“Plaintiff State”) brings this action against
                Defendant States based on the following allegations:
                            NATURE OF THE ACTION
                       1.     Plaintiff State challenges Defendant
                States’ administration of the 2020 election under the
                Electors Clause of Article II, Section 1, Clause 2, and
                the Fourteenth Amendment of the U.S. Constitution.
                       2.     This case presents a question of law: Did
                Defendant States violate the Electors Clause (or, in
                the alternative, the Fourteenth Amendment) by
                taking—or allowing—non-legislative actions to
                change the election rules that would govern the
                appointment of presidential electors?
                       3.     Those unconstitutional changes opened
                the door to election irregularities in various forms.
                Plaintiff State alleges that each of the Defendant
                States flagrantly violated constitutional rules
                governing the appointment of presidential electors. In
                doing so, seeds of deep distrust have been sown across
                the country. In the spirit of Marbury v. Madison, this
                Court’s attention is profoundly needed to declare what
                the law is and to restore public trust in this election.
                       4.     As Justice Gorsuch observed recently,
                “Government is not free to disregard the
                [Constitution] in times of crisis. … Yet recently,
                during the COVID pandemic, certain States seem to
                have ignored these long-settled principles.” Roman
                Catholic Diocese of Brooklyn, New York v. Cuomo, 592
                U.S. ____ (2020) (Gorsuch, J., concurring). This case is
                no different.
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                                            4
                         5.    Each of Defendant States acted in a
                common pattern. State officials, sometimes through
                pending litigation (e.g., settling “friendly” suits) and
                sometimes unilaterally by executive fiat, announced
                new rules for the conduct of the 2020 election that
                were inconsistent with existing state statutes defining
                what constitutes a lawful vote.
                         6.    Defendant States also failed to segregate
                ballots in a manner that would permit accurate
                analysis to determine which ballots were cast in
                conformity with the legislatively set rules and which
                were not. This is especially true of the mail-in ballots
                in these States. By waiving, lowering, and otherwise
                failing to follow the state statutory requirements for
                signature validation and other processes for ballot
                security, the entire body of such ballots is now
                constitutionally suspect and may not be legitimately
                used to determine allocation of the Defendant States’
                presidential electors.
                         7.    The rampant lawlessness arising out of
                Defendant States’ unconstitutional acts is described
                in a number of currently pending lawsuits in
                Defendant States or in public view including:
                • Dozens of witnesses testifying under oath about:
                     the physical blocking and kicking out of
                     Republican poll challengers; thousands of the
                     same ballots run multiple times through
                     tabulators; mysterious late night dumps of
                     thousands of ballots at tabulation centers;
                     illegally backdating thousands of ballots;
                     signature verification procedures ignored; more
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                    than 173,000 ballots in the Wayne County, MI
                    center that cannot be tied to a registered voter;2
                •   Videos of: poll workers erupting in cheers as poll
                    challengers are removed from vote counting
                    centers; poll watchers being blocked from entering
                    vote counting centers—despite even having a
                    court order to enter; suitcases full of ballots being
                    pulled out from underneath tables after poll
                    watchers were told to leave.
                •   Facts for which no independently verified
                    reasonable explanation yet exists: On October 1,
                    2020, in Pennsylvania a laptop and several USB
                    drives, used to program Pennsylvania’s Dominion
                    voting machines, were mysteriously stolen from a
                    warehouse in Philadelphia. The laptop and the
                    USB drives were the only items taken, and
                    potentially could be used to alter vote tallies; In
                    Michigan, which also employed the same
                    Dominion voting system, on November 4, 2020,
                    Michigan election officials have admitted that a
                    purported “glitch” caused 6,000 votes for
                    President Trump to be wrongly switched to
                    Democrat Candidate Biden. A flash drive
                    containing tens of thousands of votes was left
                    unattended in the Milwaukee tabulations center
                    in the early morning hours of Nov. 4, 2020,
                    without anyone aware it was not in a proper chain
                    of custody.



                2   All exhibits cited in this Complaint are in the Appendix to
                the Plaintiff State’s forthcoming motion to expedite (“App. 1a-
                151a”). See Complaint (Doc. No. 1), Donald J. Trump for
                President, Inc. v. Benson, 1:20-cv-1083 (W.D. Mich. Nov. 11,
                2020) at ¶¶ 26-55 & Doc. Nos. 1-2, 1-4.
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                                            6
                       8.     Nor was this Court immune from the
                blatant disregard for the rule of law. Pennsylvania
                itself played fast and loose with its promise to this
                Court. In a classic bait and switch, Pennsylvania used
                guidance from its Secretary of State to argue that this
                Court should not expedite review because the State
                would segregate potentially unlawful ballots. A court
                of law would reasonably rely on such a representation.
                Remarkably, before the ink was dry on the Court’s 4-
                4 decision, Pennsylvania changed that guidance,
                breaking the State’s promise to this Court. Compare
                Republican Party of Pa. v. Boockvar, No. 20-542, 2020
                U.S. LEXIS 5188, at *5-6 (Oct. 28, 2020) (“we have
                been informed by the Pennsylvania Attorney General
                that the Secretary of the Commonwealth issued
                guidance today directing county boards of elections to
                segregate [late-arriving]       ballots”) (Alito, J.,
                concurring) with Republican Party v. Boockvar, No.
                20A84, 2020 U.S. LEXIS 5345, at *1 (Nov. 6, 2020)
                (“this Court was not informed that the guidance
                issued on October 28, which had an important bearing
                on the question whether to order special treatment of
                the ballots in question, had been modified”) (Alito, J.,
                Circuit Justice).
                       9.     Expert analysis using a commonly
                accepted statistical test further raises serious
                questions as to the integrity of this election.
                       10.    The probability of former Vice President
                Biden winning the popular vote in the four Defendant
                States—Georgia, Michigan, Pennsylvania, and
                Wisconsin—independently given President Trump’s
                early lead in those States as of 3 a.m. on November 4,
                2020, is less than one in a quadrillion, or 1 in
                1,000,000,000,000,000. For former Vice President
                Biden to win these four States collectively, the odds of
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                that event happening decrease to less than one in a
                quadrillion to the fourth power (i.e., 1 in
                1,000,000,000,000,0004). See Decl. of Charles J.
                Cicchetti, Ph.D. (“Cicchetti Decl.”) at ¶¶ 14-21, 30-31.
                See App. 4a-7a, 9a.
                       11.    The same less than one in a quadrillion
                statistical improbability of Mr. Biden winning the
                popular vote in the four Defendant States—Georgia,
                Michigan,      Pennsylvania,        and      Wisconsin—
                independently exists when Mr. Biden’s performance
                in each of those Defendant States is compared to
                former Secretary of State Hilary Clinton’s
                performance in the 2016 general election and
                President Trump’s performance in the 2016 and 2020
                general elections. Again, the statistical improbability
                of Mr. Biden winning the popular vote in these four
                States collectively is 1 in 1,000,000,000,000,0005. Id.
                10-13, 17-21, 30-31.
                       12.    Put simply, there is substantial reason to
                doubt the voting results in the Defendant States.
                       13.    By purporting to waive or otherwise
                modify the existing state law in a manner that was
                wholly ultra vires and not adopted by each state’s
                legislature, Defendant States violated not only the
                Electors Clause, U.S. CONST. art. II, § 1, cl. 2, but also
                the Elections Clause, id. art. I, § 4 (to the extent that
                the Article I Elections Clause textually applies to the
                Article II process of selecting presidential electors).
                       14.    Plaintiff States and their voters are
                entitled to a presidential election in which the votes
                from each of the states are counted only if the ballots
                are cast and counted in a manner that complies with
                the pre-existing laws of each state. See Anderson v.
                Celebrezze, 460 U.S. 780, 795 (1983) (“for the
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                President and the Vice President of the United States
                are the only elected officials who represent all the
                voters in the Nation.”). Voters who cast lawful ballots
                cannot have their votes diminished by states that
                administered their 2020 presidential elections in a
                manner where it is impossible to distinguish a lawful
                ballot from an unlawful ballot.
                       15.     The number of absentee and mail-in
                ballots that have been handled unconstitutionally in
                Defendant States greatly exceeds the difference
                between the vote totals of the two candidates for
                President of the United States in each Defendant
                State.
                       16.     In addition to injunctive relief for this
                election, Plaintiff State seeks declaratory relief for all
                presidential elections in the future. This problem is
                clearly capable of repetition yet evading review. The
                integrity of our constitutional democracy requires
                that states conduct presidential elections in
                accordance with the rule of law and federal
                constitutional guarantees.
                           JURISDICTION AND VENUE
                       17.     This Court has original and exclusive
                jurisdiction over this action because it is a
                “controvers[y] between two or more States” under
                Article III, § 2, cl. 2 of the U.S. Constitution and 28
                U.S.C. § 1251(a) (2018).
                       18.     In a presidential election, “the impact of
                the votes cast in each State is affected by the votes
                cast for the various candidates in other States.”
                Anderson, 460 U.S. at 795. The constitutional failures
                of Defendant States injure Plaintiff States because
                “‘the right of suffrage can be denied by a debasement
                or dilution of the weight of a citizen’s vote just as
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                effectively as by wholly prohibiting the free exercise of
                the franchise.’” Bush v. Gore, 531 U.S. 98, 105 (2000)
                (quoting Reynolds v. Sims, 377 U. S. 533, 555 (1964))
                (Bush II). In other words, Plaintiff State is acting to
                protect the interests of its respective citizens in the
                fair and constitutional conduct of elections used to
                appoint presidential electors.
                       19.    This Court’s Article III decisions indicate
                that only a state can bring certain claims. Lance v.
                Coffman, 549 U.S. 437, 442 (2007) (distinguishing
                citizen plaintiffs from citizen relators who sued in the
                name of a state); cf. Massachusetts v. EPA, 549 U.S.
                497, 520 (2007) (courts owe states “special solicitude
                in standing analysis”). Moreover, redressability likely
                would undermine a suit against a single state officer
                or State because no one State’s electoral votes will
                make a difference in the election outcome. This action
                against multiple State defendants is the only
                adequate remedy for Plaintiff States, and this Court
                is the only court that can accommodate such a suit.
                       20.    Individual state courts do not—and
                under the circumstance of contested elections in
                multiple states, cannot—offer an adequate remedy to
                resolve election disputes within the timeframe set by
                the Constitution to resolve such disputes and to
                appoint a President via the electoral college. No
                court—other       than    this    Court—can       redress
                constitutional injuries spanning multiple States with
                the sufficient number of states joined as defendants or
                respondents to make a difference in the Electoral
                College.
                       21.    This Court is the sole forum in which to
                exercise the jurisdictional basis for this action.
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                                       PARTIES
                       22.    Plaintiff is the State of Texas, which is a
                sovereign State of the United States.
                       23.    Defendants are the Commonwealth of
                Pennsylvania and the States of Georgia, Michigan,
                and Wisconsin, which are sovereign States of the
                United States.
                               LEGAL BACKGROUND
                       24.    Under the Supremacy Clause, the “Con-
                stitution, and the laws of the United States which
                shall be made in pursuance thereof … shall be the
                supreme law of the land.” U.S. CONST. Art. VI, cl. 2.
                       25.    “The individual citizen has no federal
                constitutional right to vote for electors for the
                President of the United States unless and until the
                state legislature chooses a statewide election as the
                means to implement its power to appoint members of
                the electoral college.” Bush II, 531 U.S. at 104 (citing
                U.S. CONST. art. II, § 1).
                       26.    State legislatures have plenary power to
                set the process for appointing presidential electors:
                “Each State shall appoint, in such Manner as the
                Legislature thereof may direct, a Number of Electors.”
                U.S. CONST. art. II, §1, cl. 2; see also Bush II, 531 U.S.
                at 104 (“[T]he state legislature’s power to select the
                manner for appointing electors is plenary.” (emphasis
                added)).
                       27.    At the time of the Founding, most States
                did not appoint electors through popular statewide
                elections. In the first presidential election, six of the
                ten States that appointed electors did so by direct
                legislative appointment. McPherson v. Blacker, 146
                U.S. 1, 29-30 (1892).
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                       28.     In the second presidential election, nine
                of the fifteen States that appointed electors did so by
                direct legislative appointment. Id. at 30.
                       29.     In the third presidential election, nine of
                sixteen States that appointed electors did so by direct
                legislative appointment. Id. at 31. This practice
                persisted in lesser degrees through the Election of
                1860. Id. at 32.
                       30.     Though “[h]istory has now favored the
                voter,” Bush II, 531 U.S. at 104, “there is no doubt of
                the right of the legislature to resume the power [of
                appointing presidential electors] at any time, for it can
                neither be taken away nor abdicated.” McPherson, 146
                U.S. at 35 (emphasis added); cf. 3 U.S.C. § 2
                (“Whenever any State has held an election for the
                purpose of choosing electors, and has failed to make a
                choice on the day prescribed by law, the electors may
                be appointed on a subsequent day in such a manner
                as the legislature of such State may direct.”).
                       31.     Given      the     State      legislatures’
                constitutional primacy in selecting presidential
                electors, the ability to set rules governing the casting
                of ballots and counting of votes cannot be usurped by
                other branches of state government.
                       32.     The Framers of the Constitution decided
                to select the President through the Electoral College
                “to afford as little opportunity as possible to tumult
                and disorder” and to place “every practicable obstacle
                [to] cabal, intrigue, and corruption,” including “foreign
                powers” that might try to insinuate themselves into
                our elections. THE FEDERALIST NO. 68, at 410-11 (C.
                Rossiter, ed. 1961) (Madison, J.).
                       33.     Defendant States’ applicable laws are set
                out under the facts for each Defendant State.
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                                          12
                                       FACTS
                       34.    The use of absentee and mail-in ballots
                skyrocketed in 2020, not only as a public-health
                response to the COVID-19 pandemic but also at the
                urging of mail-in voting’s proponents, and most
                especially executive branch officials in Defendant
                States. According to the Pew Research Center, in the
                2020 general election, a record number of votes—
                about 65 million—were cast via mail compared to 33.5
                million mail-in ballots cast in the 2016 general
                election—an increase of more than 94 percent.
                       35.    In the wake of the contested 2000
                election, the bipartisan Jimmy Carter-James Baker
                commission identified absentee ballots as “the largest
                source of potential voter fraud.” BUILDING
                CONFIDENCE IN U.S. ELECTIONS: REPORT OF THE
                COMMISSION ON FEDERAL ELECTION REFORM, at 46
                (Sept. 2005).
                       36.    Concern over the use of mail-in ballots is
                not novel to the modern era, Dustin Waters, Mail-in
                Ballots Were Part of a Plot to Deny Lincoln Reelection
                in 1864, WASH. POST (Aug. 22, 2020),3 but it remains a
                current concern. Crawford v. Marion Cty. Election
                Bd., 553 U.S. 181, 194-96 & n.11 (2008); see also Texas
                Office of the Attorney General, AG Paxton Announces
                Joint Prosecution of Gregg County Organized Election
                Fraud in Mail-In Balloting Scheme (Sept. 24, 2020);
                Harriet Alexander & Ariel Zilber, Minneapolis police
                opens investigation into reports that Ilhan Omar's
                supporters illegally harvested Democrat ballots in
                Minnesota, DAILY MAIL, Sept. 28, 2020.


                3    https://www.washingtonpost.com/history/2020/08/22/mail-
                in-voting-civil-war-election-conspiracy-lincoln/
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                       37.    Absentee and mail-in voting are the
                primary opportunities for unlawful ballots to be cast.
                As a result of expanded absentee and mail-in voting
                in Defendant States, combined with Defendant States’
                unconstitutional modification of statutory protections
                designed to ensure ballot integrity, Defendant States
                created a massive opportunity for fraud. In addition,
                the Defendant States have made it difficult or
                impossible to separate the constitutionally tainted
                mail-in ballots from all mail-in ballots.
                       38.    Rather than augment safeguards
                against illegal voting in anticipation of the millions of
                additional mail-in ballots flooding their States,
                Defendant States all materially weakened, or did
                away with, security measures, such as witness or
                signature verification procedures, required by their
                respective legislatures. Their legislatures established
                those commonsense safeguards to prevent—or at least
                reduce—fraudulent mail-in ballots.
                       39.    Significantly, in Defendant States,
                Democrat voters voted by mail at two to three times
                the rate of Republicans. Former Vice President Biden
                thus greatly benefited from this unconstitutional
                usurpation of legislative authority, and the
                weakening of legislative mandated ballot security
                measures.
                       40.    The outcome of the Electoral College vote
                is directly affected by the constitutional violations
                committed by Defendant States. Plaintiff State
                complied with the Constitution in the process of
                appointing presidential electors for President Trump.
                Defendant States violated the Constitution in the
                process of appointing presidential electors by
                unlawfully abrogating state election laws designed to
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                protect the integrity of the ballots and the electoral
                process, and those violations proximately caused the
                appointment of presidential electors for former Vice
                President Biden. Plaintiff State will therefore be
                injured if Defendant States’ unlawfully certify these
                presidential electors.
                Commonwealth of Pennsylvania
                        41.   Pennsylvania has 20 electoral votes,
                with a statewide vote tally currently estimated at
                3,363,951 for President Trump and 3,445,548 for
                former Vice President Biden, a margin of 81,597 votes.
                        42.   The number of votes affected by the
                various constitutional violations exceeds the margin
                of votes separating the candidates.
                        43.   Pennsylvania’s Secretary of State, Kathy
                Boockvar, without legislative approval, unilaterally
                abrogated several Pennsylvania statutes requiring
                signature verification for absentee or mail-in ballots.
                Pennsylvania’s legislature has not ratified these
                changes, and the legislation did not include a
                severability clause.
                        44.   On August 7, 2020, the League of Women
                Voters of Pennsylvania and others filed a complaint
                against Secretary Boockvar and other local election
                officials, seeking “a declaratory judgment that
                Pennsylvania      existing    signature    verification
                procedures for mail-in voting” were unlawful for a
                number of reasons. League of Women Voters of
                Pennsylvania v. Boockvar, No. 2:20-cv-03850-PBT,
                (E.D. Pa. Aug. 7, 2020).
                        45.   The Pennsylvania Department of State
                quickly settled with the plaintiffs, issuing revised
                guidance on September 11, 2020, stating in relevant
                part: “The Pennsylvania Election Code does not
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                authorize the county board of elections to set aside
                returned absentee or mail-in ballots based solely on
                signature analysis by the county board of elections.”
                       46.    This    guidance      is     contrary    to
                Pennsylvania law. First, Pennsylvania Election Code
                mandates that, for non-disabled and non-military
                voters, all applications for an absentee or mail-in
                ballot “shall be signed by the applicant.” 25 PA. STAT.
                §§ 3146.2(d) & 3150.12(c). Second, Pennsylvania’s
                voter signature verification requirements are
                expressly set forth at 25 PA. STAT. 350(a.3)(1)-(2) and
                § 3146.8(g)(3)-(7).
                       47.    The Pennsylvania Department of State’s
                guidance     unconstitutionally     did     away    with
                Pennsylvania’s statutory signature verification
                requirements. Approximately 70 percent of the
                requests for absentee ballots were from Democrats
                and 25 percent from Republicans. Thus, this
                unconstitutional abrogation of state election law
                greatly inured to former Vice President Biden’s
                benefit.
                       48.    In addition, in 2019, Pennsylvania’s
                legislature enacted bipartisan election reforms, 2019
                Pa. Legis. Serv. Act 2019-77, that set inter alia a
                deadline of 8:00 p.m. on election day for a county
                board of elections to receive a mail-in ballot. 25 PA.
                STAT. §§ 3146.6(c), 3150.16(c). Acting under a
                generally worded clause that “Elections shall be free
                and equal,” PA. CONST. art. I, § 5, cl. 1, a 4-3 majority
                of Pennsylvania’s Supreme Court in Pa. Democratic
                Party v. Boockvar, 238 A.3d 345 (Pa. 2020), extended
                that deadline to three days after Election Day and
                adopted a presumption that even non-postmarked
                ballots were presumptively timely.
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                        49.    Pennsylvania’s election law also requires
                that poll-watchers be granted access to the opening,
                counting, and recording of absentee ballots: “Watchers
                shall be permitted to be present when the envelopes
                containing official absentee ballots and mail-in ballots
                are opened and when such ballots are counted and
                recorded.” 25 PA. STAT. § 3146.8(b). Local election
                officials in Philadelphia and Allegheny Counties
                decided not to follow 25 PA. STAT. § 3146.8(b) for the
                opening, counting, and recording of absentee and
                mail-in ballots.
                        50.     Prior to the election, Secretary Boockvar
                sent an email to local election officials urging them to
                provide opportunities for various persons—including
                political parties—to contact voters to “cure” defective
                mail-in ballots. This process clearly violated several
                provisions of the state election code.
                • Section 3146.8(a) requires: “The county boards of
                     election, upon receipt of official absentee ballots in
                     sealed official absentee ballot envelopes as
                     provided under this article and mail-in ballots as
                     in sealed official mail-in ballot envelopes as
                     provided under Article XIII-D,1 shall safely keep
                     the ballots in sealed or locked containers until
                     they are to be canvassed by the county board of
                     elections.”
                • Section 3146.8(g)(1)(ii) provides that mail-in
                     ballots shall be canvassed (if they are received by
                     eight o’clock p.m. on election day) in the manner
                     prescribed by this subsection.
                • Section 3146.8(g)(1.1) provides that the first look
                     at the ballots shall be “no earlier than seven
                     o’clock a.m. on election day.” And the hour for this
                     “pre-canvas” must be publicly announced at least
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                    48 hours in advance. Then the votes are counted
                    on election day.
                       51.    By removing the ballots for examination
                prior to seven o’clock a.m. on election day, Secretary
                Boockvar created a system whereby local officials
                could    review     ballots    without     the  proper
                announcements, observation, and security. This
                entire scheme, which was only followed in Democrat
                majority counties, was blatantly illegal in that it
                permitted the illegal removal of ballots from their
                locked containers prematurely.
                       52.    Statewide election officials and local
                election officials in Philadelphia and Allegheny
                Counties, aware of the historical Democrat advantage
                in those counties, violated Pennsylvania’s election
                code and adopted the differential standards favoring
                voters in Philadelphia and Allegheny Counties with
                the intent to favor former Vice President Biden. See
                Verified Complaint (Doc. No. 1), Donald J. Trump for
                President, Inc. v. Boockvar, 4:20-cv-02078-MWB (M.D.
                Pa. Nov. 18, 2020) at ¶¶ 3-6, 9, 11, 100-143.
                       53.    Absentee and mail-in ballots in
                Pennsylvania were thus evaluated under an illegal
                standard regarding signature verification. It is now
                impossible to determine which ballots were properly
                cast and which ballots were not.
                       54.     The changed process allowing the curing
                of absentee and mail-in ballots in Allegheny and
                Philadelphia counties is a separate basis resulting in
                an unknown number of ballots being treated in an
                unconstitutional      manner       inconsistent   with
                Pennsylvania statute. Id.
                       55.    In addition, a great number of ballots
                were received after the statutory deadline and yet
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                were counted by virtue of the fact that Pennsylvania
                did not segregate all ballots received after 8:00 pm on
                November 3, 2020. Boockvar’s claim that only about
                10,000 ballots were received after this deadline has no
                way of being proven since Pennsylvania broke its
                promise to the Court to segregate ballots and co-
                mingled perhaps tens, or even hundreds of thousands,
                of illegal late ballots.
                        56.    On December 4, 2020, fifteen members of
                the Pennsylvania House of Representatives led by
                Rep. Francis X. Ryan issued a report to Congressman
                Scott Perry (the “Ryan Report,” App. 139a-144a)
                stating that “[t]he general election of 2020 in
                Pennsylvania was fraught with inconsistencies,
                documented        irregularities  and     improprieties
                associated with mail-in balloting, pre-canvassing, and
                canvassing that the reliability of the mail-in votes in
                the Commonwealth of Pennsylvania is impossible to
                rely upon.”
                        57.    The Ryan Report’s findings are startling,
                including:

                    •   Ballots with NO MAILED date. That total is
                        9,005.
                    • Ballots Returned on or BEFORE the Mailed
                        Date. That total is 58,221.
                    •    Ballots Returned one day after Mailed Date.
                        That total is 51,200.
                Id. 143a.
                       58.    These nonsensical numbers alone total
                118,426 ballots and exceed Mr. Biden’s margin of
                81,660 votes over President Trump. But these
                discrepancies pale in comparison to the discrepancies
                in Pennsylvania’s reported data concerning the
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                                              19
                number of mail-in ballots distributed to the
                populace—now with no longer subject to legislated
                mandated signature verification requirements.
                       59.     The Ryan Report also states as follows:
                    [I]n a data file received on November 4, 2020, the
                    Commonwealth’s PA Open Data sites reported over
                    3.1 million mail in ballots sent out. The CSV file
                    from the state on November 4 depicts 3.1 million
                    mail in ballots sent out but on November 2, the
                    information was provided that only 2.7 million
                    ballots had been sent out. This discrepancy of
                    approximately 400,000 ballots from November 2 to
                    November 4 has not been explained.
                Id. at 143a-44a. (Emphasis added).
                       60.     These stunning figures illustrate the
                out-of-control nature of Pennsylvania’s mail-in
                balloting scheme. Democrats submitted mail-in
                ballots at more than two times the rate of
                Republicans. This number of constitutionally tainted
                ballots far exceeds the approximately 81,660 votes
                separating the candidates.
                       61.     This blatant disregard of statutory law
                renders all mail-in ballots constitutionally tainted
                and cannot form the basis for appointing or certifying
                Pennsylvania’s presidential electors to the Electoral
                College.
                       62.     According to the U.S. Election
                Assistance Commission’s report to Congress Election
                Administration         and     Voting     Survey:    2016
                Comprehensive Report, in 2016 Pennsylvania received
                266,208 mail-in ballots; 2,534 of them were rejected
                (.95%). Id. at p. 24. However, in 2020, Pennsylvania
                received more than 10 times the number of mail-in
                ballots compared to 2016. As explained supra, this
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                much larger volume of mail-in ballots was treated in
                an unconstitutionally modified manner that included:
                (1) doing away with the Pennsylvania’s signature
                verification requirements; (2) extending that deadline
                to three days after Election Day and adopting a
                presumption that even non-postmarked ballots were
                presumptively timely; and (3) blocking poll watchers
                in Philadelphia and Allegheny Counties in violation of
                State law.
                       63.    These non-legislative modifications to
                Pennsylvania’s election rules appear to have
                generated an outcome-determinative number of
                unlawful ballots that were cast in Pennsylvania.
                Regardless of the number of such ballots, the non-
                legislative changes to the election rules violated the
                Electors Clause.
                State of Georgia
                       64.    Georgia has 16 electoral votes, with a
                statewide vote tally currently estimated at 2,458,121
                for President Trump and 2,472,098 for former Vice
                President Biden, a margin of approximately 12,670
                votes.
                       65.    The number of votes affected by the
                various constitutional violations exceeds the margin
                of votes dividing the candidates.
                       66.    Georgia’s Secretary of State, Brad
                Raffensperger,      without    legislative    approval,
                unilaterally abrogated Georgia’s statute governing
                the signature verification process for absentee ballots.
                       67.    O.C.G.A. § 21-2-386(a)(2) prohibits the
                opening of absentee ballots until after the polls open
                on Election Day: In April 2020, however, the State
                Election Board adopted Secretary of State Rule 183-1-
                14-0.9-.15, Processing Ballots Prior to Election Day.
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                That rule purports to authorize county election
                officials to begin processing absentee ballots up to
                three weeks before Election Day.
                        68.     Georgia law authorizes and requires a
                single registrar or clerk—after reviewing the outer
                envelope—to reject an absentee ballot if the voter
                failed to sign the required oath or to provide the
                required information, the signature appears invalid,
                or the required information does not conform with the
                information on file, or if the voter is otherwise found
                ineligible to vote. O.C.G.A. § 21-2-386(a)(1)(B)-(C).
                        69.     Georgia law provides absentee voters the
                chance to “cure a failure to sign the oath, an invalid
                signature, or missing information” on a ballot’s outer
                envelope by the deadline for verifying provisional
                ballots (i.e., three days after the election). O.C.G.A. §§
                21-2-386(a)(1)(C), 21-2-419(c)(2). To facilitate cures,
                Georgia law requires the relevant election official to
                notify the voter in writing: “The board of registrars or
                absentee ballot clerk shall promptly notify the elector
                of such rejection, a copy of which notification shall be
                retained in the files of the board of registrars or
                absentee ballot clerk for at least two years.” O.C.G.A.
                § 21-2-386(a)(1)(B).
                        70.     On March 6, 2020, in Democratic Party
                of Georgia v. Raffensperger, No. 1:19-cv-5028-WMR
                (N.D. Ga.), Georgia’s Secretary of State entered a
                Compromise Settlement Agreement and Release with
                the Democratic Party of Georgia (the “Settlement”) to
                materially change the statutory requirements for
                reviewing signatures on absentee ballot envelopes to
                confirm the voter’s identity by making it far more
                difficult to challenge defective signatures beyond the
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                express mandatory procedures set forth at GA. CODE §
                21-2-386(a)(1)(B).
                        71.   Among other things, before a ballot could
                be rejected, the Settlement required a registrar who
                found a defective signature to now seek a review by
                two other registrars, and only if a majority of the
                registrars agreed that the signature was defective
                could the ballot be rejected but not before all three
                registrars’ names were written on the ballot envelope
                along with the reason for the rejection. These
                cumbersome procedures are in direct conflict with
                Georgia’s statutory requirements, as is the
                Settlement’s requirement that notice be provided by
                telephone (i.e., not in writing) if a telephone number
                is available. Finally, the Settlement purports to
                require State election officials to consider issuing
                guidance and training materials drafted by an expert
                retained by the Democratic Party of Georgia.
                        72.   Georgia’s legislature has not ratified
                these material changes to statutory law mandated by
                the Compromise Settlement Agreement and Release,
                including altered signature verification requirements
                and early opening of ballots. The relevant legislation
                that was violated by Compromise Settlement
                Agreement and Release did not include a severability
                clause.
                        73.   This unconstitutional change in Georgia
                law materially benefitted former Vice President
                Biden. According to the Georgia Secretary of State’s
                office, former Vice President Biden had almost double
                the number of absentee votes (65.32%) as President
                Trump (34.68%). See Cicchetti Decl. at ¶ 25, App. 7a-
                8a.
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                                            23
                       74.    The effect of this unconstitutional
                change in Georgia election law, which made it more
                likely that ballots without matching signatures would
                be counted, had a material impact on the outcome of
                the election.
                       75.    Specifically, there were 1,305,659
                absentee mail-in ballots submitted in Georgia in 2020.
                There were 4,786 absentee ballots rejected in 2020.
                This is a rejection rate of .37%. In contrast, in 2016,
                the 2016 rejection rate was 6.42% with 13,677
                absentee mail-in ballots being rejected out of 213,033
                submitted, which more than seventeen times greater
                than in 2020. See Cicchetti Decl. at ¶ 24, App. 7a.
                       76.    If the rejection rate of mailed-in absentee
                ballots remained the same in 2020 as it was in 2016,
                there would be 83,517 less tabulated ballots in 2020.
                The statewide split of absentee ballots was 34.68% for
                Trump and 65.2% for Biden. Rejecting at the higher
                2016 rate with the 2020 split between Trump and
                Biden would decrease Trump votes by 28,965 and
                Biden votes by 54,552, which would be a net gain for
                Trump of 25,587 votes. This would be more than
                needed to overcome the Biden advantage of 12,670
                votes, and Trump would win by 12,917 votes. Id.
                Regardless of the number of ballots affected, however,
                the non-legislative changes to the election rules
                violated the Electors Clause.
                State of Michigan
                       77.    Michigan has 16 electoral votes, with a
                statewide vote tally currently estimated at 2,650,695
                for President Trump and 2,796,702 for former Vice
                President Biden, a margin of 146,007 votes. In Wayne
                County, Mr. Biden’s margin (322,925 votes)
                significantly exceeds his statewide lead.
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                                              24
                       78.    The number of votes affected by the
                various constitutional violations exceeds the margin
                of votes dividing the candidates.
                       79.    Michigan’s Secretary of State, Jocelyn
                Benson, without legislative approval, unilaterally
                abrogated Michigan election statutes related to
                absentee     ballot     applications       and    signature
                verification. Michigan’s legislature has not ratified
                these changes, and its election laws do not include a
                severability clause.
                       80.    As amended in 2018, the Michigan
                Constitution provides all registered voters the right to
                request and vote by an absentee ballot without giving
                a reason. MICH. CONST. art. 2, § 4.
                       81.    On May 19, 2020, however, Secretary
                Benson announced that her office would send
                unsolicited absentee-voter ballot applications by mail
                to all 7.7 million registered Michigan voters prior to
                the primary and general elections. Although her office
                repeatedly encouraged voters to vote absentee
                because of the COVID-19 pandemic, it did not ensure
                that Michigan’s election systems and procedures were
                adequate to ensure the accuracy and legality of the
                historic flood of mail-in votes. In fact, it did the
                opposite and did away with protections designed to
                deter voter fraud.
                       82.    Secretary Benson’s flooding of Michigan
                with millions of absentee ballot applications prior to
                the 2020 general election violated M.C.L. § 168.759(3).
                That statute limits the procedures for requesting an
                absentee ballot to three specified ways:
                    An application for an absent voter ballot under this
                    section may be made in any of the following ways:
                    (a) By a written request signed by the voter.
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                                             25
                    (b) On an absent voter ballot application form
                    provided for that purpose by the clerk of the city or
                    township.
                    (c) On a federal postcard application.
                M.C.L. § 168.759(3) (emphasis added).
                       83.     The Michigan Legislature thus declined
                to include the Secretary of State as a means for
                distributing absentee ballot applications. Id. §
                168.759(3)(b). Under the statute’s plain language, the
                Legislature explicitly gave only local clerks the power
                to distribute absentee voter ballot applications. Id.
                       84.     Because the Legislature declined to
                explicitly include the Secretary of State as a vehicle
                for distributing absentee ballots applications,
                Secretary Benson lacked authority to distribute even
                a single absentee voter ballot application—much less
                the millions of absentee ballot applications Secretary
                Benson chose to flood across Michigan.
                       85.     Secretary Benson also violated Michigan
                law when she launched a program in June 2020
                allowing absentee ballots to be requested online,
                without signature verification as expressly required
                under Michigan law. The Michigan Legislature did
                not approve or authorize Secretary Benson’s
                unilateral actions.
                       86.     MCL § 168.759(4) states in relevant part:
                “An applicant for an absent voter ballot shall sign the
                application. Subject to section 761(2), a clerk or
                assistant clerk shall not deliver an absent voter ballot
                to an applicant who does not sign the application.”
                       87.     Further, MCL § 168.761(2) states in
                relevant part: “The qualified voter file must be used to
                determine the genuineness of a signature on an
                application for an absent voter ballot”, and if “the
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                signatures do not agree sufficiently or [if] the
                signature is missing” the ballot must be rejected.
                       88.    In 2016 only 587,618 Michigan voters
                requested absentee ballots. In stark contrast, in 2020,
                3.2 million votes were cast by absentee ballot, about
                57% of total votes cast – and more than five times the
                number of ballots even requested in 2016.
                       89.    Secretary Benson’s unconstitutional
                modifications of Michigan’s election rules resulted in
                the distribution of millions of absentee ballot
                applications without verifying voter signatures as
                required by MCL §§ 168.759(4) and 168.761(2). This
                means that millions of absentee ballots were
                disseminated in violation of Michigan’s statutory
                signature-verification requirements. Democrats in
                Michigan voted by mail at a ratio of approximately
                two to one compared to Republican voters. Thus,
                former Vice President Biden materially benefited
                from these unconstitutional changes to Michigan’s
                election law.
                       90.    Michigan also requires that poll
                watchers and inspectors have access to vote counting
                and canvassing. M.C.L. §§ 168.674-.675.
                       91.    Local election officials in Wayne County
                made a conscious and express policy decision not to
                follow M.C.L. §§ 168.674-.675 for the opening,
                counting, and recording of absentee ballots.
                       92.    Michigan also has strict signature
                verification requirements for absentee ballots,
                including that the Elections Department place a
                written statement or stamp on each ballot envelope
                where the voter signature is placed, indicating that
                the voter signature was in fact checked and verified
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                                               27
                with the signature on file with the State. See MCL §
                168.765a(6).
                        93.     However, Wayne County made the policy
                decision to ignore Michigan’s statutory signature-
                verification requirements for absentee ballots. Former
                Vice President Biden received approximately 587,074,
                or 68%, of the votes cast there compared to President
                Trump’s receiving approximate 264,149, or 30.59%, of
                the total vote. Thus, Mr. Biden materially benefited
                from these unconstitutional changes to Michigan’s
                election law.
                        94.     Numerous poll challengers and an
                Election Department employee whistleblower have
                testified that the signature verification requirement
                was ignored in Wayne County in a case currently
                pending in the Michigan Supreme Court.4 For
                example, Jesse Jacob, a decades-long City of Detroit
                employee assigned to work in the Elections Department for
                the 2020 election testified that:
                     Absentee ballots that were received in the mail would
                     have the voter’s signature on the envelope. While I
                     was at the TCF Center, I was instructed not to look at
                     any of the signatures on the absentee ballots, and I
                     was instructed not to compare the signature on the
                     absentee ballot with the signature on file.5




                4       Johnson v. Benson, Petition for Extraordinary Writs &
                Declaratory Relief filed Nov. 26, 2020 (Mich. Sup. Ct.) at ¶¶ 71,
                138-39, App. 25a-51a.

                5Id., Affidavit of Jessy Jacob, Appendix 14 at ¶15, attached at
                App. 34a-36a.
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                                           28
                        95.   The TCF was the only facility within
                Wayne County authorized to count ballots for the City
                of Detroit.
                        96.   These non-legislative modifications to
                Michigan’s election statutes resulted in a number of
                constitutionally tainted votes that far exceeds the
                margin of voters separating the candidates in
                Michigan.
                        97.   Additional public information confirms
                the material adverse impact on the integrity of the
                vote in Wayne County caused by these
                unconstitutional changes to Michigan’s election law.
                For example, the Wayne County Statement of Votes
                Report lists 174,384 absentee ballots out of 566,694
                absentee ballots tabulated (about 30.8%) as counted
                without a registration number for precincts in the
                City of Detroit. See Cicchetti Decl. at ¶ 27, App. 8a.
                The number of votes not tied to a registered voter by
                itself exceeds Vice President Biden’s margin of margin
                of 146,007 votes by more than 28,377 votes.
                        98.   The extra ballots cast most likely
                resulted from the phenomenon of Wayne County
                election workers running the same ballots through a
                tabulator multiple times, with Republican poll
                watchers obstructed or denied access, and election
                officials ignoring poll watchers’ challenges, as
                documented by numerous declarations. App. 25a-51a.
                        99.   In addition, a member of the Wayne
                County Board of Canvassers (“Canvassers Board”),
                William Hartman, determined that 71% of Detroit’s
                Absent Voter Counting Boards (“AVCBs”) were
                unbalanced—i.e., the number of people who checked
                in did not match the number of ballots cast—without
                explanation. Id. at ¶ 29.
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                                           29
                       100. On November 17, 2020, the Canvassers
                Board deadlocked 2-2 over whether to certify the
                results of the presidential election based on numerous
                reports of fraud and unanswered material
                discrepancies in the county-wide election results. A
                few hours later, the Republican Board members
                reversed their decision and voted to certify the results
                after severe harassment, including threats of violence.
                       101. The following day, the two Republican
                members of the Board rescinded their votes to certify
                the vote and signed affidavits alleging they were
                bullied and misled into approving election results and
                do not believe the votes should be certified until
                serious irregularities in Detroit votes are resolved. See
                Cicchetti Decl. at ¶ 29, App. 8a.
                       102. Regardless of the number of votes that
                were affected by the unconstitutional modification of
                Michigan’s election rules, the non-legislative changes
                to the election rules violated the Electors Clause.
                State of Wisconsin
                       103. Wisconsin has 10 electoral votes, with a
                statewide vote tally currently estimated at 1,610,151
                for President Trump and 1,630,716 for former Vice
                President Biden (i.e., a margin of 20,565 votes). In two
                counties, Milwaukee and Dane, Mr. Biden’s margin
                (364,298 votes) significantly exceeds his statewide
                lead.
                       104. In the 2016 general election some
                146,932 mail-in ballots were returned in Wisconsin
                out of more than 3 million votes cast.6 In stark
                contrast, 1,275,019 mail-in ballots, nearly a 900

                6    Source:   U.S.     Elections    Project,   available   at:
                http://www.electproject.org/early_2016.
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                percent increase over 2016, were returned in the
                November 3, 2020 election.7
                        105. Wisconsin statutes guard against fraud
                in absentee ballots: “[V]oting by absentee ballot is a
                privilege exercised wholly outside the traditional
                safeguards of the polling place. The legislature finds
                that the privilege of voting by absentee ballot must be
                carefully regulated to prevent the potential for fraud
                or abuse[.]” WISC. STAT. § 6.84(1).
                        106. In direct contravention of Wisconsin law,
                leading up to the 2020 general election, the Wisconsin
                Elections Commission (“WEC”) and other local
                officials unconstitutionally modified Wisconsin
                election laws—each time taking steps that weakened,
                or did away with, established security procedures put
                in place by the Wisconsin legislature to ensure
                absentee ballot integrity.
                        107. For example, the WEC undertook a
                campaign to position hundreds of drop boxes to collect
                absentee ballots—including the use of unmanned drop
                boxes.8
                        108. The mayors of Wisconsin’s five largest
                cities—Green Bay, Kenosha, Madison, Milwaukee,
                and Racine, which all have Democrat majorities—
                joined in this effort, and together, developed a plan
                use purportedly “secure drop-boxes to facilitate return



                7   Source:      U.S.     Elections     Project,    available at:
                https://electproject.github.io/Early-Vote-2020G/WI.html.
                8  Wisconsin Elections Commission Memoranda, To: All
                Wisconsin Election Officials, Aug. 19, 2020, available at:
                https://elections.wi.gov/sites/elections.wi.gov/files/2020-
                08/Drop%20Box%20Final.pdf. at p. 3 of 4.
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                of absentee ballots.” Wisconsin Safe Voting Plan 2020,
                at 4 (June 15, 2020).9
                       109. It is alleged in an action recently filed in
                the United States District Court for the Eastern
                District of Wisconsin that over five hundred
                unmanned, illegal, absentee ballot drop boxes were
                used in the Presidential election in Wisconsin.10
                       110. However, the use of any drop box,
                manned or unmanned, is directly prohibited by
                Wisconsin statute. The Wisconsin legislature
                specifically described in the Election Code “Alternate
                absentee ballot site[s]” and detailed the procedure by
                which the governing body of a municipality may
                designate a site or sites for the delivery of absentee
                ballots “other than the office of the municipal clerk or
                board of election commissioners as the location from
                which electors of the municipality may request and
                vote absentee ballots and to which voted absentee
                ballots shall be returned by electors for any election.”
                Wis. Stat. 6.855(1).
                       111. Any alternate absentee ballot site “shall
                be staffed by the municipal clerk or the executive
                director of the board of election commissioners, or
                employees of the clerk or the board of election
                commissioners.” Wis. Stat. 6.855(3). Likewise, Wis.

                9    Wisconsin Safe Voting Plan 2020 Submitted to the Center
                for Tech & Civic Life, June 15, 2020, by the Mayors of Madison,
                Milwaukee, Racine, Kenosha and Green Bay available at:
                https://www.techandciviclife.org/wp-
                content/uploads/2020/07/Approved-Wisconsin-Safe-Voting-Plan-
                2020.pdf.
                10   See Complaint (Doc. No. 1), Donald J. Trump, Candidate for
                President of the United States of America v. The Wisconsin
                Election Commission, Case 2:20-cv-01785-BHL (E.D. Wisc. Dec.
                2, 2020) (Wisconsin Trump Campaign Complaint”) at ¶¶ 188-89.
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                Stat. 7.15(2m) provides, “[i]n a municipality in which
                the governing body has elected to an establish an
                alternate absentee ballot sit under s. 6.855, the
                municipal clerk shall operate such site as though it
                were his or her office for absentee ballot purposes and
                shall ensure that such site is adequately staffed.”
                       112. Thus, the unmanned absentee ballot
                drop-off sites are prohibited by the Wisconsin
                Legislature as they do not comply with Wisconsin law
                expressly defining “[a]lternate absentee ballot site[s]”.
                Wis. Stat. 6.855(1), (3).
                       113. In addition, the use of drop boxes for the
                collection    of     absentee      ballots,  positioned
                predominantly in Wisconsin’s largest cities, is directly
                contrary to Wisconsin law providing that absentee
                ballots may only be “mailed by the elector, or delivered
                in person to the municipal clerk issuing the ballot or
                ballots.” Wis. Stat. § 6.87(4)(b)1 (emphasis added).
                       114. The fact that other methods of delivering
                absentee ballots, such as through unmanned drop
                boxes, are not permitted is underscored by Wis. Stat.
                § 6.87(6) which mandates that, “[a]ny ballot not
                mailed or delivered as provided in this subsection may
                not be counted.” Likewise, Wis. Stat. § 6.84(2)
                underscores this point, providing that Wis. Stat. §
                6.87(6) “shall be construed as mandatory.” The
                provision continues—“Ballots cast in contravention of
                the procedures specified in those provisions may not
                be counted. Ballots counted in contravention of the
                procedures specified in those provisions may not be
                included in the certified result of any election.” Wis.
                Stat. § 6.84(2) (emphasis added).
                       115. These were not the only Wisconsin
                election laws that the WEC violated in the 2020
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                general election. The WEC and local election officials
                also took it upon themselves to encourage voters to
                unlawfully      declare    themselves     “indefinitely
                confined”—which under Wisconsin law allows the
                voter to avoid security measures like signature
                verification and photo ID requirements.
                       116. Specifically, registering to vote by
                absentee ballot requires photo identification, except
                for those who register as “indefinitely confined” or
                “hospitalized.” WISC. STAT. § 6.86(2)(a), (3)(a).
                Registering for indefinite confinement requires
                certifying confinement “because of age, physical
                illness or infirmity or [because the voter] is disabled
                for an indefinite period.” Id. § 6.86(2)(a). Should
                indefinite confinement cease, the voter must notify
                the county clerk, id., who must remove the voter from
                indefinite-confinement status. Id. § 6.86(2)(b).
                       117. Wisconsin election procedures for voting
                absentee based on indefinite confinement enable the
                voter to avoid the photo ID requirement and signature
                requirement. Id. § 6.86(1)(ag)/(3)(a)(2).
                       118. On March 25, 2020, in clear violation of
                Wisconsin law, Dane County Clerk Scott McDonnell
                and Milwaukee County Clerk George Christensen
                both issued guidance indicating that all voters should
                mark themselves as “indefinitely confined” because of
                the COVID-19 pandemic.
                       119. Believing this to be an attempt to
                circumvent Wisconsin’s strict voter ID laws, the
                Republican Party of Wisconsin petitioned the
                Wisconsin Supreme Court to intervene. On March 31,
                2020, the Wisconsin Supreme Court unanimously
                confirmed that the clerks’ “advice was legally
                incorrect” and potentially dangerous because “voters
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                may be misled to exercise their right to vote in ways
                that are inconsistent with WISC. STAT. § 6.86(2).”
                        120. On May 13, 2020, the Administrator of
                WEC issued a directive to the Wisconsin clerks
                prohibiting removal of voters from the registry for
                indefinite-confinement status if the voter is no longer
                “indefinitely confined.”
                        121. The WEC’s directive violated Wisconsin
                law. Specifically, WISC. STAT. § 6.86(2)(a) specifically
                provides that “any [indefinitely confined] elector [who]
                is no longer indefinitely confined … shall so notify the
                municipal clerk.” WISC. STAT. § 6.86(2)(b) further
                provides that the municipal clerk “shall remove the
                name of any other elector from the list upon request
                of the elector or upon receipt of reliable information
                that an elector no longer qualifies for the service.”
                        122. According to statistics kept by the WEC,
                nearly 216,000 voters said they were indefinitely
                confined in the 2020 election, nearly a fourfold
                increase from nearly 57,000 voters in 2016. In Dane
                and Milwaukee counties, more than 68,000 voters
                said they were indefinitely confined in 2020, a fourfold
                increase from the roughly 17,000 indefinitely confined
                voters in those counties in 2016.
                        123. Under Wisconsin law, voting by absentee
                ballot also requires voters to complete a certification,
                including their address, and have the envelope
                witnessed by an adult who also must sign and indicate
                their address on the envelope. See WISC. STAT. § 6.87.
                The sole remedy to cure an “improperly completed
                certificate or [ballot] with no certificate” is for “the
                clerk [to] return the ballot to the elector[.]” Id. §
                6.87(9). “If a certificate is missing the address of a
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                witness, the ballot may not be counted.” Id. § 6.87(6d)
                (emphasis added).
                        124. However, in a training video issued April
                1, 2020, the Administrator of the City of Milwaukee
                Elections Commission unilaterally declared that a
                “witness address may be written in red and that is
                because we were able to locate the witnesses’ address
                for the voter” to add an address missing from the
                certifications on absentee ballots. The Administrator’s
                instruction violated WISC. STAT. § 6.87(6d). The WEC
                issued similar guidance on October 19, 2020, in
                violation of this statute as well.
                        125. In the Wisconsin Trump Campaign
                Complaint, it is alleged, supported by the sworn
                affidavits of poll watchers, that canvas workers
                carried out this unlawful policy, and acting pursuant
                to this guidance, in Milwaukee used red-ink pens to
                alter the certificates on the absentee envelope and
                then cast and count the absentee ballot. These acts
                violated WISC. STAT. § 6.87(6d) (“If a certificate is
                missing the address of a witness, the ballot may not
                be counted”). See also WISC. STAT. § 6.87(9) (“If a
                municipal clerk receives an absentee ballot with an
                improperly completed certificate or with no certificate,
                the clerk may return the ballot to the elector . . .
                whenever time permits the elector to correct the defect
                and return the ballot within the period authorized.”).
                        126. Wisconsin’s legislature has not ratified
                these changes, and its election laws do not include a
                severability clause.
                        127. In addition, Ethan J. Pease, a box truck
                delivery driver subcontracted to the U.S. Postal
                Service (“USPS”) to deliver truckloads of mail-in
                ballots to the sorting center in Madison, WI, testified
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                that USPS employees were backdating ballots
                received after November 3, 2020. Decl. of Ethan J.
                Pease at ¶¶ 3-13. Further, Pease testified how a
                senior USPS employee told him on November 4, 2020
                that    “[a]n    order     came      down     from     the
                Wisconsin/Illinois Chapter of the Postal Service that
                100,000 ballots were missing” and how the USPS
                dispatched employees to “find[] . . . the ballots.” Id. ¶¶
                8-10. One hundred thousand ballots supposedly
                “found” after election day would far exceed former
                Vice President Biden margin of 20,565 votes over
                President Trump.
                          COUNT I: ELECTORS CLAUSE
                       128. Plaintiff State repeats and re-alleges the
                allegations above, as if fully set forth herein.
                       129. The Electors Clause of Article II, Section
                1, Clause 2, of the Constitution makes clear that only
                the legislatures of the States are permitted to
                determine the rules for appointing presidential
                electors. The pertinent rules here are the state
                election statutes, specifically those relevant to the
                presidential election.
                       130. Non-legislative actors lack authority to
                amend or nullify election statutes. Bush II, 531 U.S.
                at 104 (quoted supra).
                       131. Under Heckler v. Chaney, 470 U.S. 821,
                833 n.4 (1985), conscious and express executive
                policies—even if unwritten—to nullify statutes or to
                abdicate statutory responsibilities are reviewable to
                the same extent as if the policies had been written or
                adopted. Thus, conscious and express actions by State
                or local election officials to nullify or ignore
                requirements of election statutes violate the Electors
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                Clause to the same extent as formal modifications by
                judicial officers or State executive officers.
                        132. The actions set out in Paragraphs 41-128
                constitute non-legislative changes to State election
                law by executive-branch State election officials, or by
                judicial officials, in Defendant States Pennsylvania,
                Georgia, Michigan, and Wisconsin, in violation of the
                Electors Clause.
                        133. Electors appointed to Electoral College
                in violation of the Electors Clause cannot cast
                constitutionally valid votes for the office of President.
                         COUNT II: EQUAL PROTECTION
                        134. Plaintiff State repeats and re-alleges the
                allegations above, as if fully set forth herein.
                        135. The Equal Protection Clause prohibits
                the use of differential standards in the treatment and
                tabulation of ballots within a State. Bush II, 531 U.S.
                at 107.
                        136. The one-person, one-vote principle
                requires counting valid votes and not counting invalid
                votes. Reynolds, 377 U.S. at 554-55; Bush II, 531 U.S.
                at 103 (“the votes eligible for inclusion in the
                certification are the votes meeting the properly
                established legal requirements”).
                        137. The actions set out in Paragraphs 66-73
                (Georgia), 80-93 (Michigan), 44-55 (Pennsylvania),
                and 106-24 (Wisconsin) created differential voting
                standards in Defendant States Pennsylvania,
                Georgia, Michigan, and Wisconsin in violation of the
                Equal Protection Clause.
                        138. The actions set out in Paragraphs 66-73
                (Georgia), 80-93 (Michigan), 44-55 (Pennsylvania),
                and 106-24 (Wisconsin) violated the one-person, one-
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                vote principle in Defendant States Pennsylvania,
                Georgia, Michigan, and Wisconsin.
                        139. By the shared enterprise of the entire
                nation electing the President and Vice President,
                equal protection violations in one State can and do
                adversely affect and diminish the weight of votes cast
                in States that lawfully abide by the election structure
                set forth in the Constitution. Plaintiff State is
                therefore harmed by this unconstitutional conduct in
                violation of the Equal Protection or Due Process
                Clauses.
                             COUNT III: DUE PROCESS
                        140. Plaintiff State repeats and re-alleges the
                allegations above, as if fully set forth herein.
                        141. When election practices reach “the point
                of patent and fundamental unfairness,” the integrity
                of the election itself violates substantive due process.
                Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir. 1978);
                Duncan v. Poythress, 657 F.2d 691, 702 (5th Cir.
                1981); Florida State Conference of N.A.A.C.P. v.
                Browning, 522 F.3d 1153, 1183-84 (11th Cir. 2008);
                Roe v. State of Ala. By & Through Evans, 43 F.3d 574,
                580-82 (11th Cir. 1995); Roe v. State of Ala., 68 F.3d
                404, 407 (11th Cir. 1995); Marks v. Stinson, 19 F. 3d
                873, 878 (3rd Cir. 1994).
                        142. Under this Court’s precedents on proced-
                ural due process, not only intentional failure to follow
                election law as enacted by a State’s legislature but
                also random and unauthorized acts by state election
                officials and their designees in local government can
                violate the Due Process Clause. Parratt v. Taylor, 451
                U.S. 527, 537-41 (1981), overruled in part on other
                grounds by Daniels v. Williams, 474 U.S. 327, 330-31
                (1986); Hudson v. Palmer, 468 U.S. 517, 532 (1984).
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                The difference between intentional acts and random
                and unauthorized acts is the degree of pre-deprivation
                review.
                        143. Defendant           States           acted
                unconstitutionally to lower their election standards—
                including to allow invalid ballots to be counted and
                valid ballots to not be counted—with the express
                intent to favor their candidate for President and to
                alter the outcome of the 2020 election. In many
                instances these actions occurred in areas having a
                history of election fraud.
                        144. The actions set out in Paragraphs 66-73
                (Georgia), 80-93 (Michigan), 44-55 (Pennsylvania),
                and 106-24 (Wisconsin) constitute intentional
                violations of State election law by State election
                officials and their designees in Defendant States
                Pennsylvania, Georgia, Michigan, and Wisconsin, in
                violation of the Due Process Clause.
                               PRAYER FOR RELIEF
                     WHEREFORE, Plaintiff States respectfully
                request that this Court issue the following relief:
                        A.    Declare      that   Defendant      States
                Pennsylvania, Georgia, Michigan, and Wisconsin
                administered the 2020 presidential election in
                violation of the Electors Clause and the Fourteenth
                Amendment of the U.S. Constitution.
                        B.    Declare that any electoral college votes
                cast by such presidential electors appointed in
                Defendant States Pennsylvania, Georgia, Michigan,
                and Wisconsin are in violation of the Electors Clause
                and the Fourteenth Amendment of the U.S.
                Constitution and cannot be counted.
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                                           40
                       C.     Enjoin Defendant States’ use of the 2020
                election results for the Office of President to appoint
                presidential electors to the Electoral College.
                       D.     Enjoin Defendant States’ use of the 2020
                election results for the Office of President to appoint
                presidential electors to the Electoral College and
                authorize, pursuant to the Court’s remedial authority,
                the Defendant States to conduct a special election to
                appoint presidential electors.
                       E.     If any of Defendant States have already
                appointed presidential electors to the Electoral
                College using the 2020 election results, direct such
                States’ legislatures, pursuant to 3 U.S.C. § 2 and U.S.
                CONST. art. II, § 1, cl. 2, to appoint a new set of
                presidential electors in a manner that does not violate
                the Electors Clause and the Fourteenth Amendment,
                or to appoint no presidential electors at all.
                       F.     Enjoin the Defendant States from
                certifying presidential electors or otherwise meeting
                for purposes of the electoral college pursuant to 3
                U.S.C. § 5, 3 U.S.C. § 7, or applicable law pending
                further order of this Court.
                       G.     Award costs to Plaintiff State.
                       H.     Grant such other relief as the Court
                deems just and proper.
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                                       41
                December 7, 2020       Respectfully submitted,

                                       Ken Paxton*
                                       Attorney General of Texas

                                       Brent Webster
                                       First Assistant Attorney
                                       General of Texas

                                       Lawrence Joseph
                                       Special Counsel to the
                                       Attorney General of Texas

                                       Office of the Attorney General
                                       P.O. Box 12548 (MC 059)
                                       Austin, TX 78711-2548
                                       kenneth.paxton@oag.texas.gov
                                       (512) 936-1414

                                       *     Counsel of Record
Case 2:20-cv-13134-LVP-RSW ECF No. 85-1, PageID.3961 Filed 01/14/21 Page 49 of 92




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                              No. ______, Original


                 In the Supreme Court of the United States

                                STATE OF TEXAS,
                                                           Plaintiff,
                                       v.
                   COMMONWEALTH OF PENNSYLVANIA, STATE OF
                   STATE OF GEORGIA, STATE OF MICHIGAN, AND
                             STATE OF WISCONSIN,
                                                      Defendants.

                BRIEF IN SUPPORT OF MOTION FOR LEAVE
                      TO FILE BILL OF COMPLAINT

                                      Ken Paxton*
                                      Attorney General of Texas

                                      Brent Webster
                                      First Assistant Attorney
                                      General of Texas

                                      Lawrence Joseph
                                      Special Counsel to the
                                      Attorney General of Texas

                                      P.O. Box 12548 (MC 059)
                                      Austin, TX 78711-2548
                                      kenneth.paxton@oag.texas.gov
                                      (512) 936-1414

                                      *Counsel of Record
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                                 No. ______, Original


                 In the Supreme Court of the United States

                                   STATE OF TEXAS,
                                                               Plaintiff,
                                           v.
                   COMMONWEALTH OF PENNSYLVANIA, STATE OF
                   STATE OF GEORGIA, STATE OF MICHIGAN, AND
                             STATE OF WISCONSIN,
                                                            Defendants.

                               BRIEF IN SUPPORT OF
                          MOTION FOR LEAVE TO FILE
                    Pursuant to S.Ct. Rule 17.3 and U.S. CONST. art.
                III, § 2, the State of Texas (“Plaintiff State”)
                respectfully submits this brief in support of its Motion
                for Leave to File a Bill of Complaint against the
                Commonwealth of Pennsylvania and the States of
                Georgia, Michigan, and Wisconsin (collectively,
                “Defendant States”).
                            STATEMENT OF THE CASE
                    Lawful elections are at the heart of our freedoms.
                “No right is more precious in a free country than that
                of having a voice in the election of those who make the
                laws under which, as good citizens, we must live.
                Other rights, even the most basic, are illusory if the
                right to vote is undermined.” Wesberry v. Sanders, 376
                U.S. 1, 10 (1964). Trust in the integrity of that process
Case 2:20-cv-13134-LVP-RSW ECF No. 85-1, PageID.3971 Filed 01/14/21 Page 59 of 92




                                           2
                is the glue that binds our citizenry and the States in
                this Union.
                    Elections face the competing goals of maximizing
                and counting lawful votes but minimizing and
                excluding unlawful ones. Reynolds v. Sims, 377 U.S.
                533, 554-55 (1964); Bush v. Gore, 531 U.S. 98, 103
                (2000) (“the votes eligible for inclusion in the
                certification are the votes meeting the properly
                established legal requirements”) (“Bush II”); compare
                52 U.S.C. § 20501(b)(1)-(2) (2018) with id.
                § 20501(b)(3)-(4). Moreover, “the right of suffrage can
                be denied by a debasement or dilution of the weight of
                a citizen’s vote just as effectively as by wholly
                prohibiting the free exercise of the franchise.”
                Reynolds, 377 U.S. at 555. Reviewing election results
                requires not only counting lawful votes but also
                eliminating unlawful ones.
                     It is an understatement to say that 2020 was not
                a good year. In addition to a divided and partisan
                national mood, the country faced the COVID-19
                pandemic. Certain officials in Defendant States
                presented the pandemic as the justification for
                ignoring state laws regarding absentee and mail-in
                voting. Defendant States flooded their citizenry with
                tens of millions of ballot applications and ballots
                ignoring statutory controls as to how they were
                received, evaluated, and counted. Whether well
                intentioned or not, these unconstitutional and
                unlawful changes had the same uniform effect—they
                made the 2020 election less secure in Defendant
                States. Those changes were made in violation of
                relevant state laws and were made by non-legislative
                entities, without any consent by the state legislatures.
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                                           3
                These unlawful acts thus directly violated the
                Constitution. U.S. CONST. art. I, § 4; id. art. II, § 1, cl.
                2.
                    This case presents a question of law: Did
                Defendant States violate the Electors Clause by
                taking non-legislative actions to change the election
                rules that would govern the appointment of
                presidential electors? Each of these States flagrantly
                violated the statutes enacted by relevant State
                legislatures, thereby violating the Electors Clause of
                Article II, Section 1, Clause 2 of the Constitution. By
                these unlawful acts, Defendant States have not only
                tainted the integrity of their own citizens’ votes, but
                their actions have also debased the votes of citizens in
                the States that remained loyal to the Constitution.
                    Elections for federal office must comport with
                federal constitutional standards, see Bush II, 531 U.S.
                at 103-105, and executive branch government officials
                cannot subvert these constitutional requirements, no
                matter their stated intent. For presidential elections,
                each State must appoint its electors to the electoral
                college in a manner that complies with the
                Constitution, specifically the Electors Clause
                requirement that only state legislatures may set the
                rules governing the appointment of electors and the
                elections upon which such appointment is based.1

                1    Subject to override by Congress, state legislatures have the
                exclusive power to regulate the time, place, and manner for
                electing Members of Congress, see U.S. CONST. art. I, § 4, which
                is distinct from legislatures’ exclusive and plenary authority on
                the appointment of presidential electors. When non-legislative
                actors purport to set state election law for presidential elections,
                they violate both the Elections Clause and the Electors Clause.
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                                               4
                Constitutional Background
                     The right to vote is protected by the by the Equal
                Protection Clause and the Due Process Clause. U.S.
                CONST. amend. XIV, § 1, cl. 3-4. Because “the right to
                vote is personal,” Reynolds, 377 U.S. at 561-62 (alter-
                ations omitted), “[e]very voter in a federal … election,
                whether he votes for a candidate with little chance of
                winning or for one with little chance of losing, has a
                right under the Constitution to have his vote fairly
                counted.” Anderson v. United States, 417 U.S. 211, 227
                (1974); Baker v. Carr, 369 U.S. 186, 208 (1962).
                Invalid or fraudulent votes debase or dilute the weight
                of each validly cast vote. Bush II, 531 U.S. at 105. The
                unequal treatment of votes within a state, and
                unequal standards for processing votes raise equal
                protection concerns. Id. Though Bush II did not
                involve an action between States, the concern that
                illegal votes can cancel out lawful votes does not stop
                at a State’s boundary in the context of a Presidential
                election.
                     The Electors Clause requires that each State
                “shall appoint” its presidential electors “in such
                Manner as the Legislature thereof may direct.” U.S.
                CONST. art. II, § 1, cl. 2 (emphasis added); cf. id. art. I,
                § 4, cl. 1 (similar for time, place, and manner of federal
                legislative elections). “[T]he state legislature’s power
                to select the manner for appointing electors is
                plenary,” Bush II, 531 U.S. at 104 (emphasis added),
                and sufficiently federal for this Court’s review. Bush
                v. Palm Beach Cty. Canvassing Bd., 531 U.S. 70, 76
                (2000) (“Bush I”). This textual feature of our
                Constitution was adopted to ensure the integrity of
                the presidential selection process: “Nothing was more
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                to be desired than that every practicable obstacle
                should be opposed to cabal, intrigue, and corruption.”
                FEDERALIST NO. 68 (Alexander Hamilton). When a
                State conducts a popular election to appoint electors,
                the State must comply with all constitutional
                requirements. Bush II, 531 U.S. at 104. When a State
                fails to conduct a valid election—for any reason—”the
                electors may be appointed on a subsequent day in such
                a manner as the legislature of such State may direct.”
                3 U.S.C. § 2 (emphasis added).
                Non-Legislative Changes Made in Violation of
                the Electors Clause
                     As set forth in the Complaint, executive and
                judicial officials made significant changes to the
                legislatively defined election rules in Defendant
                States. See Compl. at ¶¶ 66-73 (Georgia), 80-93
                (Michigan), 44-55 (Pennsylvania), 106-24 (Wisconsin).
                Taken together, these non-legislative changes did
                away with statutory ballot-security measures for
                absentee and mail-in ballots such as signature
                verification, witness requirements, and statutorily
                authorized secure ballot drop-off locations.
                     Citing the COVID-19 pandemic, Defendant States
                gutted the safeguards for absentee ballots through
                non-legislative actions, despite knowledge that
                absentee ballots are “the largest source of potential
                voter fraud,” BUILDING CONFIDENCE IN U.S.
                ELECTIONS: REPORT OF THE COMMISSION ON FEDERAL
                ELECTION REFORM, at 46 (Sept. 2005) (hereinafter,
                “CARTER-BAKER”), which is magnified when absentee
                balloting is shorn of ballot-integrity measures such as
                signature verification, witness requirements, or
                outer-envelope protections, or when absentee ballots
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                are processed and tabulated without bipartisan
                observation by poll watchers.
                    Without Defendant States’ combined 62 electoral
                votes, President Trump presumably has 232 electoral
                votes, and former Vice President Biden presumably
                has 244. Thus, Defendant States’ presidential electors
                will determine the outcome of the election.
                Alternatively, if Defendant States are unable to
                certify 37 or more presidential electors, neither
                candidate will have a majority in the electoral college,
                in which case the election would devolve to the House
                of Representatives under the Twelfth Amendment.
                    Defendant States experienced serious voting
                irregularities. See Compl. at ¶¶ 75-76 (Georgia), 97-
                101 (Michigan), 55-60 (Pennsylvania), 122-28
                (Wisconsin). At the time of this filing, Plaintiff State
                continues to investigate allegations of not only
                unlawful votes being counted but also fraud. Plaintiff
                State reserves the right to seek leave to amend the
                complaint as those investigations resolve. See S.Ct.
                Rule 17.2; FED. R. CIV. P. 15(a)(1)(A)-(B), (a)(2). But
                even the appearance of fraud in a close election is
                poisonous to democratic principles: “Voters who fear
                their legitimate votes will be outweighed by
                fraudulent ones will feel disenfranchised.” Purcell v.
                Gonzalez, 549 U.S. 1, 4 (2006); Crawford v. Marion
                County Election Bd., 553 U.S. 181, 189 (2008) (States
                have an interest in preventing voter fraud and
                ensuring voter confidence).
                              STANDARD OF REVIEW
                    This Court considers two primary factors when it
                decides whether to grant a State leave to file a bill of
                complaint against another State: (1) “the nature of the
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                interest of the complaining State,” and (2) ”the
                availability of an alternative forum in which the issue
                tendered can be resolved.” Mississippi v. Louisiana,
                506 U.S. 73, 77 (1992) (internal quotations omitted)
                Because original proceedings in this Court follow the
                Federal Rules of Civil Procedure, S.Ct. Rule 17.2, the
                facts for purposes of a motion for leave to file are the
                well-pleaded facts alleged in the complaint.
                Hernandez v. Mesa, 137 S.Ct. 2003, 2005 (2017).
                                       ARGUMENT
                I. THIS COURT HAS JURISDICTION OVER
                     PLAINTIFF STATE’S CLAIMS.
                     In order to grant leave to file, this Court first must
                assure itself of its jurisdiction, Steel Co. v. Citizens for
                a Better Env’t., 523 U.S. 83, 95 (1998); cf. Foman v.
                Davis, 371 U.S. 178, 182 (1962) (courts deny leave to
                file amended pleadings that would be futile). That
                standard is met here. Plaintiff State’s fundamental
                rights and interests are at stake. This Court is the
                only venue that can protect Plaintiff State’s electoral
                college votes from being cancelled by the unlawful and
                constitutionally tainted votes cast by electors
                appointed and certified by Defendant States.
                     A. The claims fall within this Court’s
                         constitutional and statutory subject-
                         matter jurisdiction.
                     The federal judicial power extends to
                “Controversies between two or more States.” U.S.
                CONST. art. III, § 2, and Congress has placed the
                jurisdiction for such suits exclusively with the
                Supreme Court: “The Supreme Court shall have
                original and exclusive jurisdiction of all controversies
                between two or more States.” 28 U.S.C. § 1251(a)
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                (emphasis added). This Court not only is a permissible
                court for hearing this action; it is the only court that
                can hear this action quickly enough to render relief
                sufficient to avoid constitutionally tainted votes in the
                electoral college and to place the appointment of
                Defendant States’ electors before their legislatures
                pursuant to 3 U.S.C. § 2 in time for a vote in the House
                of Representatives on January 6, 2021. See 3 U.S.C. §
                15. With that relief in place, the House can resolve the
                election on January 6, 2021, in time for the president
                to be selected by the constitutionally set date of
                January 20. U.S. CONST. amend. XX, § 1.
                    B. The claims arise under the Constitution.
                    When States violate their own election laws, they
                may argue that these violations are insufficiently
                federal to allow review in this Court. Cf. Foster v.
                Chatman, 136 S.Ct. 1737, 1745-46 (2016) (this Court
                lacks jurisdiction to review state-court decisions that
                “rest[] on an adequate and independent state law
                ground”). That attempted evasion would fail for two
                reasons.
                    First, in the election context, a state-court remedy
                or a state executive’s administrative action purporting
                to alter state election statutes implicates the Electors
                Clause. See Bush II, 531 U.S. at 105. Even a plausible
                federal-law defense to state action arises under
                federal law within the meaning of Article III. Mesa v.
                California, 489 U.S. 121, 136 (1989) (holding that “it
                is the raising of a federal question in the officer’s
                removal petition that constitutes the federal law
                under which the action against the federal officer
                arises for Art. III purposes”). Constitutional arising-
                under jurisdiction exceeds statutory federal-question
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                jurisdiction of federal district courts,2 and—indeed—
                we did not even have federal-question jurisdiction
                until 1875. Merrell Dow Pharm., 478 U.S. at 807.
                Plaintiff States’ Electoral Clause claims arise under
                the Constitution and so are federal, even if the only
                claim is that Defendant States violated their own
                state election statutes. Moreover, as is explained
                below, Defendant States’ actions injure the interests
                of Plaintiff State in the appointment of electors to the
                electoral college in a manner that is inconsistent with
                the Constitution.
                     Given this federal-law basis against these state
                actions, the state actions are not “independent” of the
                federal constitutional requirements that provide this
                Court jurisdiction. Fox Film Corp. v. Muller, 296 U.S.
                207, 210-11 (1935); cf. City of Chicago v. Int’l Coll. of
                Surgeons, 522 U.S. 156, 164 (1997) (noting that “even
                though state law creates a party’s causes of action, its
                case might still ‘arise under’ the laws of the United
                States if a well-pleaded complaint established that its
                right to relief under state law requires resolution of a
                substantial question of federal law” and collecting
                cases) (internal quotations and alterations omitted).
                Plaintiff State’s claims therefore fall within this
                Court’s jurisdiction.
                     Second, state election law is not purely a matter
                of state law because it applies “not only to elections to
                state offices, but also to the election of Presidential

                2    The statute for federal officer removal at issue in Mesa omits
                the well-pleaded complaint rule, id., which is a statutory
                restriction on federal question jurisdiction under 28 U.S.C. §
                1331. See Merrell Dow Pharm., Inc. v. Thompson, 478 U.S. 804,
                808 (1986).
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                electors,” meaning that state law operates, in part, “by
                virtue of a direct grant of authority made under Art.
                II, § 1, cl. 2, of the United States Constitution.” Bush
                I, 531 U.S. at 76. Logically, “any state authority to
                regulate election to [federal] offices could not precede
                their very creation by the Constitution,” meaning that
                any “such power had to be delegated to, rather than
                reserved by, the States.” Cook v. Gralike, 531 U.S.
                510, 522 (2001) (internal quotations omitted). “It is no
                original prerogative of State power to appoint a
                representative, a senator, or President for the Union.”
                J. Story, 1 COMMENTARIES ON THE CONSTITUTION OF
                THE UNITED STATES § 627 (3d ed. 1858). For these
                reasons, any “significant departure from the
                legislative scheme for appointing Presidential electors
                presents a federal constitutional question.” Bush II,
                531 U.S. at 113 (Rehnquist, C.J., concurring).
                     Under these circumstances, this Court has the
                power both to review and to remedy a violation of the
                Constitution. Significantly, parties do not need
                winning hands to establish jurisdiction. Instead,
                jurisdiction exists when “the right of the petitioners to
                recover under their complaint will be sustained if the
                Constitution and laws of the United States are given
                one construction,” even if the right “will be defeated if
                they are given another.” Bell v. Hood, 327 U.S. 678,
                685 (1946). At least as to jurisdiction, a plaintiff need
                survive only the low threshold that “the alleged claim
                under the Constitution or federal statutes [not] … be
                immaterial and made solely for the purpose of
                obtaining jurisdiction or … wholly insubstantial and
                frivolous.” Id. at 682. The bill of complaint meets that
                test.
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                    C. The claims raise a “case or controversy”
                        between the States.
                    Like any other action, an original action must
                meet the Article III criteria for a case or controversy:
                “it must appear that the complaining State has
                suffered a wrong through the action of the other State,
                furnishing ground for judicial redress, or is asserting
                a right against the other State which is susceptible of
                judicial enforcement according to the accepted
                principles of the common law or equity systems of
                jurisprudence.” Maryland v. Louisiana, 451 U.S. 725,
                735-36 (1981) (internal quotations omitted). Plaintiff
                State has standing under those rules.3
                    With voting, “‘the right of suffrage can be denied
                by a debasement or dilution of the weight of a citizen’s
                vote just as effectively as by wholly prohibiting the
                free exercise of the franchise.’” Bush II, 531 U.S. at
                105 (quoting Reynolds, 377 U.S. at 555). In
                presidential elections, “the impact of the votes cast in
                each State is affected by the votes cast for the various
                candidates in other States.” Anderson v. Celebrezze,
                460 U.S. 780, 795 (1983). Thus, votes in Defendant
                States affect the votes in Plaintiff State, as set forth
                in more detail below.



                3    At its constitutional minimum, standing doctrine measures
                the necessary effect on plaintiffs under a tripartite test:
                cognizable injury to the plaintiffs, causation by the challenged
                conduct, and redressable by a court. Lujan v. Defenders of
                Wildlife, 504 U.S. 555, 561-62 (1992). The rules for standing in
                state-versus-state actions is the same as the rules in other
                actions under Article III. See Maryland v. Louisiana, 451 U.S.
                725, 736 (1981).
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                         1. Plaintiff State suffers an injury in
                             fact.
                    The citizens of Plaintiff State have the right to
                demand that all other States abide by the
                constitutionally set rules in appointing presidential
                electors to the electoral college. “No right is more
                precious in a free country than that of having a voice
                in the election of those who make the laws under
                which, as good citizens, we must live. Other rights,
                even the most basic, are illusory if the right to vote is
                undermined.” Wesberry, 376 U.S. at 10; Yick Wo v.
                Hopkins, 118 U.S. 356, 370 (1886) (“the political
                franchise of voting” is “a fundamental political right,
                because preservative of all rights”). “Every voter in a
                federal … election, whether he votes for a candidate
                with little chance of winning or for one with little
                chance of losing, has a right under the Constitution to
                have his vote fairly counted.” Anderson v. United
                States, 417 U.S. at 227; Baker, 369 U.S. at 208. Put
                differently, “a citizen has a constitutionally protected
                right to participate in elections on an equal basis with
                other citizens in the jurisdiction,” Dunn v. Blumstein,
                405 U.S. 330, 336 (1972), and—unlike the residency
                durations required in Dunn—the “jurisdiction” here is
                the entire United States. In short, the rights at issue
                are congeable under Article III.
                    Significantly, Plaintiff State presses its own form
                of voting-rights injury as States. As with the one-
                person, one-vote principle for congressional
                redistricting in Wesberry, the equality of the States
                arises from the structure of the Constitution, not from
                the Equal Protection or Due Process Clauses. See
                Wesberry, 376 U.S. at 7-8; id. n.10 (expressly not
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                reaching claims under Fourteenth Amendment).
                Whereas the House represents the People
                proportionally, the Senate represents the States. See
                U.S. CONST. art. V, cl. 3 (“no state, without its consent,
                shall be deprived of its equal suffrage in the Senate”).
                While Americans likely care more about who is elected
                President, the States have a distinct interest in who
                is elected Vice President and thus who can cast the tie-
                breaking vote in the Senate. Through that interest,
                States suffer an Article III injury when another State
                violates federal law to affect the outcome of a
                presidential election. This injury is particularly acute
                in 2020, where a Senate majority often will hang on
                the Vice President’s tie-breaking vote because of the
                nearly equal—and, depending on the outcome of
                Georgia run-off elections in January, possibly equal—
                balance between political parties. Quite simply, it is
                vitally important to the States who becomes Vice
                President.
                     Because individual citizens may arguably suffer
                only a generalized grievance from Electors Clause
                violations, States have standing where their citizen
                voters would not, Lance v. Coffman, 549 U.S. 437, 442
                (2007) (distinguishing citizen plaintiffs from citizen
                relators who sued in the name of a state). In
                Massachusetts v. Environmental Protection Agency,
                549 U.S. 497 (2007), this Court held that states
                seeking to protect their sovereign interests are
                “entitled to special solicitude in our standing
                analysis.” Id. at 520. While Massachusetts arose in a
                different context—the same principles of federalism
                apply equally here to require special deference to the
                sovereign states on standing questions.
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                     In addition to standing for their own injuries,
                States can assert parens patriae standing for their
                citizens who are presidential electors.4 Like
                legislators, presidential electors assert “legislative
                injury” whenever allegedly improper actions deny
                them a working majority. Coleman v. Miller, 307 U.S.
                433, 435 (1939). The electoral college is a zero-sum
                game. If Defendant States’ unconstitutionally
                appointed electors vote for a presidential candidate
                opposed by the Plaintiff State’s electors, that operates
                to defeat Plaintiff State’s interests.5 Indeed, even
                without an electoral college majority, presidential
                electors suffer the same voting-debasement injury as
                voters generally: “It must be remembered that ‘the

                4    “The ‘parens patriae’ doctrine … is a recognition of the
                principle that the state, when a party to a suit involving a matter
                of sovereign interest, ‘must be deemed to represent all its
                citizens.’” New Jersey v. New York, 345 U.S. 369, 372-73 (1953)
                (quoting Kentucky v. Indiana, 281 U.S. 163, 173 (1930)).
                5    Because Plaintiff State appointed its electors consistent
                with the Constitution, they suffer injury if its electors are
                defeated by Defendant States’ unconstitutionally appointed
                electors. This injury is all the more acute because Plaintiff State
                has taken steps to prevent fraud. For example, Texas does not
                allow no excuse vote by mail (Texas Election Code Sections
                82.001-82.004); has strict signature verification procedures (Tex.
                Election Code §87.027(j); Early voting ballot boxes have two locks
                and different keys and other strict security measures (Tex.
                Election Code §§85.032(d) & 87.063); requires voter ID (House
                Comm. on Elections, Bill Analysis, Tex. H.B. 148, 83d R.S.
                (2013)); has witness requirements for assisting those in need
                (Tex. Election Code §§ 86.0052 & 86.0105), and does not allow
                ballot harvesting Tex. Election Code 86.006(f)(1-6). Unlike
                Defendant States, Plaintiff State neither weakened nor allowed
                the weakening of its ballot-integrity statutes by non-legislative
                means.
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                right of suffrage can be denied by a debasement or
                dilution of the weight of a citizen’s vote just as
                effectively as by wholly prohibiting the free exercise of
                the franchise.’” Bush II, 531 U.S. at 105 (quoting
                Reynolds v. Sims, 377 U. S. 533, 555 (1964)) (“Bush
                II”). Finally, once Plaintiff State has standing to
                challenge Defendant States’ unlawful actions,
                Plaintiff State may do so on any legal theory that
                undermines those actions. Duke Power Co. v. Carolina
                Envtl. Study Group, Inc., 438 U.S. 59, 78-81 (1978);
                DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 353 &
                n.5 (2006). Injuries to Plaintiff State’s electors serve
                as an Article III basis for a parens patriae action.
                         2. Defendant States caused the
                             injuries.
                     Non-legislative officials in Defendant States
                either directly caused the challenged violations of the
                Electors Clause or, in the case of Georgia, acquiesced
                to them in settling a federal lawsuit. The Defendants
                thus caused the Plaintiff’s injuries.
                         3. The requested relief would redress
                             the injuries.
                     This Court has authority to redress Plaintiff
                State’s injuries, and the requested relief will do so.
                     First, while Defendant States are responsible for
                their elections, this Court has authority to enjoin
                reliance on unconstitutional elections:
                     When the state legislature vests the right to
                     vote for President in its people, the right to
                     vote as the legislature has prescribed is
                     fundamental; and one source of its funda-
                     mental nature lies in the equal weight
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                    accorded to each vote and the equal dignity
                    owed to each voter.
                Bush II, 531 U.S. at 104; City of Boerne v. Flores, 521
                U.S. 507, 524 (1997) (“power to interpret the
                Constitution in a case or controversy remains in the
                Judiciary”). Plaintiff State does not ask this Court to
                decide who won the election; they only ask that the
                Court enjoin the clear violations of the Electors Clause
                of the Constitution.
                    Second, the relief that Plaintiff State requests—
                namely, remand to the State legislatures to allocate
                electors in a manner consistent with the
                Constitution—does not violate Defendant States’
                rights or exceed this Court’s power. The power to
                select electors is a plenary power of the State
                legislatures, and this remains so, without regard to
                state law:
                    This power is conferred upon the legislatures
                    of the States by the Constitution of the United
                    States, and cannot be taken from them or
                    modified by their State constitutions….
                    Whatever provisions may be made by statute,
                    or by the state constitution, to choose electors
                    by the people, there is no doubt of the right of
                    the legislature to resume the power at any
                    time, for it can neither be taken away nor
                    abdicated.
                McPherson v. Blacker, 146 U.S. 1, 35 (1892) (internal
                quotations omitted); accord Bush I, 531 U.S. at 76-77;
                Bush II, 531 U.S at 104.
                    Third, uncertainty of how Defendant States’
                legislatures will allocate their electors is irrelevant to
                the question of redressability:
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                     If a reviewing court agrees that the agency
                     misinterpreted the law, it will set aside the
                     agency’s action and remand the case – even
                     though the agency … might later, in the
                     exercise of its lawful discretion, reach the
                     same result for a different reason.
                FEC v. Akins, 524 U.S. 11, 25 (1998). Defendant
                States’ legislatures would remain free to exercise
                their plenary authority under the Electors Clause in
                any constitutional manner they wish. Under Akins,
                the simple act of reconsideration under lawful means
                is redress enough.
                     Fourth, the requested relief is consistent with
                federal election law: “Whenever any State has held an
                election for the purpose of choosing electors, and has
                failed to make a choice on the day prescribed by law,
                the electors may be appointed on a subsequent day in
                such a manner as the legislature of such State may
                direct.” 3 U.S.C. § 2. Regardless of the statutory
                deadlines for the electoral college to vote, this Court
                could enjoin reliance on the results from the
                constitutionally tainted November 3 election, remand
                the appointment of electors to Defendant States, and
                order Defendant States’ legislatures to certify their
                electors in a manner consistent with the Constitution,
                which could be accomplished well in advance of the
                statutory deadline of January 6 for House to count the
                presidential electors’ votes. 3 U.S.C. § 15.
                     D. This action is not moot and will not
                         become moot.
                     None of the looming election deadlines are
                constitutional, and they all are within this Court’s
                power to enjoin. Indeed, if this Court vacated a State’s
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                appointment of presidential electors, those electors
                could not vote on December 14, 2020; if the Court
                vacated their vote after the fact, the House of
                Representatives could not count those votes on
                January 6, 2021. Moreover, any remedial action can
                be complete well before January 6, 2020. Indeed, even
                the swearing in of the next President on January 20,
                2021, will not moot this case because review could
                outlast even the selection of the next President under
                “the ‘capable of repetition, yet evading review’
                doctrine,” which applies “in the context of election
                cases … when there are ‘as applied’ challenges as well
                as in the more typical case involving only facial
                attacks.” FEC v. Wisconsin Right to Life, Inc., 551 U.S.
                449, 463 (2007) (internal quotations omitted); accord
                Norman v. Reed, 502 U.S. 279, 287-88 (1992).
                Mootness is not, and will not become, an issue here.
                    E. This matter is ripe for review.
                    Plaintiff State’s claims are clearly ripe now, but
                they were not ripe before the election: “A claim is not
                ripe for adjudication if it rests upon contingent future
                events that may not occur as anticipated, or indeed
                may not occur at all.” Texas v. United States, 523 U.S.
                296, 300 (1998) (internal quotations and citations
                omitted). Prior to the election, there was no reason to
                know who would win the vote in any given State.
                    Ripeness also raises the question of laches, which
                Justice Blackmun called “precisely the opposite argu-
                ment” from ripeness. Lujan v. Nat’l Wildlife Fed’n,
                497 U.S. 871, 915 n.16 (1990) (Blackmun, J.,
                dissenting). Laches is an equitable defense against
                unreasonable delay in commencing suit. Petrella v.
                MGM, 572 U.S. 663, 667 (2014). This action was
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                neither unreasonably delayed nor is prejudicial to
                Defendant States.
                     Before the election, Plaintiff States had no ripe
                claim against a Defendant State:
                     “One cannot be guilty of laches until his right
                     ripens into one entitled to protection. For only
                     then can his torpor be deemed inexcusable.”
                What-A-Burger of Va., Inc. v. Whataburger, Inc., 357
                F.3d 441, 449-50 (4th Cir. 2004) (quoting 5 J. Thomas
                McCarthy, MCCARTHY ON TRADEMARKS AND UNFAIR
                COMPETITION § 31: 19 (4th ed. 2003); Gasser Chair Co.
                v. Infanti Chair Mfg. Corp., 60 F.3d 770, 777 (Fed. Cir.
                1995) (same); Profitness Physical Therapy Ctr. v. Pro-
                Fit Orthopedic & Sports Physical Therapy P.C., 314
                F.3d 62, 70 (2d Cir. 2002) (same). Plaintiff State could
                not have brought this action before the election
                results. The extent of the county-level deviations from
                election statutes in Defendant States became evident
                well after the election. Neither ripeness nor laches
                presents a timing problem here.
                     F. This action does not raise a non-
                         justiciable political question.
                     The “political questions doctrine” does not apply
                here. Under that doctrine, federal courts will decline
                to review issues that the Constitution delegates to one
                of the other branches—the “political branches”—of
                government. While picking electors involves political
                rights, the Supreme Court has ruled in a line of cases
                beginning with Baker that constitutional claims
                related to voting (other than claims brought under the
                Guaranty Clause) are justiciable in the federal courts.
                As the Court held in Baker, litigation over political
                rights is not the same as a political question:
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                     We hold that this challenge to an
                     apportionment presents no nonjusticiable
                     “political question.” The mere fact that the
                     suit seeks protection of a political right does
                     not mean it presents a political question. Such
                     an objection “is little more than a play upon
                     words.”
                Baker, 369 U.S. at 209. This is no political question; it
                is a constitutional one that this Court should answer.
                     G. No adequate alternate remedy or forum
                         exists.
                     In determining whether to hear a case under this
                Court’s original jurisdiction, the Court has considered
                whether a plaintiff State “has another adequate forum
                in which to settle [its] claim.” United States v. Nevada,
                412 U.S. 534, 538 (1973). This equitable limit does not
                apply here because Plaintiff State cannot sue
                Defendant States in any other forum.
                     To the extent that Defendant States wish to avail
                themselves of 3 U.S.C. § 5’s safe harbor, Bush I, 531
                U.S. at 77-78, this action will not meaningfully stand
                in their way:
                     The State, of course, after granting the
                     franchise in the special context of Article II,
                     can take back the power to appoint electors. …
                     There is no doubt of the right of the legislature
                     to resume the power at any time, for it can
                     neither be taken away nor abdicated[.]
                Bush II, 531 U.S. at 104 (citations and internal
                quotations omitted).6 Defendant States’ legislature

                6   Indeed, the Constitution also includes another backstop: “if
                no person have such majority [of electoral votes], then from the
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                will remain free under the Constitution to appoint
                electors or vote in any constitutional manner they
                wish. The only thing that they cannot do—and should
                not wish to do—is to rely on an allocation conducted
                in violation of the Constitution to determine the
                appointment of presidential electors.
                    Moreover, if this Court agrees with Plaintiff State
                that Defendant States’ appointment of presidential
                electors under the recently conducted elections would
                be unconstitutional, then the statutorily created safe
                harbor cannot be used as a justification for a violation
                of the Constitution. The safe-harbor framework
                created by statute would have to yield in order to
                ensure that the Constitution was not violated.
                    It is of no moment that Defendants’ state laws may
                purport to tether state legislatures to popular votes.
                Those state limits on a state legislature’s exercising
                federal constitutional functions cannot block action
                because the federal Constitution “transcends any
                limitations sought to be imposed by the people of a
                State” under this Court’s precedents. Leser v. Garnett,
                258 U.S. 130, 137 (1922); see also Bush I, 531 U.S. at
                77; United States Term Limits v. Thornton, 514 U.S.
                779, 805 (1995) (“the power to regulate the incidents
                of the federal system is not a reserved power of the
                States, but rather is delegated by the Constitution”).
                As this Court recognized in McPherson v. Blacker, the
                authority to choose presidential electors:



                persons having the highest numbers not exceeding three on the
                list of those voted for as President, the House of Representatives
                shall choose immediately, by ballot.” U.S. CONST. amend. XII.
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                    is conferred upon the legislatures of the states
                    by the Constitution of the United States, and
                    cannot be taken from them or modified by
                    their state constitutions. ... Whatever
                    provisions may be made by statute, or by the
                    state constitution, to choose electors by the
                    people, there is no doubt of the right of the
                    legislature to resume the power at any time, for
                    it can neither be taken away or abdicated.
                146 U.S. 1, 35 (1892) (emphasis added) (internal
                quotations omitted). Defendant States would suffer no
                cognizable injury from this Court’s enjoining their
                reliance on an unconstitutional vote.
                II. THIS CASE PRESENTS CONSTITUTIONAL
                    QUESTIONS OF IMMENSE NATIONAL
                    CONSEQUENCE THAT WARRANT THIS
                    COURT’S DISCRETIONARY REVIEW.
                    Electoral integrity ensures the legitimacy of not
                just our governmental institutions, but the Republic
                itself. See Wesberry, 376 U.S. at 10. “Voters who fear
                their legitimate votes will be outweighed by
                fraudulent ones will feel disenfranchised.” Purcell,
                549 U.S. at 4. Against that backdrop, few cases could
                warrant this Court’s review more than this one. In
                addition, the constitutionality of the process for
                selecting the President is of extreme national
                importance. If Defendant States are permitted to
                violate the requirements of the Constitution in the
                appointment of their electors, the resulting vote of the
                electoral college not only lacks constitutional
                legitimacy, but the Constitution itself will be forever
                sullied.
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                     Though the Court claims “discretion when
                accepting original cases, even as to actions between
                States where [its] jurisdiction is exclusive,” Wyoming
                v. Oklahoma, 502 U.S. 437, 450 (1992) (internal
                quotations omitted), this is not a case where the Court
                should apply that discretion “sparingly.” Id. While
                Plaintiff State disputes that exercising this Court’s
                original jurisdiction is discretionary, see Section III,
                infra, the clear unlawful abrogation of Defendant
                States’ election laws designed to ensure election
                integrity by a few officials, and examples of material
                irregularities in the 2020 election cumulatively
                warrant this Court’s exercising jurisdiction as this
                Court’s “unsought responsibility to resolve the federal
                and constitutional issues the judicial system has been
                forced to confront.” Bush II, 531 U.S. at 111; see also
                Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803)
                (“It is emphatically the province and duty of the
                judicial department to say what the law is.”). While
                isolated irregularities could be “garden-variety”
                election irregularities that do not raise a federal
                question,7 the closeness of the presidential election
                results, combined with the unconstitutional setting-
                aside of state election laws by non-legislative actors
                call both the result and the process into question.




                7    “To be sure, ‘garden variety election irregularities’ may not
                present facts sufficient to offend the Constitution’s guarantee of
                due process[.]” Hunter v. Hamilton Cty. Bd. of Elections, 635 F.3d
                219, 232 (6th Cir. 2011) (quoting Griffin, 570 F.2d at 1077-79)).
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                     A. The 2020 election suffered from serious
                         irregularities that constitutionally
                         prohibit using the reported results.
                     Defendant States’ administration of the 2020
                election violated several constitutional requirements
                and, thus, violated the rights that Plaintiff State
                seeks to protect. “When the state legislature vests the
                right to vote for President in its people, the right to
                vote as the legislature has prescribed is fundamental;
                and one source of its fundamental nature lies in the
                equal weight accorded to each vote and the equal
                dignity owed to each voter.” Bush II, 531 U.S. at 104.8
                Even a State legislature vested with authority to
                regulate election procedures lacks authority to
                “abridg[e …] fundamental rights, such as the right to
                vote.” Tashjian v. Republican Party, 479 U.S. 208, 217
                (1986). As demonstrated in this section, Defendant
                States’ administration of the 2020 election violated
                the Electors Clause, which renders invalid any
                appointment of electors based upon those election
                results, unless the relevant State legislatures review
                and modify or expressly ratify those results as
                sufficient to determine the appointment of electors.
                For example, even without fraud or nefarious intent,
                a mail-in vote not subjected to the State legislature’s
                ballot-integrity measures cannot be counted.
                     It does not matter that a judicial or executive
                officer sought to bypass that screening in response to
                the COVID pandemic: the choice was not theirs to


                8   The right to vote is “a fundamental political right, because
                preservative of all rights.” Reynolds, 377 U.S. at 561-62 (internal
                quotations omitted).
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                make. “Government is not free to disregard the [the
                Constitution] in times of crisis.” Roman Catholic
                Diocese of Brooklyn, New York v. Cuomo, 592 U.S. ___
                (Nov. 25, 2020) (Gorsuch, J., concurring). With all
                unlawful votes discounted, the election result is an
                open question that this Court must address. Under 3
                U.S.C. § 2, the State legislatures may answer the
                question, but the question must be asked here.
                        1. Defendant States violated the
                             Electors Clause by modifying their
                             legislatures’ election laws through
                             non-legislative action.
                     The Electors Clause grants authority to state
                legislatures under both horizontal and vertical
                separation of powers. It provides authority to each
                State—not to federal actors—the authority to dictate
                the manner of selecting presidential electors. And
                within each State, it explicitly allocates that authority
                to a single branch of State government: to the
                “Legislature thereof.” U.S. CONST. art. II, § 1, cl. 2.
                State legislatures’ primacy vis-à-vis non-legislative
                actors—whether State or federal—is even more
                significant than congressional primacy vis-à-vis State
                legislatures.
                     The State legislatures’ authority is plenary. Bush
                II, 531 U.S. at 104. It “cannot be taken from them or
                modified” even through “their state constitutions.”
                McPherson, 146 U.S. at 35; Bush I, 531 U.S at 76-77;
                Bush II, 531 U.S at 104. The Framers allocated
                election authority to State legislatures as the branch
                closest—and most accountable—to the People. See,
                e.g., Robert G. Natelson, The Original Scope of the
                Congressional Power to Regulate Elections, 13 U. PA.
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                J. CONST. L. 1, 31 (2010) (collecting Founding-era
                documents); cf. THE FEDERALIST NO. 57, at 350 (C.
                Rossiter, ed. 2003) (J. Madison) (“House of
                Representatives is so constituted as to support in its
                members a habitual recollection of their dependence
                on the people”). Thus, only the State legislatures are
                permitted to create or modify the respective State’s
                rules for the appointment of presidential electors. U.S.
                CONST. art. II, § 1, cl. 2.
                     “[T]here must be a substantial regulation of
                elections if they are to be fair and honest and if some
                sort of order, rather than chaos, is to accompany the
                democratic processes.” Burdick v. Takushi, 504 U.S.
                428, 433 (1992) (interior quotations omitted). Thus,
                for example, deadlines are necessary, even if some
                votes sent via absentee ballot do not arrive timely.
                Rosario v. Rockefeller, 410 U.S. 752, 758 (1973). Even
                more importantly in this pandemic year with
                expanded mail-in voting, ballot-integrity measures—
                e.g., witness requirements, signature verification, and
                the like—are an essential component of any
                legislative expansion of mail-in voting. See CARTER-
                BAKER, at 46 (absentee ballots are “the largest source
                of potential voter fraud”). Though it may be tempting
                to permit a breakdown of the constitutional order in
                the face of a global pandemic, the rule of law demands
                otherwise.
                     Specifically, because the Electors Clause makes
                clear that state legislative authority is exclusive, non-
                legislative actors lack authority to amend statutes.
                Republican Party of Pa. v. Boockvar, No. 20-542, 2020
                U.S. LEXIS 5188, at *4 (Oct. 28, 2020) (“there is a
                strong likelihood that the State Supreme Court
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                decision violates the Federal Constitution”) (Alito, J.,
                concurring); Wisconsin State Legis., No. 20A66, 2020
                U.S. LEXIS 5187, at *11-14 (Oct. 26, 2020)
                (Kavanaugh, J., concurring in denial of application to
                vacate stay); cf. Grayned v. City of Rockford, 408 U.S.
                104, 110 (1972) (“it is not within our power to construe
                and narrow state laws”); Free Enter. Fund v. Pub. Co.
                Accounting Oversight Bd., 561 U.S. 477, 509-10 (2010)
                (“editorial freedom … [to “blue-pencil” statutes]
                belongs to the Legislature, not the Judiciary”). That
                said, courts can enjoin elections or even enforcement
                of unconstitutional election laws, but they cannot
                rewrite the law in federal presidential elections.
                     For example, if a state court enjoins or modifies
                ballot-integrity measures adopted to allow absentee
                or mail-in voting, that invalidates ballots cast under
                the relaxed standard unless the legislature has—prior
                to the election—ratified the new procedure. Without
                pre-election legislative ratification, results based on
                the treatment and tabulation of votes done in
                violation of state law cannot be used to appoint
                presidential electors.
                     Elections must be lawful contests, but they should
                not be mere litigation contests where the side with the
                most lawyers wins. As with the explosion of nation-
                wide injunctions, the explosion of challenges to State
                election law for partisan advantage in the lead-up to
                the 2020 election “is not normal.” Dep’t of Homeland
                Sec. v. New York, 140 S. Ct. 599, 600 (2020) (Gorsuch,
                J., concurring in the grant of stay). Nor is it healthy.
                Under the “Purcell principle,” federal courts generally
                avoid enjoining state election laws in the period close
                to an election. Purcell, 549 U.S. at 4-5 (citing “voter
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                confusion and consequent incentive to remain away
                from the polls”). Purcell raises valid concerns about
                confusion in the run-up to elections, but judicial
                election-related injunctions also raise post-election
                concerns. For example, if a state court enjoins ballot-
                integrity measures adopted to secure absentee or
                mail-in voting, that invalidates ballots cast under the
                relaxed standard unless the State legislature has had
                time to ratify the new procedure. Without either pre-
                election legislative ratification or a severability clause
                in the legislation that created the rules for absentee
                voting by mail, the state court’s actions operate to
                violate the Electors Clause.
                         2. State and local administrator’s
                             systemic failure to follow State
                             election qualifies as an unlawful
                             amendment of State law.
                    When non-legislative state and local executive
                actors engage in systemic or intentional failure to
                comply with their State’s duly enacted election laws,
                they adopt by executive fiat a de facto equivalent of an
                impermissible amendment of State election law by an
                executive or judicial officer. See Section II.A.1, supra.
                This Court recognizes an executive’s “consciously and
                expressly adopt[ing] a general policy that is so
                extreme as to amount to an abdication of its statutory
                responsibilities” as another form of reviewable final
                action, even if the policy is not a written policy.
                Heckler v. Chaney, 470 U.S. 821, 833 n.4 (1985)
                (interior quotations omitted); accord id. at 839
                (Brennan, J., concurring). Without a bona fide
                amendment to State election law by the legislature,
                executive officers must follow state law. Cf. Morton v.
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                Ruiz, 415 U.S. 199, 235 (1974); Service v. Dulles, 354
                U.S. 363, 388-89 (1957). The wrinkle here is that the
                non-legislative actors lack the authority under the
                federal Constitution to enact a bona fide amendment,
                regardless of whatever COVID-related emergency
                power they may have.
                     This form of executive nullification of state law by
                statewide, county, or city officers is a variant of
                impermissible amendment by a non-legislative actor.
                See Section II.A.1, supra. Such nullification is always
                unconstitutional, but it is especially egregious when it
                eliminates legislative safeguards for election integrity
                (e.g., signature and witness requirements for absentee
                ballots, poll watchers9). Systemic failure by statewide,
                county, or city election officials to follow State election
                law is no more permissible than formal amendments
                by an executive or judicial actor.
                          3. Defendant States’ administration of
                             the 2020 election violated the
                             Fourteenth Amendment.
                     In each of Defendant States, important rules
                governing the sending, receipt, validity, and counting
                of ballots were modified in a manner that varied from
                county to county. These variations from county to
                county violated the Equal Protection Clause, as this

                9    Poll watchers are “prophylactic measures designed to pre-
                vent election fraud,” Harris v. Conradi, 675 F.2d 1212, 1216 n.10
                (11th Cir. 1982), and “to insure against tampering with the
                voting process.” Baer v. Meyer, 728 F.2d 471, 476 (10th Cir.
                1984). For example, poll monitors reported that 199 Chicago
                voters cast 300 party-line Democratic votes, as well as three
                party-line Republican votes in one election. Barr v. Chatman,
                397 F.2d 515, 515-16 & n.3 (7th Cir. 1968).
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                Court explained at length in Bush II. Each vote must
                be treated equally. “When the state legislature vests
                the right to vote for President in its people, the right
                to vote as the legislature has prescribed is
                fundamental; and one source of its fundamental
                nature lies in the equal weight accorded to each vote
                and the equal dignity owed to each voter.” Bush II, 531
                U.S. at 104. The Equal Protection Clause demands
                uniform “statewide standards for determining what is
                a legal vote.” Id. at 110.
                    Differential intrastate voting standards are
                “hostile to the one man, one vote basis of our
                representative government.” Bush II, 531 U.S. at 107
                (internal quotations omitted). These variations from
                county to county also appear to have operated to affect
                the election result. For example, the obstruction of
                poll-watcher requirements that occurred in
                Michigan’s Wayne County may have contributed to
                the unusually high number of more than 173,000
                votes which are not tied to a registered voter and that
                71 percent of the precincts are out of balance with no
                explanation. Compl. ¶ 97.
                    Regardless of whether the modification of legal
                standards in some counties in Defendant States tilted
                the election outcome in those States, it is clear that
                the standards for determining what is a legal vote
                varied greatly from county to county. That constitutes
                a clear violation of the Equal Protection Clause; and
                it calls into question the constitutionality of any
                Electors appointed by Defendant States based on such
                an unconstitutional election.
                    The Fourteenth Amendment’s due process clause
                protects the fundamental right to vote against “[t]he
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                disenfranchisement of a state electorate.” Duncan v.
                Poythress, 657 F.2d 691, 702 (5th Cir. 1981).
                Weakening or eliminating signature-validating
                requirements, then restricting poll watchers also
                undermines the 2020 election’s integrity—especially
                as practiced in urban centers with histories of
                electoral fraud—also violates substantive due process.
                Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir. 1978)
                (“violation of the due process clause may be indicated”
                if “election process itself reaches the point of patent
                and fundamental unfairness”); see also Florida State
                Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153,
                1183-84 (11th Cir. 2008); Roe v. State of Ala. By &
                Through Evans, 43 F.3d 574, 580-82 (11th Cir. 1995);
                Roe v. State of Ala., 68 F.3d 404, 407 (11th Cir. 1995);
                Marks v. Stinson, 19 F. 3d 873, 878 (3rd Cir. 1994).
                Defendant States made concerted efforts to weaken or
                nullify their legislatures’ ballot-integrity measures for
                the unprecedented deluge of mail-in ballots, citing the
                COVID-19 pandemic as a rationale. But “Government
                is not free to disregard the [the Constitution] in times
                of crisis.” Roman Catholic Diocese of Brooklyn, 592
                U.S. at ___ (Gorsuch, J., concurring).
                     Similarly, failing to follow procedural require-
                ments for amending election standards violates
                procedural due process. Brown v. O’Brien, 469 F.2d
                563, 567 (D.C. Cir.), vacated as moot, 409 U.S. 816
                (1972). Under this Court’s precedents on procedural
                due process, not only intentional failure to follow
                election law as enacted by a State’s legislature but
                also random and unauthorized acts by state election
                officials and their designees in local government can
                violate the Due Process Clause. Parratt v. Taylor, 451
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                U.S. 527, 537-41 (1981), overruled in part on other
                grounds by Daniels v. Williams, 474 U.S. 327, 330-31
                (1986); Hudson v. Palmer, 468 U.S. 517, 532 (1984).
                Here, the violations all were intentional, even if done
                for the reason of addressing the COVID-19 pandemic.
                     While Plaintiff State disputes that exercising this
                Court’s original jurisdiction is discretionary, see
                Section III, infra, the clear unlawful abrogation of
                Defendant States’ election laws designed to ensure
                election integrity by a few officials, and examples of
                material irregularities in the 2020 election
                cumulatively     warrant      exercising    jurisdiction.
                Although isolated irregularities could be “garden-
                variety” election disputes that do not raise a federal
                question,10 the closeness of election results in swing
                states combines with unprecedented expansion in the
                use of fraud-prone mail-in ballots—millions of which
                were also mailed out—and received and counted—
                without verification—often in violation of express
                state laws by non-legislative actors, see Sections
                II.A.1-II.A.2, supra, call both the result and the
                process into question. For an office as important as the
                presidency, these clear violations of the Constitution,
                coupled with a reasonable inference of unconstit-
                utional ballots being cast in numbers that far exceed
                the margin of former Vice President Biden’s vote tally
                over President Trump demands the attention of this
                Court.


                10   “To be sure, ‘garden variety election irregularities’ may not
                present facts sufficient to offend the Constitution’s guarantee of
                due process[.]” Hunter, 635 F.3d at 232 (quoting Griffin, 570 F.2d
                at 1077-79)).
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                    While investigations into allegations of unlawful
                votes being counted and fraud continue, even the
                appearance of fraud in a close election would justify
                exercising the Court’s discretion to grant the motion
                for leave to file. Regardless, Defendant States’
                violations of the Constitution would warrant this
                Court’s review, even if no election fraud had resulted.
                    B. A ruling on the 2020 election would
                         preserve the Constitution and help
                         prevent irregularities in future
                         elections.
                    In addition to ensuring that the 2020 presidential
                election is resolved in a manner consistent with the
                Constitution, this Court must review the violations
                that occurred in Defendant States to enable Congress
                and State legislatures to avoid future chaos and
                constitutional violations. Unless this Court acts to
                review       this    presidential      election,   these
                unconstitutional and unilateral violations of state
                election laws will continue in the future.
                    Regardless of how the 2020 election resolves and
                whatever this Court does with respect to the 2020
                election, it is imperative for our system of government
                that elections follow the clear constitutional mandates
                for all future elections. Just as this Court in Bush II
                provided constitutional guidance to all states
                regarding the equal treatment of ballots from county
                to county in 2000, this Court should now provide a
                clear statement that non-legislative modification of
                rules governing presidential elections violate the
                Electors Clause. Such a ruling will discourage in the
                future the kind of non-legislative election
                modifications that proliferated in 2020.
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                III. REVIEW IS NOT DISCRETIONARY.
                     Although this Court’s original jurisdiction prece-
                dents would justify the Court’s hearing this matter
                under the Court’s discretion, see Section II, supra,
                Plaintiff State respectfully submits that the Court’s
                review is not discretionary. To the contrary, the plain
                text of § 1251(a) provides exclusive jurisdiction, not
                discretionary jurisdiction. See 28 U.S.C. § 1251(a). In
                addition, no other remedy exists for these interstate
                challenges, see Section I.G, supra, and some court
                must have jurisdiction for these weighty issues. See
                Mostyn v. Fabrigas, 98 Eng. Rep. 1021, 1028 (K.B.
                1774) (“if there is no other mode of trial, that alone
                will give the King’s courts a jurisdiction”). As
                individual Justices have concluded, the issue “bears
                reconsideration.” Nebraska v. Colorado, 136 S.Ct.
                1034, 1035 (2016) (Thomas, J., dissenting, joined by
                Alito, J.); accord New Mexico v. Colorado, 137 S.Ct.
                2319 (2017) (Thomas, J., dissenting) (same). Plaintiff
                State respectfully submits that that reconsideration
                would be warranted to the extent that the Court does
                not elect to hear this matter in its discretion.
                IV. THIS CASE WARRANTS SUMMARY
                     DISPOSITION OR EXPEDITED BRIEFING.
                     The issues presented here are neither fact-bound
                nor complex, and their vital importance urgently
                needs a resolution. Plaintiff State will move this Court
                for expedited consideration but also suggest that this
                case is a prime candidate for summary disposition
                because the material facts—namely, that the COVID-
                19 pandemic prompted non-legislative actors to
                unlawfully modify Defendant States’ election laws,
                and carry out an election in violation of basic voter
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                                          35
                integrity statutes—are not in serious dispute.
                California v. United States, 457 U.S. 273, 278 (1982);
                South Carolina v. Katzenbach, 383 U.S. 301, 307
                (1966). This case presents a pure and straightforward
                question of law that requires neither finding
                additional facts nor briefing beyond the threshold
                issues presented here.
                                   CONCLUSION
                    Leave to file the Bill of Complaint should be
                granted.
                December 7, 2020          Respectfully submitted,

                                         Ken Paxton*
                                         Attorney General of Texas

                                         Brent Webster
                                         First Assistant Attorney
                                         General of Texas

                                         Lawrence Joseph
                                         Special Counsel to the
                                         Attorney General of Texas

                                         Office of the Attorney General
                                         P.O. Box 12548 (MC 059)
                                         Austin, TX 78711-2548
                                         kenneth.paxton@oag.texas.gov
                                         (512) 936-1414

                                         *      Counsel of Record
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                                                                                                                1




     A Simple Test for the extent of Vote Fraud with Absentee Ballots in the 2020 Presidential
                              Election: Georgia and Pennsylvania Data


                                           John R. Lott, Jr., Ph.D.*

                                                    Revised
                                                January 6, 2021



                                                   Summary

 This study provides two methods to measure vote fraud in the 2020 presidential election,
 though they provide inconsistent evidence. To try isolating the impact of a county’s vote-
 counting process and the potential fraud, I first compare voting precincts in a county with
 alleged fraud to adjacent similar precincts in neighboring counties with no allegations of fraud.
 In measuring the difference in President Trump’s vote share of the absentee ballots for these
 adjacent precincts, we account for the difference in his vote share of the in-person voting and
 the difference in registered voters’ demographics. I compare data for the 2016 and 2020
 presidential elections. There is some weak but inconsistent evidence of vote fraud for Georgia
 and Pennsylvania. In Pennsylvania, the evidence is strongest for the provisional ballots. Voters
 were allowed to correct defects in absentee ballots using a provisional ballot on Election day –
 implying an additional 6,700 votes for Biden.

 Second, vote fraud can increase voter turnout rate. Increased fraud can take many forms:
 higher rates of filling out absentee ballots for people who hadn’t voted, dead people voting,
 ineligible people voting, or even payments to legally registered people for their votes. However,
 the increase might not be as large as the fraud if votes for opposing candidates are either lost,
 destroyed, or replaced with ballots filled out for the other candidate. The estimates here
 indicate that there were 70,000 to 79,000 “excess” votes in Georgia and Pennsylvania. Adding
 Arizona, Michigan, Nevada, and Wisconsin, the total increases to up to 289,000 excess votes.




 *
  This research purely reflects my own personal views. This research does not represent work done by or for the US
 Department of Justice, and it has not been approved of by the DOJ.




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 Introduction

 Courts have frequently rejected Republican challenges to the 2020 presidential vote because
 they want evidence that a case involves enough fraud to alter the vote’s outcome in a particular
 state. Republicans argue that since their observers couldn’t watch the vote count, they can’t
 provide that evidence and have asked for discovery. Still, while the courts have agreed that
 irregularities have occurred, they weren’t willing to grant discovery unless Republicans first
 present enough evidence of fraud to overturn the election. Republicans thus faced a kind of
 Catch 22.

 This paper’s approach allows us to quantify how large a potential problem vote fraud and other
 abnormalities might be in the 2020 election. The process is applicable to other states where
 precinct-level data is available on voting by absentee and in-person voting.

 Concerns over fraud with absentee ballots is not something limited to Republicans in the United
 States. Indeed, many European countries have voting rules stricter to prevent fraud than what
 we have in the United States.1 For example, 74% entirely ban absentee voting for citizens who
 live in their country. Another 6% allow it, but have very restrictive rules, such as limiting it to
 those in the military or are in a hospital, and they require evidence that those conditions are
 met. Another 15% allow absentee ballots but require that one has to present a photo voter ID
 to acquire it. Thirty-five percent of European countries completely ban absentee ballots for
 even those living outside their country. The pattern is similar for developed countries.

 Many of these countries have learned the hard way about what happens when mail-in ballots
 aren’t secured. They have also discovered how hard it is to detect vote buying when both those
 buying and selling the votes have an incentive to hide the exchange.

 France banned mail-in voting in 1975 because of massive fraud in Corsica, where postal ballots
 were stolen or bought and voters cast multiple votes. Mail-in ballots were used to cast the
 votes of dead people.2

 The United Kingdom, which allows postal voting, has had some notable mail-in ballot fraud
 cases. Prior to recent photo ID requirements, six Labour Party councilors in Birmingham won
 office after what the judge described as a “massive, systematic and organised" postal voting


 1
   John R. Lott, Jr., “Why do most countries ban mail-in ballots?: They have seen massive vote fraud problems,”
 Crime Prevention Research Center, revised October 15, 2020
 (https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3666259).
 2
   Staff, “In Corsica, the tormented history of the vote by correspondence,” World Today News, June 15, 2020
 (https://www.world-today-news.com/in-corsica-the-tormented-history-of-the-vote-by-correspondence/). Jean-
 Louis Briquet, “EXPATRIATE CORSICANS AND THE VOTE AU VILLAGE: MECHANISMS OF CONTROL AND
 EXPRESSIONS OF SENTIMENT (NINETEENTH–TWENTIETH CENTURIES),” Revue française de science politique
 (English Edition) Vol. 66, No. 5 (2016), pp. 43-63; Staff, “Corsicans of France Are Feeling the Sting of Publicity Given
 to Criminals,” New York Times, January 7, 1973 (https://www.nytimes.com/1973/01/07/archives/corsicans-of-
 france-are-feeling-the-sting-of-publicity-given-to.html).




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                                                                                                                 2


 fraud campaign.3 The fraud was apparently carried out with the full knowledge and cooperation
 of the local Labour party. There was "widespread theft" of postal votes (possibly around 40,000
 ballots) in areas with large Muslim populations because Labour members were worried that the
 Iraq war would spur these voters to oppose the incumbent government.

 In 1991, Mexico’s 1991 election mandated voter photo-IDs and banned absentee ballots. The
 then-governing Institutional Revolutionary Party (PRI) had long used fraud and intimidation
 with mail-in ballots to win elections.4 Only in 2006 were absentee ballots again allowed, and
 then only for those living abroad who requested them at least six months in advance.5

 Some European countries allow proxy voting, but that is very strictly regulated to minimize
 fraud. For example, proxy voting requires the verification of photo IDs and signed request
 forms. In Poland, a power of attorney is necessary to have a proxy vote and then can only be
 granted by the municipal mayor. In France, you must go in person to the municipality office
 prior to the elections, provide proof of who you are, provide proof of reason for absence (for
 example, letter from your employer or medical certificate), and then nominate a proxy. Proxy
 voting is not only very limited, but it prevents the problem that absentee ballots are unsecured.
 Proxy voting requires that the proxy vote in-person in a voting booth.

 Unsecured absentee ballots create the potential that either fraudulent ballots will be
 introduced or votes to be destroyed. Some safe guards can at least minimize these problems,
 such as requiring matching signatures, but even this is not the same as requiring government
 issued photo voter IDs. Nor does it prevent votes from being destroyed. In addition, one of the
 controversies in this election was that states such as Georgia, Nevada, Pennsylvania, and
 Wisconsin did not match signatures on the outer envelopes match the voters’ registration
 records.6 Other states, particularly Pennsylvania, were accused of accepting absentee ballots
 that didn’t even have the outer envelope where the voter’s signature would be or were missing
 postmarks.7




 3
   Nick Britten and George Jones, “Judge lambasts postal ballot rules as Labour 6 convicted of poll fraud,” The
 Telegraph (UK), April 2005 (https://www.telegraph.co.uk/news/uknews/1487144/Judge-lambasts-postal-ballot-
 rules-as-Labour-6-convicted-of-poll-fraud.html).
 4
   John R. Lott, Jr., “Evidence of Voter Fraud and the Impact that Regulations to Reduce Fraud Have on Voter
 Participation Rates,” SSRN, August 18, 2006 (https://papers.ssrn.com/sol3/papers.cfm?abstract_id=925611).
 For example, as a result of fraud in their 1988 Presidential election, absentee ballots were not allowed in Mexico
 until 2006 (see Associated Press, “Mexican Senate approves mail-in absentee ballots for Mexicans living abroad,”
 AZcentral.com, April 28, 2005 (http://www.azcentral.com/specials/special03/articles/0428mexicovote-ON.html).
 5
   James C. McKinley, Jr., “Lawmakers in Mexico Approve Absentee Voting for Migrants,” New York Times, June 29,
 2005 (https://www.nytimes.com/2005/06/29/world/americas/lawmakers-in-mexico-approve-absentee-voting-for-
 migrants.html).
 6
   Peter Navarro, “The Immaculate Deception: Six Key Dimensions of Election Irregulaties,” December 15, 2020.
 7
   Ibid.




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                                                                                                                     3


 Vote fraud concerns are important in that they will not only alter election results, but they can
 also discourage voter participation.8

 The following sections provide mixed evidence on the existence of vote fraud. The precinct
 level estimates for Georgia and Pennsylvania provide little or no evidence of vote fraud. I then
 look at all the swing states by county to see if counties with fraud had higher turnout rates, and
 there is evidence there consistent with fraud.

 II. Georgia

 In Georgia’s certified ballot count, former Vice President Joe Biden leads President Trump by
 12,670 votes.9 Biden won Fulton County by a margin of 243,904 votes, and the absentee ballots
 in the county by 86,309 votes.10

 Part of the controversy with Fulton County’s absentee ballots arises from a burst pipe that
 resulted in the removal of poll watchers. According to the Chair of the Georgia Republican
 Party, David J. Shafer, “counting of ballots took place in secret after Republican Party observers
 were dismissed because they were advised that the tabulation center was shutting down for
 the night” (Letter dated November 10, 2020 from Doug Collins and David Shafer to Georgia
 Secretary of State Brad Raffensperger, p. 3).

 If election workers counted absentee ballots when Republican observers were not present, is
 there statistical evidence of bias in the absentee ballot counting? While in-person voting took
 place at the precinct level, absentee vote counting took place at one common facility at the
 county level. If the type of fraud that Mr. Shafer worries about occurred, it would have only
 affected the absentee ballots in Fulton County.

 To examine that, I looked at precinct-level data for Fulton County and the four Republican
 counties that border it and no fraud has been alleged: Carroll, Cherokee, Coweta, and Forsyth.11
 The idea is a simple one: compare Trump’s share of absentee ballots in precincts adjacent to
 each other on opposite sides of a county border. The comparison is made between precincts in
 Fulton and these four other counties as well as between precincts in these four counties where
 they are adjacent each other. Comparing a county were fraud is alleged to ones without alleged
 fraud is simpler than comparing counties where there might be hard-to-specify varying degrees
 of fraud.
 8
   John R. Lott, Jr., “Evidence of Voter Fraud and the Impact that Regulations to Reduce Fraud Have on Voter
 Participation Rates,” Social Science Research Network, 2006
 (https://papers.ssrn.com/sol3/papers.cfm?abstract_id=925611).
 9
   “US election 2020: Biden certified Georgia winner after hand recount,” BBC, November 20, 2020
 (https://www.bbc.com/news/election-us-2020-55006188).
 10
    This was quite different from previous elections. For example, in 2012, while Obama received 64% of the total
 vote in Fulton County, he barely received a majority of the absentee vote, taking 50.89% (data from Clark Bensen
 at Polidata).
 11
    Corrected data was not available for Fayette County, but including this data resulted in no change in the level of
 statistical significance for either Tables 1 or 2.




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                                                                                                                   4



 Precincts adjacent to each other on opposite sides of a county border should be relatively
 similar demographically. There are 384 precincts in Fulton County and 42 precincts in Cherokee
 County in 2020. In one case, Fulton County precinct ML02A matches up with four different
 precincts in Cherokee County (Mountain Road 28, Avery 3, Union Hill 38 and a small portion of
 Freehome 18).12 The goal is to compare the precincts of Fulton county that are most similar to
 precincts nearby counties that had no allegations of fraud, in order to isolate the impact of
 Fulton county’s vote-counting process (including potential fraud).

 The analysis also accounts for the percent of in-person votes that went for Trump, because if
 you have two adjacent precincts and they are similar in terms of their demographics and in-
 person voting, one would expect them to also be roughly similar in terms of their absentee
 ballots. While Democrats were pushing their voters to vote by absentee ballot at both the
 national and state level, there is no reason to expect that rate to differ between two precincts
 that are next to each other and are similar in terms of their in-person voting support and their
 demographics.

 Any difference it Trump’s share of the absentee ballots would not have been caused by the
 general shift to absentee voting among Democrats, because the study controlled for in-person
 voting. In layman’s terms, in precincts with alleged fraud, Trump’s proportion of absentee votes
 would be expected to be depressed – even when such precincts had similar in-person Trump
 vote shares to their surrounding countries. The fact that the shift happens only in absentee
 ballots, and when a country line is crossed, would be suspicious.




 12
    The model is given as:
 A = absentee ballots for Trump
 TA = total absentee ballots for both candidates
 P = in-person votes for Trump
 TP = total in-person votes
 a = A/TA
 p = P/TP
 Yi = (ai0 – ai1)
 where the superscripts 0 and 1 indicate adjacent precincts in neighboring counties
 Xi = (pi0 – pi1)
 D = 1 if one of the adjacent precincts is in Fulton County (in that case Fulton County is superscript 0), D = 0
 otherwise
 Yi = ßXi + 𝛿 D*Xi + 𝑢I, and 𝑢 is the error term.
 Null hypothesis: 𝛿 = 0.
 Precinct pairs in which one is the Fulton County precinct are no different from other pairs.
 Alternative hypothesis: 𝛿 < 0.
 Precinct pairs in which one is the Fulton County precinct undercounts Trump’s absentee ballots.
 The other counties are matched west to east and south to north. For a related discussion see Stephen G. Bronars
 and John R. Lott, Jr., “Criminal Deterrence, Geographic Spillovers, and the Right to Carry Concealed Handguns,”
 American Economic Review, May 1998, pp. 475-479.




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                                                                                                                 5


 Eggers et al. (2021) raises a valid robustness concern with regard to how precinct pairs are
 ordered in the control.13 (The geographical ordering convention in Bronars and Lott 1998 (AER)
 was used.)14 Eggers et al. correctly point out that the ordering is arbitrary here and so should
 not affect the results. It should not matter whether we subtract control precinct A from B or
 subtract B from A. Reversing the order flips the signs for a given data point. But there is a
 solution to their concerns. The results themselves would have been robust and unaffected by
 the intercept term is removed from the regressions.

 What is the problem with an intercept for the control precincts? It implies that two identical
 adjacent precincts have a predictable difference in voting behavior. A linear regression without
 an intercept is robust because it is symmetric around the origin and thus unaffected by and
 data points being reflected about it.

 I did this test using the data from both 2016 and 2020. There were no serious accusations of
 fraud with respect to absentee ballots in 2016, so one should expect the absentee ballot
 percent for Trump in precincts in Fulton county to behave no differently than the adjacent
 precincts in Carroll, Cherokee, Coweta, and Forsyth. In 2016, the average difference between
 the difference in Trump’s share of the absentee ballots and his share of the in-person votes in
 the adjacent precincts was only 0.75 percentage points.

 The results in Table 1 show that in 2016, there was no statistically difference between Trump’s
 share of absentee ballots cast in Fulton and other counties.15 Trump’s share of absentee ballots
 also matched up closely with his share of in-person votes across the precincts, no matter which
 county they lay in.

 Redoing the same test for 2020 again shows a similar pattern (see Table 2).16 Trump’s
 percentage of absentee votes was slightly lower in Fulton county border precincts than in the
 precincts just across the street in neighboring counties, but again it was statistically
 insignificant.

 In the first two tables, if the estimate for the “Difference in Trump’s percent of the two-
 candidate in-person vote” between the two adjacent precincts equals 1, it means that the
 differences in the percent of the in-person vote Trump received in the adjacent precincts would
 perfectly track the difference in the absentee ballots. In the estimate for 2016, the coefficient
 of 0.87 is not statistically different from 1. But for the 2020 data, Trump’s share of in-person

 13
    Andrew Eggers, Haritz Garro, and Justin Grimmer, “Comment on ‘A Simple Test for the extent of Vote Fraud with
 Absentee Ballots in the 2020 Presidential Election: Georgia and Pennsylvania Data,’” Working paper, January 4,
 2021.
 14
    Stephen G. Bronars and John R. Lott, Jr., “Criminal Deterrence, Geographic Spillovers, and the Right to Carry
 Concealed Handguns,” American Economic Review, May 1998, pp. 475-479.
 15
    The source for the 2016 precinct border lines was obtained here: http://rynerohla.com/index.html/election-
 maps/2016-south-atlantic-republican-primaries-by-precinct/
 16
    The average difference between the difference in Trump’s share of the absentee ballots and his share of the in-
 person votes in the adjacent precincts was -6.04 percentage points.




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                                                                                                         6


 votes did not line up as closely with the differences in absentee ballots, as can be seen in the
 reduced coefficient of the control variable for Trump’s share of in-person votes. Indeed, the
 coefficient for 2020 (at .6059) is statistically significantly less than 1 at the 0.0000% level for a
 two-tailed t-test.

 This can also not be explained by the general shift in which Democrats were more likely to vote
 absentee, because the precincts being compared are matched up by location (differing
 primarily in terms of which side of the county line they lie on) and thus expected to be very
 similar.

 This study goes further and controls for demographic variables, to account for any differences
 that might still exist. Georgia collects information on registered voters’ racial and gender
 demographics by precinct. Table 3 accounts for the differences in the adjacent precincts by
 replacing the change in the in-person difference in Trump’s share of the votes with detailed
 demographic information. It provides information on the difference between the precincts in
 the percent of the population that are black males, black females, Hispanic males, Hispanic
 females, Asian males, and Asian females. Table 4 then not only includes those variables but
 then also again the “Difference in Trump’s percent of the two-candidate in-person vote.” Thus,
 this estimate uses three ways to account for differences in Trump’s share of the absentee ballot
 vote: geographic closeness for relatively small areas, differences in Trump’s share of the in-
 person vote, and differences in the demographics registered voters.

 The results provide inconsistent estimates that Trump’s percentage of absentee votes was
 consistently lower in Fulton county border precincts than in the precincts just across the street
 in neighboring counties. The estimates for the Fulton County effect range from 0.3% to 11.5%,
 but only one of those estimates is statistically significant. The variables for the race and gender
 demographics are virtually never statistically significant, though that is not particularly
 surprising given how highly correlated these variables are. That also makes it difficult to
 interpret individual coefficients on the demographic variables. However, they are statistically
 only significant as a group in Tables 3 (a joint F-test for the demographic variables finds an F-
 value of 4.17, respectively, which are both statistically significant at better than the 5 percent
 level).

 This indicates that the demographic values are worth including, and that table 4 is the preferred
 model. But all models agree that Trump’s absentee ballot share was depressed in Fulton County
 precincts.

 Given that there were 145,267 absentee ballots cast for Trump and Biden in Fulton county, the
 unusual drop off in Trump’s share of the absentee ballots for Fulton county ranges from zero to
 11.53 percentage points. This highest estimate equals approximately 16,749 votes, or 32%
 more than Biden’s margin of victory over Trump. There are concerns about vote counting in
 DeKalb county, but there are no Republican counties adjacent to it for me to use in a test.
 However, there were another 128,007 absentee ballots cast for the two major-party candidates
 in DeKalb.




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                                                                                                                          7



 If there were also fraud in terms of the in-person voting in Fulton County that worked to also
 help Biden, the estimates presented here will underestimate the amount of fraud with the
 absentee ballots. For example, in Georgia as well as Nevada, Pennsylvania, and Wisconsin there
 were allegations that large numbers of in-person voters were not legally registered.17 In Fulton
 County, Georgia, 2,423 voters were not listed on the State’s records as being registered and
 2,560 felons who voted had not completed their sentence were registered.18

 Using the average value for these various estimates (7.81%) shows that an unusual drop in
 Trump’s share of the absentee ballots for Fulton County alone of 11,350 votes, or 90% of
 Biden’s vote lead in Georgia.

 While some critics of this research have worried about errors being correlated across precincts
 within a county,19 that isn’t a concern here. The estimates are looking at the difference
 between adjacent precincts across county lines. In addition, the race was a statewide race and
 the push for absentee ballots was a statewide effort. It isn’t clear why two precincts that are
 adjacent to each other and have similar political and demographic makeup should be treated
 differently by Democrats in producing absentee ballots for Biden. Still, I reran the estimates in
 the first four tables using clustering but it tends to make some of the results more statistically
 significant.20

 In a sense, these results are equally consistent with more vote fraud in Republican counties
 rather than in Democratic counties or Democratic counties rather than Republican ones, but
 there have been no allegations of such fraud in Republican counties.

 III. Pennsylvania

 In Pennsylvania’s initial ballot count, former Vice President Joe Biden leads President Trump by
 81,361 votes. Biden won Allegheny and Philadelphia Counties by margins of 146,706 and
 471,305 votes, and the absentee vote margins in the county were 206,505 and 310,553 votes.
 There was also an usually large number of provisional votes in those counties, with Biden
 leading by 1,489 and 9,045, respectively.




 17
    Peter Navarro, “The Immaculate Deception: Six Key Dimensions of Election Irregulaties,” December 15, 2020.
 18
    The Superior Court of Fulton County State Of Georgia, Trump v. Raffensperger, December 4, 2020.
 https://www.democracydocket.com/wp-content/uploads/sites/45/2020/12/Trump-v.-Raffensperger.pdf
 19
    Austan Goolsbee in a Tweet regarding this research wrote: “you don't seem to be clustering the standard errors
 at the county level and instead treating every precinct as though it is independent”
 (https://twitter.com/Austan_Goolsbee/status/1344361588535521280).
 20
    Redoing the estimates by clustering them by county pairing, doesn’t fundamentally alter the results. The
 coefficient for county fraud is still not statistically significant in redoing Table 1, with a significance level of 0.035
 percent. The t-statistic for Table 2 is 0.31 (probability for a two-tailed t-test = 0.79), for Table 3 it is 4.08
 (probability for a two-tailed t-test = 0.055), and for Table 4 it is 0.50 (probability for a two-tailed t-test = 0.664).




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                                                                                                                8


 A number of concerns are raised about possible vote fraud in both counties. Republican poll
 watchers have complained that they were too far away from the ballots to meaningfully
 observe the process.21 The president’s lawyers say that in Pittsburgh and Philadelphia, voters
 with invalid mail-in/absentee ballots received a notification and were allowed to correct that
 defect by using a provisional ballot on Election day, whereas election officials in Republican-
 leaning counties followed election law more strictly and did not give similar notifications to
 voters with invalid mail-in/absentee ballots.22 Complaints also arose from voters being required
 to cast provisional votes because they were identified as having requested a mail-in ballot even
 though the voter claimed that they had not done so.23 That raises concerns that someone else
 other than the registered voter may have voted using that person’s absentee ballot.

 While there are sworn affidavits attending to these problems, an open question has been
 whether the level of problems was significant enough to alter the election outcome.

 To examine that, I used the same approach with precinct-level data that I did for Georgia. I
 collected data from adjacent precincts in Allegheny County and the four Republican counties
 that border it: Beaver, Butler, Washington, and Westmoreland. The comparison is made
 between Allegheny and these four other counties as well as between these four counties where
 they are adjacent each other. However, unlike Georgia, I could only obtain the breakdown of
 absentee and provisional voting for Allegheny County in 2020, so these estimates will look at
 only the relationship in that year. While large scale fraud is alleged in Philadelphia County,
 there are no Republican counties adjacent to it for me to use in a test.

 The precincts in these Pennsylvania counties cover very small, fairly homogenous areas.
 Allegheny County has 1,323 precincts – a different precinct on average every half mile. The
 more rural less populous counties also have a large number of precincts: Westmoreland 307,
 Washington 180, Beaver 128, and Butler 111.24

 The results in Table 5 show that in 2020, Trump’s percentage of absentee votes was lower in
 Allegheny County border precincts than in the precincts just across the street in neighboring
 counties. Trump’s share was just 0.25 percentage points lower on the Allegheny County side,
 and the difference was not statistically significant.



 21
    Shan Li and Corinne Ramey, “What Are Election Observers? Role at Crux of Trump Lawsuits in Pennsylvania,”
 Wall Street Journal, November 10, 2020 (https://www.wsj.com/articles/what-are-election-observers-the-role-at-
 the-crux-of-trump-lawsuits-in-pennsylvania-11605053759). Daniel Payne, “Pennsylvania poll watcher: 'We literally
 had no input and no ability to watch anything',” Just the News, November 9, 2020
 (https://justthenews.com/politics-policy/elections/pennsylvania-poll-watcher-we-literally-had-no-input-and-no-
 ability-watch).
 22
    Rudy Giuliani, “Trump Campaign News Conference on Legal Challenges,” C-SPAN, November 19, 2020
 (https://www.c-span.org/video/?478246-1/trump-campaign-alleges-voter-fraud-states-plans-lawsuits).
 23
    Complaint filed in Trump v Boockvar et al in the United States District Court for the Middle District of
 Pennsylvania (p. 48).
 24
    https://www.butlercountypa.gov/DocumentCenter/View/1982/Precincts-List?bidId=




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                                                                                                                      9


  To the extent that one believes that there is fraud in in-person voting, the estimates here will
  underestimate the amount of fraud in absentee ballots.25

  Because of aforementioned concerns with provisional ballots being offered to solve problems
  with absentee ballots in Allegheny and Philadelphia Counties, I also used the same test to we
  have been using to examine them.

  Table 6 is the same as Table 5, except it applies to provisional, rather than absentee, votes. The
  estimate implies a 3.6 percentage point lower rate for Trump in the adjacent precincts in
  Allegheny County, but the result is not statistically significant. But there is a possible reason for
  this. There are a lot fewer observations as 53 of the 87 observations have no provisional ballots
  for Trump and, since one cannot divide by zero, those observations are not defined.26

  Another way to look at the problem that avoids the loss of these observations is to look at the
  rate that provisional ballots were used in Allegheny versus the Republican counties. In that
  case, there is a very clear difference. 1.5% of the votes in border precincts on the Allegheny side
  involve provisional ballots, which is 3.2 times the 0.48% in the adjacent precincts in the
  surrounding counties, and that difference is statistically significant at more than the 0.1% level
  for a two-tailed t-test.27

  Table 7 looks at the difference in the percent of Biden’s votes from provisional ballots in the
  adjacent precincts after accounting for the same difference for Trump. The share of Biden’s
  votes from provisional ballots is about 0.65 percentage points higher in Allegheny County than
  in the adjacent precincts, that is about 2,800 more votes for Biden. If the same pattern
  occurred in Philadelphia, that would be another 3,925 votes.

  Again, as a control, I tried running this for Georgia. Given that the claim about warning voters to
  correct defects in absentee by using a provisional ballot was not applicable to Georgia, one
  would not expect a statistically significant result for that state. Indeed, those results are positive
  and statistically insignificant with a t-statistic of only 0.27.

  Adding the results together, there are at least 6,700 extra ballots given to Biden. This is only a
  fraction of Biden’s vote margin in the state – about 8.3% of that margin.

  25
     Republicans argue that there is some reason for concern. Pennsylvania has had convictions as recently as this
  year in Philadelphia where a Philadelphia Judge of Elections was charged with election fraud for allegedly stuffing
  ballot boxes on behalf of Democratic candidates in three different races (Katie Meyer, “Philly judge of elections
  pleads guilty to election fraud, accepting bribes,” WHYY NPR, May 21, 2020 (https://whyy.org/articles/philly-judge-
  of-elections-pleads-guilty-to-election-fraud-accepting-bribes/).). The president’s lawyer, Rudy Giuliani, has also
  claimed that people from New Jersey illegally voted in Philadelphia (Rick Sobey, “Rudy Giuliani claims Trump
  campaign has found nationwide Democrat voter fraud conspiracy plot,” Boston Herald, November 19, 2020
  (https://www.bostonherald.com/2020/11/19/rudy-giuliani-trump-campaign-has-found-nationwide-voter-fraud-
  conspiracy-plot/)).
  26
     I also ran this regression using the Georgia data, but there were so few places with provisional ballots there were
  only 12 observations and the Fulton County Effect variable was omitted from the regression.
  27
     The rate is slightly higher for the entire county: 1.98%.




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                                                                                                               10



  Finally, I redid the results from Tables 5, 6, and 7A with data from Polidata on the racial
  demographics of voting age populations in these precincts. While information on gender
  wasn’t available, data from the 2010 Census was available on the difference between the
  precincts in the percent of the voting age population that are black, Hispanic, and Asian. The
  results are similar to what were shown before, though the estimate that corresponds to Table 5
  is now statistically significant at the 10 percent level for a one-tailed t-test and the estimate
  corresponding to Table 7A remains significant.

  Overall, the results for Sections II and III show some weak but inconsistent evidence of vote
  fraud.

  IV. Voter Turnout Rate

  One objection to the preceding results is that even though the results accounted for three types
  of differences between precincts (geography as they are across the street from each other, the
  difference in the in the in-person vote share for Trump to account for other political
  differences, and demographic variables), there still might be some other difference associated
  with county lines that might explain the difference in how absentee ballots were voted in 2020.
  It isn’t obvious what that difference would be since the push for absentee ballots by Democrats
  appears to have been a state and national level effort. If you had two adjacent precincts next
  that are the same in terms of support for Trump and demographics, it isn’t clear why
  Democrats wouldn’t try to get absentee votes from both precincts. Still, even if such a factor
  might exist that is independent of fraudulent activity, providing another qualitatively different
  test might help make that alternative explanation less plausible.

  Vote fraud can increase voter turnout rate. Increased fraud can take many forms: higher rates
  of filling out absentee ballots for people who hadn’t voted, dead people voting, ineligible
  people voting, or even increased payments to encourage legally registered people to vote. The
  increase might not be as large as the fraud if votes for opposing candidates are either lost,
  destroyed, or replaced with ballots filled out for the other candidate. There is no evidence that
  affidavits regarding vote fraud were systematically encouraged based on where Democratic
  voter turnout had increased the most.

  For example, a court case in Georgia Fulton County Superior Court by State Republican
  Chairman David Shafer and President Donald Trump discovered hundreds of thousands of extra
  votes: 40,279 people who had moved counties without re-registering; 4,926 voters who had
  registered in another state after they registered in Georgia; 305,701 people who, according to
  state records, applied for an absentee ballot past the deadline; 66,247 under 17 years of age,
  2,560 felons, 8,718 who were registered after they were dead, and 2,423 who were not on the
  state’s voter rolls.28

  28
    Donald J. Trump and David J. Shafer v Brad Raffensperger et al, Fulton County Superior Court, December 4, 2020
  (https://cdn.donaldjtrump.com/public-files/press_assets/verified-petition-to-contest-georgia-election.pdf).




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  In Nevada, over 42,000 voted more than once.29 Jesse Banal, the lead counsel for the Trump
  Campaign in testimony before the Senate Hearing on Election Security and Administration,
  compiled this list by reviewing voter registration lists and finding the same name, address, and
  birthdate for registered voters. In some cases, two registrants might have the same last name,
  same birthdate, and same address, but one is “William” and the other “Bill.” Over 1,500 dead
  people allegedly voted. Another 19,000 people who voted didn’t live in the state (this doesn’t
  include military voters or students). Over 1,000 listed non-existent addresses.

  Similarly, in Madison and Milwaukee, Wisconsin, 28,395 people allegedly voted without
  identification. Republican lawyers claimed that 200,000 absentee ballots did not have the
  proper signatures to be allowed to be counted.30 Payments to Native Americans to vote were
  supposedly “orchestrated by the Biden campaign . . . [with] Visa gift cards, jewelry, and other
  ‘swag.’”31

  Another reason for a higher turnout could be because of a much lower absentee rejection rate.
  Ballotpedia notes that in the 2016 general election 6.42% of Georgia’s absentee ballots were
  rejected, but that rate was only 0.60% in 2020 – that is a difference of about 76,971 votes.32
  Other swing states also saw a drop, though they were much smaller than Georgia’s.
  Pennsylvania’s went from 0.95% in 2016 to 0.28% in 2020 – a difference of 17,361 votes.33,34

  29
     Senate Hearing on Election Security and Administration, December 16, 2020 (https://www.c-
  span.org/video/?507292-1/senate-hearing-election-security-administration).
  30
     Senate Hearing on Election Security and Administration, December 16, 2020 (https://www.c-
  span.org/video/?507292-1/senate-hearing-election-security-administration).
  31
     Peter Navarro, “The Immaculate Deception: Six Key Dimensions of Election Irregulaties,” December 15, 2020.
  Paul Bedard, “Pro-Biden effort offered Native Americans $25-$500 Visa gift cards and jewelry to vote,” Washington
  Examiner, December 3, 2020 (https://www.washingtonexaminer.com/washington-secrets/pro-biden-effort-
  offered-native-americans-25-500-visa-gift-cards-jewelry-to-vote).
  32
     “Election results, 2020: Analysis of rejected ballots,” Ballotpedia, December 23, 2020
  (https://ballotpedia.org/Election_results,_2020:_Analysis_of_rejected_ballots). The number of absentee ballots
  cast (1,322,529) is from the Georgia Secretary of State’s website
  (https://sos.ga.gov/index.php/elections/number_of_absentee_ballots_rejected_for_signature_issues_in_the_202
  0_election_increased_350_from_2018).
  33
     The number of absentee ballots cast in Pennsylvania for Biden and Trump were obtained from Pennsylvania’s
  Secretary of State
  (https://www.electionreturns.pa.gov/General/SummaryResults?ElectionID=83&ElectionType=G&IsActive=1).
  34
     While it isn’t necessary for the results shown here, a higher turnout rate could also show up from the
  manufacturing of false ballots. A possible example occurred in Atlanta, where, as noted, election officials ordered
  ballot-counting stopped because of a water leak. (Frank Chung, “Slow leak’: Text messages cast doubt on Georgia
  officials’ ‘burst pipe’ excuse for pause in counting,” News.com, November 12, 2020
  (https://www.news.com.au/world/north-america/us-politics/slow-leak-text-messages-cast-doubt-on-georgia-
  officials-burst-pipe-excuse-for-pause-in-counting/news-story/19176f5113512210517c82debe684392).) The
  officials told observers that the vote-counting would start up again in the morning. Then once poll watchers,
  observers, and the media left, the vote-counting continued with surveillance video caught large boxes of ballots
  pulled out from underneath a draped table. (“Trump Campaign lawyers present video 'evidence' of ballot fraud,”
  Senate Judiciary Subcommittee, December 4,2020. https://www.youtube.com/watch?v=LJ0xDWhWUxk) On the
  other hand, Fulton County Elections Director Richard Barron, a Democrat, claims that no one was asked to leave




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  Nevada’s dropped by 0.6 percentage points – 4,143 votes. The only other swing state that
  Ballotpedia proves an estimate of rejected absentee ballots for was Michigan, and their rate
  was essentially unchanged from 2016 to 2020, falling from 0.49% to 0.46%.

  On the other hand, some aspects of vote fraud can reduce voter turnout. In Arizona, Republican
  Plaintiffs in the United States District Court for the District of Arizona claim that up to 94,975
  voters returned absentee ballots that were marked as unreturned.35 Peter Navarro’s election
  report describes these lost or destroyed ballots as “consistent with allegations of Trump ballot
  destruction.”36

  To test whether counties in which fraud was alleged had higher turnout rates, I take the voter
  turnout rates for the 2016 and 2020 general elections by county for the swing states: Arizona,
  Florida, Georgia, Michigan, Nevada, North Carolina, Ohio, Pennsylvania, and Wisconsin. The
  question was whether there was a larger increase in turnout rates for the counties in which
  vote fraud was alleged relative to other counties. The counties claimed to have had vote fraud
  are the ones already discussed for Georgia (Fulton and DeKalb) and Pennsylvania (Allegheny,
  Centre, Chester, Delaware, Montgomery, Northampton, and Philadelphia). For Arizona (Apache,
  Coconino, Maricopa, and Navajo),37 Michigan (Wayne), Nevada (Clark and Washoe),38 and
  Wisconsin (Dane, Menominee, and Milwaukee)39.

  To account for differences in county turnout rates, I account for that county’s turnout rate
  when Trump ran in 2016 and how heavily Republican or Democrat the counties are based on
  whether they voted for Trump or Biden. I classify those counties that Trump carried as
  Republican counties and Biden’s ones as Democratic ones. Since the turnout change may differ

  and that observers decided on their own to leave the building in Atlanta. (Staff, “Surveillance Tape Of Vote
  Counting Breeding False Fraud Claims In Georgia,” Associated Press, December 4, 2020
  (https://www.huffpost.com/entry/video-georgia-election-false-
  fraud_n_5fcac976c5b619bc4c330575?guccounter=1&guce_referrer=aHR0cHM6Ly9kdWNrZHVja2dvLmNvbS8&guc
  e).) Similarly, Gabriel Sterling, Georgia’s voting system implementation manager, says that even if political
  observers weren’t present, Georgia Secretary of State investigators were present. (Twitter post by
  (https://twitter.com/GabrielSterling/status/1334825233610633217?s=20).)
  35
     See the United States District Court for the District of Arizona, Tyler Bowyer et al v.. Doug Ducey, December 2,
  2020 . https://www.democracydocket.com/wp-content/uploads/sites/45/2020/12/Bower-Complaint-AZ.pdf
  36
     Peter Navarro, “The Immaculate Deception: Six Key Dimensions of Election Irregulaties,” December 15, 2020.
  37
     John Davidson, “In Nevada, A Corrupt Cash-For-Votes Scheme Is Hiding In Plain Sight,” The Federalist, November
  18, 2020 (https://thefederalist.com/2020/11/18/in-nevada-a-corrupt-cash-for-votes-scheme-is-hiding-in-plain-
  sight/),
  (https://web.archive.org/web/20201109232825/https:/twitter.com/ITCAOnline/status/1319745575064162304),
  Anna V. Smith, “How Indigenous voters swung the 2020 election,” High Country News, November 6, 2020
  (https://www.hcn.org/articles/indigenous-affairs-how-indigenous-voters-swung-the-2020-election).
  38
     Paul Bedard, “Pro-Biden effort offered Native Americans $25-$500 Visa gift cards and jewelry to vote,”
  Washington Examiner, December 3, 2020 (https://www.washingtonexaminer.com/washington-secrets/pro-biden-
  effort-offered-native-americans-25-500-visa-gift-cards-jewelry-to-vote).
  39
     Scott Bauer, “Wisconsin issues recount order in 2 counties as Trump wanted,” Associated Press, November 19,
  2020 (https://apnews.com/article/wisconsin-recount-2-counties-f408a7b43deb96e2ac7ff0b24a2f968a). See also
  https://web.archive.org/web/20201111220325/https:/www.facebook.com/permalink.php?story_fbid=153929728
  6270372&id=573103029556474.




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                                                                                                    13


  for Democratic and Republican counties, I separate the counties where Trump and Biden won
  with two separate variables. When Biden won a county, the values for the Republican variable
  are zero. Similarly, when Trump won, the values for the Democratic variable are zero.
  Elsewhere those variables equal Trump’s share of the vote minus Biden’s share. Since I have no
  expectation of whether a change in turnout was linear with respect to how partisan the county
  was, I also tried including the square of these measures of how partisan these counties were
  (see Table 9).

  I also used data from the U.S. Census Bureau's 2019 American Community Survey on median
  household income as well as the percent of the population that is female, different racial
  groups, by highest level of education, and the age groupings as provided by the Census.

  The estimates in Table 10 start from the simplest specification to one with more controls, and
  they imply that the counties where vote fraud is alleged had between 147,000 and 289,000
  excess votes. In each case, the county fraud variable’s coefficient is statistically significant at
  least at the 5 percent level for a one-tailed t-test.

  The first specification shows that the more heavily Republican a county was, the larger the
  increase in voter turnout rate over 2016. The opposite is true for more heavily Democratic
  counties, but that effect is statistically insignificant. The F-test shows Democratic and
  Republican counties behaved very differently in terms of voter turnout rates. The turnout rate
  in 2016 by itself explains about half the variation in 2020 voter turnout.

  The next estimate looks at both how Democratic or Republican counties are as well as those
  values squared. Again, the voter turnout rate increased the most in the Republican counties
  and didn’t change in the Democratic ones. While the coefficients for the Republican counties on
  Trump’s win margin and that margin squared weren’t individually statistically significant, the F-
  test shows that they are jointly statistically significant at better than the one percent level.

  The following two specifications include the Census information for the counties. Still, they
  show what should be pretty obvious: Census data on income, race, gender, age, and education
  are highly correlated with measures of how partisan a county is. When I include the Census
  data, the Republican partisanship measures are no longer statistically significant, even for the
  joint F-test. Including all the additional factors explains virtually nothing more in the percent of
  the variation in turnouts (the R-squares only increase by about one or two percentage points
  and the difference in adjusted R-squares is even smaller).

  The difference in the two specifications involves whether I include the percent of the
  population that is Native American. Given that the vote-buying schemes were directly related
  to Native Americans, both the percent of the population that is Native American and the county
  fraud variable will be highly correlated. The county fraud variable in the fourth specification will
  thus undercount the impact of vote fraud in that county. The third and fourth estimates imply
  that there was between a 1.26 and 2.42 percent unexplained increase in voter turnout in
  counties where fraud was alleged – the equivalent of 150,000 to 289,000 more votes.




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  In Table 11, I reran the regressions in Table 10 on just the two states that we examined in the
  earlier sections of this – Georgia and Pennsylvania – as well as the control states swing state
  (Florida, North Carolina, and Ohio), and the results were slightly larger and consistently
  statistically significant at around the 5 percent level for a one-tailed t-test. The estimates on the
  county fraud variable implied excess votes of between 1.37 and 1.53 percent, or about 70,000
  to 79,000 votes. The total combined win margin for Biden in Georgia and Pennsylvania was
  92,334. Again, my estimates are an underestimate of the fraud if votes for opposing candidates
  are either lost, destroyed, or replaced with ballots filled out for the other candidate.


  V. Conclusion

  The precinct level estimates for Georgia and Pennsylvania indicate some vote fraud, but the
  size and statistical significance of the effects is inconsistent. The voter turnout rate data
  provides stronger evidence that there are significant excess votes in Arizona, Michigan, Nevada,
  and Wisconsin as well. While the problems shown here are large, there are two reasons to
  believe that they are underestimates: 1) the estimates using precinct level data assume that
  there is no fraud occurring with in-person voting and 2) the voter turnout estimates do not
  account for ballots for the opposing candidate that are lost, destroyed, or replaced with ballots
  filled out for the other candidate.




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                                                                                                     1



    Table 1: 2016 Difference in Trump’s share of the Absentee Ballot Vote between adjacent
    precincts at the border of Fulton, Carroll, Cherokee, Coweta, and Forsyth Counties


    Control variables       Coefficient               Absolute t-statistic       Level of statistical
                                                                                 significance for a two-
                                                                                 tailed t-test
    Difference in Trump’s 0.8592                      5.19                       0.0000
    percent of the two-
    candidate in-person
    vote between two
    precincts
    Fulton County Effect    -0.02469                  0.65                       0.522


    Number of               F-statistic = 29.04     R-Squared = 0.7253
    Observations 24         Level of significance =
                            0.0000


    Table 2: 2020 Difference in Trump’s share of the Absentee Ballot Vote between adjacent
    precincts at the border of Fulton, Carroll, Cherokee, Coweta, and Forsyth Counties


    Control variables       Coefficient               Absolute t-statistic       Level of statistical
                                                                                 significance for a two-
                                                                                 tailed t-test
    Difference in Trump’s 0.6059                      7.84                       0.0000
    percent of the two-
    candidate in-person
    vote between two
    precincts
    Fulton County Effect    -0.00282                  0.14                       0.891


    Number of               F-statistic = 58.50     R-Squared = 0.8540
    Observations 22         Level of significance =
                            0.0000




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    Table 3: 2020 Difference in Trump’s share of the Absentee Ballot Vote after adjusting for
    Racial and Gender Demographics of Registered voters

    Control variables       Coefficient               Absolute t-statistic       Level of statistical
                                                                                 significance for a two-
                                                                                 tailed t-test
    Fulton County Effect    -0.1153                   2.89                       0.011




    Difference in the     1.6396                      0.65                       0.528
    percent of voters who
    are black males
    Difference in the     -1.8755                     1.07                       0.300
    percent of voters who
    are black females


    Difference in the     -4.4266                     1.35                       0.196
    percent of voters who
    are Hispanic males


    Difference in the     2.7631                      0.88                       0.394
    percent of voters who
    are Hispanic females


    Difference in the     1.1089                      0.64                       0.534
    percent of voters who
    are Asian males
    Difference in the     -2.3922                     1.22                       0.241
    percent of voters who
    are Asian females


    Number of               F-statistic = 7.48      R-Squared = 0.7774
    Observations 22         Level of significance =
                            0.0006




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                                                                                                    3


    Table 4: 2020 Difference in Trump’s share of the Absentee Ballot Vote after adjusting for
    Racial and Gender Demographics of Registered voters and the difference in the in-person
    vote

    Control variables             Coefficient             Absolute t- Level of statistical significance
                                                          statistic   for a two-tailed t-test
    Difference in Trump’s         0.8846                  4.79          0.0000
    percent of the two-
    candidate in-person vote
    between two precincts
    Fulton County Effect          -0.0225                 0.58          0.568


    Difference in the percent     -0.5052                 0.30          0.768
    of voters who are black
    males
    Difference in the percent     0.8265                  0.66          0.519
    of voters who are black
    females
    Difference in the percent     -3.5121                 1.68          0.116
    of voters who are Hispanic
    males
    Difference in the percent     3.7800                  1.87          0.082
    of voters who are Hispanic
    females

    Difference in the percent     0.33894                 0.30          0.767
    of voters who are Asian
    males
    Difference in the percent     -0.9173                 0.71          0.487
    of voters who are Asian
    females

    Number of Obs = 22            F-statistic = 18.98   R-Squared
                                  Level of significance = 0.9156
                                  = 0.0000




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                                                                                                     4


    Table 5: 2020 Difference in Trump’s share of the Absentee Ballot Vote between adjacent
    precincts at the border of Allegheny, Beaver, Butler, Washington, and Westmoreland
    Counties
    Control variables       Coefficient               Absolute t-statistic       Level of statistical
                                                                                 significance for a two-
                                                                                 tailed t-test
    Difference in Trump’s 0.3068                      4.68                       0.0000
    percent of the two-
    candidate in-person
    vote in the adjacent
    precincts
    Allegheny County        -0.0025                   0.29                       0.770
    Effect
    Number of               F-statistic = 11.16     R-Squared = 0.2080
    Observations 87         Level of significance =
                            0.0000



    Table 6: 2020 Difference in Trump’s share of the Provisional Ballots between adjacent
    precincts at the border of Allegheny, Beaver, Butler, Washington, and Westmoreland
    Counties
    Control variables       Coefficient               Absolute t-statistic       Level of statistical
                                                                                 significance for a two-
                                                                                 tailed t-test
    Difference in Trump’s 1.0554                      1.91                       0.065
    percent of the two-
    candidate in-person
    vote in the adjacent
    precincts
    Allegheny County        -0.0362                   0.82                       0.417
    Effect
    Number of               F-statistic = 3.13      R-Squared = 0.1638
    Observations 34         Level of significance =
                            0.0571




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                                                                                                     5


    Table 7: 2020 The Difference in the share of Biden’s votes from provisional ballots in
    adjacent precincts


    A) Examining Allegheny, Beaver, Butler, Washington, and Westmoreland Counties
    Control variables       Coefficient               Absolute t-statistic       Level of statistical
                                                                                 significance for a two-
                                                                                 tailed t-test
    Difference in the      0.3855                     3.76                       0.000
    share of Trump’s
    votes from
    provisional ballots in
    the adjacent precincts


    Allegheny County        0.0065                    2.73                       0.008
    Effect
    Number of               F-statistic = 38.71     R-Squared = 0.4767
    Observations 87         Level of significance =
                            0.0000
    B) Examining Fulton, Carroll, Cherokee, Coweta, Fayette, and Forsyth Counties
    Difference in the      -0.1442                    0.30                       0.772
    share of Trump’s
    votes from
    provisional ballots in
    the adjacent precincts
    Fulton County Effect    0.0312                    0.27                       0.795



    Number of               F-statistic = 23.60     R-Squared = 0.7130
    Observations 22         Level of significance =
                            0.0000




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                                                                                                     6


   Table 8: Re-estimating Tables 5, 6, and 7A by including Census 2010 Precinct Demographic
   data on Difference in the percent of the voting age population who are Black, Hispanic, and
   Asian
   Regression Coefficient Absolute Level of
   Estimate     on the         t-statistic statistical
                Allegheny                  significance for
                County                     a two-tailed t-
                Effect                     test
   Table 5      -0.0125        1.40        0.166             Number of obs = 87
                                                             F-statistic = 6.61
                                                             Level of significance F-test = 0.0000
                                                             R-square = 0.2871
   Table 6      -0.04196       0.90        0.376             Number of obs = 34
                                                             F-statistic = 2.70
                                                             Level of significance F-test = 0.0400
                                                             R-square = 0.3180
   Table 7A     0.0057         2.14        0.036             Number of obs = 87
                                                             F-statistic = 15.13
                                                             Level of significance F-test = 0.0000
                                                             R-square = 0.4798




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                                                                                             1




   Table 9: Comparing Voter Turnout Rates in 2020 Swing States (Arizona, Florida, Georgia,
   Michigan, Nevada, North Carolina, Ohio, Pennsylvania, and Wisconsin)
   Variable                Observations          Mean            Standard Deviation
   Percent Voter Turnout 668                     .7502149        .0704998
   in 2020 Election
   Percent Voter Turnout 668                     .6979785        .0757554
   in 2016 Election
   Republican Counties     668                   .18628          .21074
   (Trump’s minus Biden’s
   share of votes)
   Republican Counties     668                   .0790           .1228
   (Trump’s minus Biden’s
   share of votes squared)
   Democrat Counties       668                   -.1369          .200619
   (Trump’s minus Biden’s
   share of votes)
   Democrats Counties      668                   .05894          .10930
   (Trump’s minus Biden’s
   share of votes squared)
   County where Fraud      668                   .02844          .1664
   alleged




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                                                                                                     2




 Table 10: Did Counties Accused of Fraud have an unusual increase in Voter Turnout? (Arizona,
 Florida, Georgia, Michigan, Nevada, North Carolina, Ohio, Pennsylvania, Wisconsin)
 (absolute t-statistics and the level of significance for a two-tailed t-test are in parentheses)
 Control variables                           (1)              (2)              (3)            (4)
 County where Fraud alleged                  .0124            .0123            .02423         .0126
                                             (1.96, 0.050) (1.95, 0.052) (3.66, 0.000) (1.78, 0.076)
 Republican Counties (Trump’s minus          0.0149           .0129            .00317         .0047
 Biden’s share of votes)                     (2.39, 0.017) (0.62, 0.538) (0.15, 0.881) (0.23, 0.821)
 Republican Counties (Trump’s minus                           .0097            .01004         .0099
 Biden’s share of votes squared)                              (0.32, 0.746) (0.33, 0.741) (0.33, 0.740)
 Joint F-test for Republican Counties                         F-test = 4.02 F-test = 0.74 F-test = 0.99
 Democrat Counties (Trump’s minus            0.0152           -.0255           -.0130         -.0135
 Biden’s share of votes)                     (0.23, 0.816) (1.03, 0.301) (0.54, 0.592) (0.56, 0.573)
 Democrats Counties (Trump’s minus                            -.0493           -.03517        -.0340
 Biden’s share of votes squared)                              (1.28, 0.202) (0.94, 0.350) (0.92, 0.359)
 F-test for how turnout rates vary           F-test = 8.18
 differently between heavily
 Democratic and Republican counties
 Joint F-test for Democrat Counties                           F-test = 1.01 F-test = 0.99 F-test = 0.83
 Percent Voter Turnout in 2016               .8653            .8661            .8090          .8060
 Election                                    (62.50, 0.00) (62.51, 0.00) (46.16, 0.00) (46.53, 0.00)
 Median household income                                                       2.34e-07       4.03e-07
                                                                               (1.18, 0.238) (2.01, 0.044)
 Percent Female                                                                .0549          .1044
                                                                               (0.91, 0.364) (1.72, 0.087)
 Percent Black                                                                 -.0112         -.006256
                                                                               (-1.12, 0.262) (0.63, 0.529)
 Percent Hispanic or Latino                                                    -.03530        -.03268
                                                                               (2.27, 0.023) (2.13, 0.034)
 Percent Asian                                                                 -.29899        -.25397
                                                                               (2.94, 0.003) (2.52, 0.012)
 Percent Native American                                                                      .09038
                                                                                              (4.14, 0.000)
 Percent Two or more races                                                     -.4854         -.543089
                                                                               (4.46, 0.000) (5.01, 0.000)
 Percent High School Graduate                                                  -.0775         -.0717
                                                                               (1.98, 0.048) (1.85, 0.064)
 Percent Some College or Associate                                             -.06118        -.0706
                                                                               (1.62, 0.105) (1.89, 0.059)




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                                                                                                     3


 Percent Bachelor’s Degree                                                   .06025          .054079
                                                                             (1.04, 0.301)   (0.94, 0.347)
 Percent Graduate or Professional                                            -.10699         -.12516
                                                                             (1.52, 0.129)   (1.80, 0.072)
 Joint F-test for Census Age Groups                                          F-test = 3.72   F-test = 1.57
 Constant                                 .1433            .1416             .16232          .06437
                                          (14.30, 0.00)    (13.60, 0.00)     (2.11, 0.035)   (0.81, 0.418)
 Number of Observations = 668             F-stat =         F-stat =          F-stat =        F-stat =
                                          983.11           656.27            128.44          128.53
                                          R2 = 0.8557      R2 = 0.8563       R2 = 0.8767     R2 = 0.8800




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 Table 11: Focusing on Voter Turnout in Georgia and Pennsylvania. Using the specifications shown in
 Table 10, though not all results are reported. (Florida, Georgia, North Carolina, Ohio, Pennsylvania)
 (absolute t-statistics and the level of significance for a two-tailed t-test are in parentheses)
 Control variables                           (1)              (2)              (3)            (4)
 County where Fraud alleged                  .01370           .01532           .01469         .01454
                                             (1.53, 0.050) (1.71, 0.087) (1.63, 0.104) (1.61, 0.108)




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